USCA Case #24-1004    Document #2037054     Filed: 01/23/2024   Page 1 of 131



        SCANNED PDF FORMAT ATTACHMENTS ARE INCLUDED

            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT




RADIO COMMUNICATIONS CORPORATION,
                       Petitioner
           v.                                            Case No. 24-1004

FEDERAL COMMUNICATIONS COMMISSION,
                       Respondent



  Petitioner’s Opposed Emergency Motion For Stay, Expedited Review, And
                           Summary Reversal

                ORAL ARGUMENT NOT REQUESTED
            ____________________________________________
            ____________________________________________

                      For Review Of FCC 23-112
                 Adopting Implementing Rules For The
                       Low Power Protection Act
            ____________________________________________
            ____________________________________________


                     Radio Communications Corporation
                          Timothy E. Welch, Esq.
                                Hill and Welch
                           1116 Heartfields Drive
                          Silver Spring, MD 20904
                             (202) 321-1448 (cell)
                           (301) 622-2864 (FAX)
                          welchlaw@earthlink.net
                               January 23, 2024
USCA Case #24-1004                 Document #2037054                       Filed: 01/23/2024             Page 2 of 131



                                                Table of Contents


Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

Jurisdictional Statement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

Standing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

Background . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

Stay, Expedited Review, and Summary Reversal Are Warranted . . . . . . . . . . . . . . 8
       1. Standard Of Review . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
       2. Unique Statutory Timing Warrants Expedited Review And Stay . . . . . . . 9
       3. The Commission Denied Interim Relief . . . . . . . . . . . . . . . . . . . . . . . . . 10
       4. RCC Will Suffer Irreparable Injury Absent Relief . . . . . . . . . . . . . . . . . 11
       5. No Harm To Others – The Public Interest . . . . . . . . . . . . . . . . . . . . . . . 11
       6. Likelihood Of Success On The Merits And Summary Reversal . . . . . . . 11
             A. Unlawful Full Power TV Protection At LPTV’s Expense . . . . . . 12
                   i. FCC 23-112 Adopts NAB’s Anti-Competitive Position . . . 12
                   ii. LPPA Protects Small Community TV . . . . . . . . . . . . . . . . 13
                   iii. § 307(b) Requires Nationwide Class A Licensing, Not
                           LPPA Defeating License Reassignment . . . . . . . . . . . . 13
                   iv. LPPA Is Unconcerned With “Spectrum Scarcity”. . . . . . . 15
             B. Unconstitutional Regulation Of Local Economic Activity . . . . . . 17
                   i. Insubstantial Effect Upon Interstate Commerce . . . . . . . . . 17
                   ii. Constitutional LPPA Reading And § 307(b)’s
                           Nationwide Class A Licensing Mandate . . . . . . . . . . . 21
             C. Unconstitutional Delegation Of Governmental Authority . . . . . . 23
             D. Unconstitutional Class A Program Content Eligibility Rule. . . . . 25
             E. Unlawful Denial Of Primary Class A Must-Carry . . . . . . . . . . . . 27
       7. Reopening Doctrine: The CBPA And Must-Carry Rulemakings . . . . . . 30

In The Event Another Party Seeks Commission Reconsideration . . . . . . . . . . . . . 31

Requested Relief . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32

Certificate of Compliance. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34


                                                             i
USCA Case #24-1004                Document #2037054                      Filed: 01/23/2024            Page 3 of 131



Certificate of Digital Submission and Privacy Redactions. . . . . . . . . . . . . . . . . . . 35

Circuit Rule 28(a)(1) Certificate as to Parties, Rulings, and Related Cases . . . . . . 36

Circuit Rule 26.1 Disclosure Statement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 37

Certificate Of Service . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 38

Attachments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 39
1) Report and Order FCC 23-112, Released December 12, 2023 . . . . . . . . . 000001
2) Low Power Protection Act, Pub. L. 117-344, 136 Stat. 6193 (2023) . . . . 000040
3) RCC Comments MB Docket No. 23-126 Filed May 4, 2023 . . . . . . . . . . 000043
4) RCC Reply MB Docket No. 23-126 Filed June 13, 2023 . . . . . . . . . . . . . 000065
5) 47 C.F.R. § 76.55 Definitions Applicable To The Must-Carry Rules . . . . 000082
6) 47 C.F.R. § 74.701(h) Definitions – Local Origination . . . . . . . . . . . . . . . 000085
7) Public Notice, DA 24-26, MB Docket 23-126, January 10, 2024 . . . . . . . 000087
8) 47 U.S.C. § 307 Licenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 000089




                                                           ii
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 4 of 131



                                    Introduction

      Petitioner Radio Communications Corporation (RCC), pursuant to F.R.A.P. 18,

Circuit Rule 18(a),(b), F.R.A.P. 27, and Circuit Rule 27(f),(g), petitions the Court for

expeditious consideration of, and summary Reversal regarding, RCC’s January 10,

2024 Petition for Review seeking review of the Federal Communications Commission’s

Report and Order, FCC 23-112, MB Docket No. 23-126, released December 12, 2023,

89 Fed. Reg. 1466 (January 10, 2024). FCC 23-112 implements the Low Power

Protection Act (LPPA).1 A copy of FCC 23-112 is Attachment 000001-39. RCC

requests that a stay be entered against FCC 23-112 and expedited case processing in

the event a stay is entered.

      Respondent FCC opposes the Motion. Respondent USA/DOJ stated that it takes

no position on the Motion.

                               Jurisdictional Statement

      RCC’s Petition for Review is authorized by 5 U.S.C. §§ 551, 702, 704, 705,

706(1),(2), 47 U.S.C. § 402(a), 28 U.S.C. §§ 2342(1), 2343,2 2344, 2347(b)(2), 2348.

These statutory provisions grant RCC the right to appellate review as an entity




      1
          Low Power Protection Act, Pub. L. 117-344, 136 Stat. 6193 (2023).
      2
        RCC’s principal office and transmitter have been located in Allingtown,
Connecticut since 1986; venue is proper in the Second Circuit or the D.C. Circuit.

                                           1
USCA Case #24-1004        Document #2037054          Filed: 01/23/2024    Page 5 of 131



aggrieved by the Commission’s unlawful actions in FCC 23-112.3 The instant Petition

for Review was timely filed within sixty (60) days after Federal Register publication.

                                       Standing

      FCC 23-112, inter alia, adopted rules which prohibit RCC from filing an LPPA

authorized application to upgrade its low power TV (LPTV) license W24EZ-D to a

Primary Class A TV license. That upgrade would allow RCC to obtain substantial

economic benefits such as protection from involuntary license displacement and the

right to assert must-carry on cable TV systems. The economic injuries which FCC 23-

112 inflict upon RCC can be remedied by this court’s review of the FCC’s actions in

MB Docket No. 23-126. Accordingly, RCC has standing to maintain this action.4

                                     Background

      In 1982 the Commission created the LPTV service as a secondary service which

must accept interference, and possible license displacement, to compete against full

power TV service because full power TV had reached maturity. FCC 23-112 at 2 ¶ 2,

Attachment 000002; RCC Comments at 3-4, 6-7, 10 n.15, 11, 13-14, Attachment



      3
          See generally, Norton v. S. Utah Wilderness Alliance, 542 U.S. 55, 63 (2004).
      4
         RCC’s standing is demonstrated by the record on review which establishes
that RCC is the holder of a LPTV broadcast license which is “directly and adversely
affected” by the Commission’s licensing decisions in FCC 23-112. Viasat, Inc. v.
FCC, 47 F.4th 769, 780-81 (CADC 2022); Coal. of MISO Transmission Customers
v. FERC, 45 F.4th 1004, 1024 (CADC 2022) (standing exists where the petitioner is
“‘directly regulated by the challenged [order]’”).

                                           2
USCA Case #24-1004      Document #2037054            Filed: 01/23/2024    Page 6 of 131



000048-49, 000051-52, 000055, 000056, 000058-59; RCC Reply at 4, Attachment

000071, citing Report and Order, In the Matter of The Suburban Community Policy,

the Berwick Doctrine, and the De Facto Reallocation Policy, 93 F.C.C.2d 436 (1983).

RCC licensed its first LPTV station, W28AJ, to serve Allingtown, Connecticut and

began operating on December 23, 1986.

      In 1993 the Commission adopted the “must-carry” rule found at 47 C.F.R.

§ 76.55, Attachment 000082, by which commercial TV stations can require cable TV

systems to carry their signals. Except for a very limited subset of LPTV stations,

“qualified low power” TV stations in small markets, LPTV stations were explicitly

excluded from the class of stations which could assert must carry rights. 47 U.S.C.

§ 534; Implementation of the Cable Television Consumer Protection and Competition

Act of 1992, Broadcast Signal Carriage Issues, MM Docket No. 92-259, Report and

Order, 8 FCC Rcd 2965, 2983, para. 67 & n.211 (1993) (defining “qualified low

power” TV stations).

      The Section 76.55 must-carry rule adopted in 1993 is substantially unchanged

today for purposes of this review proceeding and does not preclude Class A from

asserting must-carry.

      For more than thirty years the Section 307(b) community of license has been the
      critical determinant of must carry rights under 47 C.F.R. §§ 76.55(c),(d), 58 FR
      17350 (April 2, 1993), but FCC [23-112] changes course without a word of
      justification or explanation. Class A stations have been authorized to assert must
      carry and retransmission consent rights from the moment Congress authorized

                                          3
USCA Case #24-1004      Document #2037054               Filed: 01/23/2024   Page 7 of 131



      them in 1999, years after the FCC adopted the § 76.55(c)(1) must carry services
      exclusion list in 1993.

RCC Comments at 8 n.12, Attachment 000053.

      In 1999 Congress enacted legislation to protect LPTV stations by creating a new

“primary” Class A TV station class which were subject to the “same license terms and

renewal standards as the licenses for full-power television stations except as provided

in this subsection.” Community Broadcasters Protection Act of 1999 (CBPA), Pub. L.

No. 106-113, 113 Stat. Appendix I at pp. 1501A-594 - 1501A-598 (1999), 47 U.S.C.

§ 336(f); FCC 23-112 at 3 ¶ 4, Attachment 000003. The CBPA did not limit Class A

eligibility to LPTV stations which were previously classified by the Commission as

“qualified low power” TV stations, and the CBPA does not preclude Class A stations

from asserting must-carry.

      The Commission adopted CBPA Class A implementing regulations in 2000.

Establishment of a Class A Television Service, Report and Order, 15 FCC Rcd 6355,

6357-58 ¶ 2 (2000), recon. granted in part, 16 FCC Rcd. 8244 (2001).                The

Commission did not amend the must-carry rule at Section 76.55(c)(1) to include “Class

A” TV stations as a station class which is precluded from asserting must-carry rights.

RCC Comments at 2-3, 14-16, Attachment 000047-48, 000059-61 (LPTV stations are

“upgraded and reclassified as ‘Class A’ protected stations”). FCC 23-112 does not

discuss this aspect of must-carry regulatory history.


                                          4
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 8 of 131



      In 2001 RCC upgraded W28AJ to primary Class A status within the terms of the

CBPA. W28AJ was not ever classified as a “qualified low power” TV station under

the Commission’s 1993 must-carry rulemaking – being a “qualified low power” was

not a CBPA Class A licensing requirement. Even though W28AJ was a primary Class

A station, it was denied must-carry by cable TV systems “based upon an erroneous

reading of 47 C.F.R. § 76.55(d)(5).” RCC eventually downgraded Station W28AJ

from primary Class A to unprotected LPTV status because it was “burdened with the

obligations of full power TV stations, but . . . denied the significant economic benefit

of being able to assert a must carry right on cable TV systems.” RCC Comments, at

2-3, Attachment 000047-48.

      RCC’s LPTV station W28AJ was eventually displaced during the TV industry’s

transition to digital transmission technology “after many years of service to the public

and investments in equipment, programming, and audience building.” In 2021, after

digital TV repacking was completed, RCC discovered a new digital channel and

W28AJ now operates as W24EZ-D.5 RCC Comments at 2-3, Attachment 000047-48.

      On January 5, 2023 Congress enacted the LPPA to create new Class A stations

and provided them “with the same license terms” as full power TV stations. FCC 23-

112 at 4 ¶ 8, Attachment 000004. FCC 23-112 establishes Class A license upgrade


      5
       RCC lost another LPTV channel to mobile radio displacement in 2012,
W65DZ, Bridgeport, Connecticut, but that channel could not be replaced.

                                           5
USCA Case #24-1004      Document #2037054            Filed: 01/23/2024    Page 9 of 131



eligibility rules which preclude RCC from filing a Class A license upgrade application

to obtain the LPPA’s various benefits.

      While nothing in the LPPA requires community of license reassignment as part

of the Class A upgrade process, FCC 23-112 effectively reassigns LPTV licenses,

collectively covering more than 98% of the country’s population, from their small 47

U.S.C. § 307(b) communities of license to much larger, Nielsen controlled, Designated

Market Areas (DMA). As a consequence, LPTV licensees, covering more than 98%

of the country’s population, including RCC, are disqualified from the LPPA’s benefits.6

      FCC 23-112 at 23 n.187, Attachment 000023, denies that community of license

reassignment is occurring. However, FCC 23-112 determines that RCC, licensed to

serve Allingtown, CT with fewer than 15,000 TV households, does not qualify for

Class A upgrade licensing because RCC’s LPTV station is located in the Hartford-New

Haven DMA which has nearly one million TV households, thereby effectively changing

W24EZ-D’s community of license for Class A licensing exclusion purposes. RCC

Comments at 7-9, Attachment 000052-54.7


      6
         The population of RCC’s Section 307(b) community of license, Allingtown,
CT, is approximately 15,000 – if every person were a “TV household,” Allingtown
would still be well under LPPA’s 95,000 limit. RCC Comments at 9-11, Attachment
000054-56. FCC 23-112 reassigns RCC’s LPTV license to a “non-qualifying” DMA
to disqualify RCC from the LPPA’s Class A licensing benefits. RCC Comments at 4-5,
7-8, 11-12, Attachment 000046-47, 000049-50, 000052-53, 000056-57.
      7
          FCC 23-112 uses the phrase “qualifying DMA” thirteen times, and “non-
                                                                  (continued...)

                                          6
USCA Case #24-1004      Document #2037054          Filed: 01/23/2024   Page 10 of 131



       FCC 23-112 also 1) unconstitutionally restricts program content for Class A

 eligibility purposes, RCC Reply at 10-14, Attachment 000077-81, and 2) unlawfully

 precludes Class A licensees from asserting cable TV must-carry rights, but Section

 76.55 has never been amended to codify such preclusion. RCC Comments at 14-16,

 Attachment 000059-61.

       FCC 23-112 fails to follow the LPPA’s direction to protect LPTV stations. FCC

 23-112 adopts the National Association of Broadcasters’ (NAB) lobbying position that

 nationwide LPTV protection cannot arise under the LPPA because “elevating LPTV

 stations from secondary to primary Class A status ‘comes at the cost of effectively

 block[ing] coverage and service improvements by full-service stations,’” FCC 23-112

 at 21-22 ¶ 38, Attachment 000021-22, notwithstanding the fact that the LPPA is the

 “Low Power Protection Act” and not the “Large Power Protection Act.” RCC

 Comments at ii, 1, 6, 12, 17, Attachment 000045, 000046, 000051, 000057, 000062.

       The LPPA establishes a one-year Class A license upgrade filing window. The

 opening of the Class A upgrade filing window is imminent pending Media Bureau

 publication of OMB information approval collections, but is not expected within the

 next seven (7) days. Public Notice, DA 24-26, MB Docket 23-126, (January 10,

 2024). Attachment 000087; FCC 23-112 at 3-4 ¶ 7, Attachment 000003-04.

       7
         (...continued)
 qualifying DMA” twice, but those phrases are not found in the LPPA or the CBPA.
 Those phrases exist to eliminate Class A licenses.

                                          7
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024     Page 11 of 131



         Stay, Expedited Review, and Summary Reversal Are Warranted
                            1. Standard Of Review

       5 U.S.C. § 706(2)(A) “requires federal courts to set aside agency action which

 is ‘not in accordance with the law’.” FCC v. Nextwave Personal Communications,

 Inc., 537 U.S. 293, 300 (2003), affirming, Nextwave Personal Communications, Inc.

 v. FCC, 254 F.3d 130, 133 (CADC 2001) (agency compliance with all Federal law is

 “fundamental”). It is “arbitrary and capricious if the agency has relied on factors which

 Congress has not intended it to consider, entirely failed to consider an important aspect

 of the problem, offered an explanation for its decision that runs counter to the evidence

 before the agency, or is so implausible that it could not be ascribed to a difference in

 view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm

 Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); Petroleum Communications, Inc. v. FCC,

 22 F.3d 1164, 1172 (CADC 1994) (reversal when agency fails to provide a reasoned

 explanation and when the record is contrary to the agency’s conclusion). “An agency

 changing its course must supply a reasoned analysis.” Motor Vehicle Mfrs. Ass’n v.

 State Farm Mut. Auto. Ins. Co., 463 U.S. at 57.

       An agency’s failure to compile a supporting record is a critical legal defect

 because FCC conclusions must be supported by the record on review. DOC v. New

 York, 139 S. Ct. 2551, 2573 (2019) (Roberts, C.J.) (“a court is ordinarily limited to

 evaluating the agency’s contemporaneous explanation in light of the existing


                                            8
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 12 of 131



 administrative record”); Petroleum Communications, Inc. v. FCC, 22 F.3d 1164, 1172

 (CADC 1994) (record must support agency conclusions). RCC Comments at 6-9,

 Attachment 000051-54. The lack of agency discussion cannot be corrected by the

 agency during appellate review nor supplied by a reviewing court. Motor Vehicle Mfrs.

 Assoc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. at 43; Burlington Truck Lines v.

 United States, 371 U.S. 156, 168-69 (1962) (a “fundamental rule of administrative

 law” is that the agency order, not appellate counsel, must justify the action taken).

       2. Unique Statutory Timing Warrants Expedited Review And Stay

       Expeditious consideration is required because the Commission announced the

 imminent commencement of the one-year LPTV license upgrade filing window to

 change station class from LPTV to Primary Class A with the same license terms as full

 power TV stations. Public Notice, DA 24-26, MB Docket 23-126 (January 10, 2024),

 Attachment 000087;8 FCC 23-112 at 3-4 ¶ 7, Attachment 000003-04. However, as

 discussed below, FCC 23-112 precludes RCC from filing an LPPA Class A upgrade

 application. Absent expedited consideration of this Petition, it appears unlikely that

 RCC would be able to fully litigate this case, come into compliance with full power TV

 rules, and then timely file a Class A license upgrade application within the LPPA’s one

 year LPTV upgrade application filing window.


       8
         Media Bureau notice of the opening of the one year filing window is not
 expected within the next seven (7) days.

                                            9
USCA Case #24-1004       Document #2037054          Filed: 01/23/2024    Page 13 of 131



       Congress enacted the LPPA on January 5, 2023 and instructed the Commission

 to initiate a rulemaking within “90 days” and submit an “implementation” report to

 Congress “not later than 1 year after the date of enactment.” LPPA Sections

 2(c)(1),(d), Attachment 000040-41. Congress clearly intends that LPPA issues be

 addressed promptly.

                     3. The Commission Denied Interim Relief

       Another timing factor favoring stay is the Commission’s rejection of RCC’s

 request for protection from displacement during the pendency of this litigation. FCC

 23-112 at 23 n.186, Attachment 000023; RCC Comments at 12-13, 16-18, Attachment

 000057-58, 000061-63 (displacement by spectrum auction); RCC Reply at 8-10,

 Attachment 000075-000077 (“The LPPA’s necessarily implied full-power modification

 filing freeze remains effective until after final resolution of the instant rulemaking

 proceeding and the associated LPTV license upgrade proceedings”). FCC 23-112

 actively promotes LPTV license displacement because LPTV protection “comes at the

 cost of ‘effectively block[ing] coverage and service improvements by full-service

 stations.’” FCC 23-112 at 21-22 ¶ 38, Attachment 000021-22.

       Stay is appropriate to protect RCC’s spectrum and Class A filing opportunity

 while the LPPA issues are litigated. To protect RCC’s interests, FCC 23-112 should

 be stayed pending completion of appellate review and any remand proceeding, even if

 expedited review is granted.

                                          10
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024     Page 14 of 131



               4. RCC Will Suffer Irreparable Injury Absent Relief

       RCC’s loss of its Class A license upgrade filing right causes irreparable injury

 because the only opportunity to file for the economic benefits afforded during the

 LPPA’s one-year Class A license upgrade period will be lost forever. Moreover, loss

 of license by displacement will also cause irreparable injury because RCC would lose

 revenue, viewers, and viewer relationships would be damaged. Lost viewers would

 necessarily move on to other program content providers and that lost good will could

 never be recaptured even if RCC were somehow able to locate new spectrum.

                    5. No Harm To Others – The Public Interest

       RCC is not seeking to deny the LPPA’s benefits to any party and no party would

 be harmed by judicial relief which recognizes RCC’s right to seek the LPPA’s various

 benefits such as the right to file a Class A license upgrade application and the right to

 assert must-carry rights. Congress created these statutory benefits in the public

 interest. Grant of RCC’s request for relief would further benefit the public interest by

 enhancing the likelihood that RCC’s LPTV station will survive, ensuring competition

 and viewpoint diversity mandated by 47 U.S.C. § 307(b) (nationwide licensing).

        6. Likelihood Of Success On The Merits And Summary Reversal

       No questions of material fact will be addressed in this review proceeding, only

 settled questions of law are at issue. Moreover, the Commission either failed to

 respond to RCC’s arguments, or where the Commission did respond, the response was

                                            11
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 15 of 131



 terse and insubstantial. In both instances, the Commission waived its opportunity to

 argue in this review proceeding because the lack of agency discussion cannot be

 corrected by the agency or the reviewing court during appellate review. Motor Vehicle

 Mfrs. Assoc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. at 43; Burlington Truck Lines

 v. United States, 371 U.S. 156, 168-69 (1962) (a “fundamental rule of administrative

 law” is that the agency order, not appellate counsel, must justify the action taken).

       RCC respectfully submits that this Motion carries “the heavy burden of

 demonstrating that the record and the motions papers comprise a basis adequate to

 allow the ‘fullest consideration necessary to a just determination.’” Cascade Broad-

 casting Group, Ltd. v. FCC, 822 F.2d 1172, 1174 (CADC 1987) (per curiam); Sills v.

 Federal Bureau of Prisons, 761 F.2d 792, 793-94 (CADC 1985) (summary reversal

 appropriate where “briefing, oral argument, and the traditional collegiality of the

 decisional process would not affect [the Court’s] decision”); Handbook of Practice and

 Internal Procedures, As Amended Through March 16, 2021, at 36. Accordingly,

 summary Reversal is warranted and this case can be decided on motion practice

 without oral argument. F.R.A.P. 32(a)(2)(C); Circuit Rule 34(j).

           A. Unlawful Full Power TV Protection At LPTV’s Expense
            i. FCC 23-112 Adopts NAB’s Anti-Competitive Position

       The Commission “declined to read the LPPA as promoting maximum elevation

 of LPTV stations to primary status; rather, Congress adopted a much more balanced


                                           12
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 16 of 131



 approach.” FCC 23-112 implements NAB’s anti-competitive lobbying point that

 “elevating LPTV stations from secondary to primary Class A status ‘comes at the cost

 of effectively block[ing] coverage and service improvements by full-service stations,’”

 FCC 23-112 at 21-22 ¶ 38, Attachment 000021-22 (quoting NAB). Nothing in the

 LPPA requires the NAB’s competition stifling statutory construction. FCC 23-112’s

 adoption of NAB’s anti-competitive position, under LPPA’s protective banner, is as

 explicit as it is jaw-droppingly brazen.

                      ii. LPPA Protects Small Community TV

       The Commission reads the LPPA “as if Congress intended to protect full-power

 TV from competition across substantially all of the United States,” even though “the

 plain language and express purpose of the LPPA, on its face, protects LPTV stations

 such as [RCC’s LPTV station] which are licensed to serve small communities.” FCC

 23-112 denies LPPA’s benefits to LPTV stations collectively covering more than 98%

 of the country’s population notwithstanding the lack of explicit language in the LPPA

 which protects full power TV across substantially all of the United States. RCC

 Comments at 5-7, Attachment 000050-52.

             iii. § 307(b) Requires Nationwide Class A Licensing, Not
                       LPPA Defeating License Reassignment

       FCC 23-112 transforms the “Low Power Protection Act” into the “Large Power

 Protection Act” by unreasonably limiting, at every critical determination, LPPA’s


                                            13
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024     Page 17 of 131



 economic protection of LPTV stations. RCC Comments at 1, 9, Attachment 000046,

 000054. For instance, FCC 23-112 fails to extend the LPPA’s economic benefits to

 LPTV stations across the nation as required by 47 U.S.C. § 307(b). Instead, for

 Class A licensing purposes, FCC 23-112 reassigns LPTV licenses from their very small

 § 307(b) communities of license to much larger “non-qualifying DMAs” to eliminate

 Class A licenses, completely ignoring § 307(b)’s mandate to issue Class A licenses

 nationwide to achieve a national goal. RCC Comments at 6-11, Attachment 000051-

 000056; RCC Reply at 4-6, Attachment 000071-73.9

       Whether or not the FCC physically alters LPTV licenses to reflect their new
       communities of license is irrelevant because the practical effect of the FCC’s
       proposed action would do that very thing. The Commission’s illegal proposal
       cannot be saved by a ministerial “failure to act” fig leaf.

 RCC Comments at 11 n.16, Attachment 000056. De facto reallocation of LPTV

 licenses from small communities to much larger “non-qualifying DMAs” limits LPPA’s

 economic benefits to a smattering of LPTV stations covering less than 2% of the

 nation’s population.10 RCC Comments at 5-6, Attachment 000050-51.


       9
          “Section 307” is generally referenced in FCC 23-112’s ordering clauses as
 authorizing Commission action, but without discussing how the very limited Class A
 licensing rule promotes nationwide Class A licensing.
       10
          De facto reallocation is defined as “[a]n attempt to utilize a channel assigned
 to one community in order to establish a broadcast service in another community . . ..”
 In the Matter of The Suburban Community Policy, the Berwick Doctrine, and the De
 Facto Reallocation Policy, 93 F.C.C.2d at 438-440; RCC Reply at 4, Attachment
 000071. FCC 23-112 revives, without discussion, a long ago discarded community
                                                                            (continued...)

                                            14
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 18 of 131



       FCC 23-112 at 23 n.187, Attachment 000023, tersely denies that any community

 of license reassignment is occurring by rejecting, without substantive comment, RCC’s

 argument that

       “the Commission’s proposed licensing rules improperly removes LPTV stations
       from their 47 U.S.C. § 307(b) communities of license and reassigns them to
       much larger DMA markets in the name of ‘protecting’ those small LPTV
       stations.” RCC Comments at 3.

 However, RCC is licensed to serve Allingtown, CT, with fewer than 15,000 TV

 households. For purposes of Class A licensing, FCC 23-112 disqualifies RCC’s LPTV

 station from Class A upgrade licensing by reassigning RCC’s LPTV station to the

 Hartford-New Haven DMA which has more than 95,000 TV households. RCC

 Comments at 7-9, Attachment 000052-54. FCC 23-112 suggests that Congress

 intended nationwide Class A licensing denials, but fails to explain how reassigning the

 nation’s LPTV licenses from small communities to much larger “non-qualifying

 DMAs,” for the purpose of denying Class A status, serves LPPA’s purpose of

 protecting LPTV licenses.

                 iv. LPPA Is Unconcerned With “Spectrum Scarcity”

       FCC 23-112 protects speculative, future full power TV expansion plans at the

 expense of LPTV stations based upon NAB’s “spectrum scarcity” concern, a concern


       10
         (...continued)
 reallocation prohibition rule to deny LPPA benefits by imputing a disqualifying de facto
 LPTV license reassignment to a larger “non-qualifying DMA.”

                                           15
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 19 of 131



 which is contrary to the purpose and text of the LPPA. First, incumbent LPTV licenses

 exist because they have already demonstrated non-interference to full power stations,

 and already occupy the spectrum, and “spectrum scarcity” is not an issue for Class A

 license upgrade applications. RCC Reply at 4, 7 n.11, 8-10, Attachment 000071,

 000074, 000075-77.

       Second, four decades ago the Commission found that “the goals of the Table [of

 Assignments for full power TV stations] have been largely achieved” and LPTV was

 created to compete against full power stations. Report and Order, In the Matter of The

 Suburban Community Policy, the Berwick Doctrine, and the De Facto Reallocation

 Policy, 93 F.C.C.2d at 452 n.29 citing Inquiry Into The Future Role of Low-Power

 Television Broadcasting, 45 Fed. Reg. 69178, 69179 (Oct. 17, 1980). Suburban

 licensing policies were eliminated because full power stations used them to stifle small

 station competition.    Id. at 454 (“the policy [of prohibiting service to large

 communities] places a burden on the establishment and improvement of service in small

 communities that is not in keeping with the objectives of § 307(b)”).

       Despite Section 307(b)’s nationwide licensing goal, FCC 23-112 fails to respond

 to RCC’s argument that the Commission has failed for “40+ years . . . to protect the

 diversity of marketplace voices” and as a result has created dangerous “information

 bubbles” which adversely affect millions of Americans. RCC Comments at 13-14,

 Attachment 000058-59. FCC 23-112 completely ignores the fact that “the purpose of

                                           16
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024     Page 20 of 131



 the Communications Act and the LPPA is the promotion of broadcast outlets, not the

 elimination of them.” RCC Reply at 4, Attachment 000071.

       Third, FCC 23-112 fails to explain how limiting the LPPA’s economic benefits

 to LPTV stations covering less than 2% of the country’s population, while denying

 those economic benefits to the remaining 98% of the population, is “balanced.” FCC

 23-112 at 22 ¶ 38, Attachment 000022. In any event, the LPPA has an explicit 95,000

 TV household service standard and does not authorize an NAB promoted, massively

 uneven, 98-to-2 balance.

           B. Unconstitutional Regulation Of Local Economic Activity
               i. Insubstantial Effect Upon Interstate Commerce

       The Commission misinterprets the LPPA in an unconstitutional manner,

 assuming a grant of it authority to regulate local economic activity in a “smattering of

 rural, local areas” covering less than 2% of the nation’s population without any

 demonstration of a substantial effect upon interstate commerce. “Nothing in the

 Communications Act or the LPPA authorizes the Commission to regulate local

 economies.”     RCC Comments at 6-8 & n.11, Attachment 000073-75.                   The

 Commission’s function under Section 307(b) and the LPPA is licensing radio stations

 across the nation, not regulating economic activity in several local communities.

       The LPPA is the second statute enacted to protect the LPTV industry, the CBPA

 being the first, but which the Commission interprets to eliminate competition to full


                                           17
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024     Page 21 of 131



 power TV stations. RCC Comments at 3-4 & n.5, 6-7, 11, 13-14, Attachment 000048-

 49, 000051-52, 000056, 000058-59. FCC 23-112 at 21-22 ¶ 38, Attachment 000021-

 22, explicitly acknowledges a competition limiting purpose: “elevating LPTV stations

 from secondary to primary Class A status ‘comes at the cost of effectively block[ing]

 coverage and service improvements by full-service stations.’”

       FCC 23-112’s unreasonably limited LPPA reading causes FCC 23-112 to fail as

 a matter of settled constitutional law.

       The Commerce Clause authorizes Congress to regulate commerce
       “among” the states, i.e., interstate commerce. U.S. Const. Art. 1 Sec. 8
       Cl. 3. Congress is not authorized to regulate local economic activity
       unless Congress makes a finding that regulation of that local economic
       activity has a “substantial” effect upon interstate commerce.

 RCC Reply at 6-7, Attachment 000073-74, citing United States v. Lopez, 514 U.S.

 549, 557 (1995) (invalidating the Gun-Free School Zones Act of 1990 for lack of a

 substantial effect upon interstate commerce); Wickard v. Filburn, 317 U.S. 111, 127-28

 (1942) (Congressional finding that an aggregation of local activity substantially affects

 interstate commerce authorizes federal regulation of same); Miss. Comm’n on Envtl.

 Quality v. EPA, 790 F.3d 138, 180 (CADC 2015) (“The question for a court is

 whether there was a ‘rational basis’ for the Congress’ conclusion that a regulated

 activity substantially affects interstate commerce.”). The Commission asserts that its

 reading of the LPPA is neither unconstitutional nor “nonsensical,” FCC 23-112 at 21

 ¶ 38, Attachment 000021 (citing RCC’s Comments), but Lopez or Wickard are not

                                            18
USCA Case #24-1004        Document #2037054          Filed: 01/23/2024    Page 22 of 131



 even cited in FCC 23-112, much less discussed. FCC 23-112’s LPPA reading is

 unreasoned and unconstitutional.11

       FCC 23-112 denies the LPPA’s economic and program content benefits to more

 than 98% of the country’s population, but fails to explain how that limited approach

 serves a national purpose or substantially affects interstate commerce. FCC 23-112’s

 limited extension of the LPPA’s economic benefits to several scattered, small

 communities, affecting less than 2% of the population, is not supported by

 Congressional findings that the restriction of benefits rises to a “substantial effect”

 upon interstate commerce. Even if FCC 23-112 could fill that fact-finding void,

 doubtful because the fact-finding needs to be done prior to statutory enactment, FCC

 23-112 is utterly silent on the subject.12




       11
          47 U.S.C. § 307(b) mandates broadcast licensing for specific communities
 based upon need and “equitably” distributed across the nation. RCC Comments at 6-9,
 Attachment 000051-54.
       12
            FCC 23-112 completely ignores RCC’s discussion of this issue. For instance,

       The Commission’s proposal to apply the LPPA, a national act, in a manner
       which protects LPTV stations covering only 1.6% of the nation’s TV
       households, is ridiculous on its face. There is nothing in FCC [23-112] which
       even remotely explains why Congress would waste its time for the purpose of
       affecting such a marginal impact.

 RCC Comments at ii, 5-6, Attachment 000045, 000050-51; RCC Reply at 6-8,
 Attachment 000073-75.

                                              19
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 23 of 131



       The FCC’s LPPA reading “violates the plain language and express purpose of

 the LPPA which, on its face, protects LPTV stations such as W24EZ-D which are

 licensed to serve small communities.” RCC Comments at ii, 6 & n.8, 7, Attachment

 000045, 000051, 000052. FCC 23-112 fails to address the fact that “the LPPA is ‘Low

 Power Protection Act,’ not the ‘Large Power Protection Act,’ [] FCC [23-112] reads

 as if Congress intended to protect full-power TV from competition across substantially

 all of the United States.” RCC Comments at 6, Attachment 000051.

       “Reducing competition and increasing media concentration is contrary to the

 LPPA’s expressly stated LPTV protection purpose.”            RCC Comments at 14,

 Attachment 000059. “FCC 23-23 represents the Commission’s second effort to

 eliminate LPTV stations as competitors to full-power TV stations across the country.”

 RCC Comments at 4, 6, 10 n.5, 11, 13-14, Attachment 000049, 000051, 000055,

 000056, 000058-59, RCC Reply at 12-13, Attachment 000079-80. RCC lost two

 LPTV stations because the Commission did not protect them under the CBPA.

       Instead of protecting LPTV stations, FCC 23-112 adopts NAB’s anti-

 competitive position that LPTV protection “comes at the cost of ‘effectively block[ing]

 coverage and service improvements by full-service stations.’” FCC 23-112 at 21-22

 ¶ 38, Attachment 000021-22. “By interpreting the LPPA as it does, FCC [23-112]

 reaches an absurd and irrational conclusion: that the purpose of the Low Power

 Protection Act is to protect full-power TV stations covering 98% of the TV households

                                           20
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 24 of 131



 from competition at the expense of LPTV stations.” RCC Comments at 1 (“irrational”),

 6 (“nonsensical”), 11 (“absurd and irrational”), Attachment 000046, 000051, 000056.

 FCC 23-112 fails to apply an elementary rule of statutory construction, “statutes are to

 be read in a manner that avoids absurd results.” FCC 23-112 at 15 n.118, Attachment

 000015. The Commission’s failure to foster broadcast competition and the diversity

 of voices across the United States violates LPPA and Section 307(b) mandates to

 allocate frequencies “among the several States and communities as to provide a fair,

 efficient, and equitable distribution of radio service to each of the same.”

                  ii. Constitutional LPPA Reading And § 307(b)’s
                       Nationwide Class A Licensing Mandate

       Neither the LPPA nor the CBPA direct the Commission to ignore Section

 307(b)’s nationwide license distribution requirement. LPPA Section 2(a)(2) authorizes

 nationwide Class A licensing through the use of Nielsen’s Designated Market Area

 (DMA) system or through an equivalent nationwide “local markets” system which the

 Commission might develop. The DMA definition at Section (2)(a)(2) of the LPPA,

 Attachment 000040, does not contain any limitation regarding size and plainly includes

 all DMAs regardless of the number of DMA TV households, thus mandating

 nationwide Class A licensing. RCC Comments at 9-11, Attachment 000054-56.

       Instead of following that clear direction, FCC 23-112 creates a non-nationwide

 Class A licensing system which affects LPTV stations covering less than 2% of the


                                           21
USCA Case #24-1004       Document #2037054          Filed: 01/23/2024    Page 25 of 131



 country’s population. FCC 23-112 completely fails to discuss the fact that broadcast

 licenses are allocated on a nationwide basis under Section 307(b). RCC Reply at 4,

 Attachment 000071.13

       RCC’s LPPA reading, on the other hand, is reasonable and accounts for all

 statutory requirements. LPPA’s § 2(c)(2)(B) Class A qualifying text, Attachment

 000041, provides:

       The Commission may approve an application submitted under subparagraph (A)
       if the low power TV station submitting the application *** as of the date of
       enactment of this Act, operates in a Designated Market Area with not more than
       95,000 television households.

       The subject of § 2(c)(2)(B)’s Class A qualifying language is “the low power TV

 station submitting the” Class A license application while the “95,000 television

 households” standard at § 2(c)(2)(B)(iii) refers to the number of TV households served

 in the qualifying LPTV station’s § 307(b) community of license. RCC literally operates

 in a DMA and is licensed to serve an area of “not more than 95,000 television

 households.” The “95,000 television household” standard is “not a disconnected

 appendage of the ‘Designated Market Area’ definition found at Section (2)(a)(2).”

 RCC Comments at 11, Attachment 000056.


       13
          Citing Report and Order, In the Matter of The Suburban Community Policy,
 the Berwick Doctrine, and the De Facto Reallocation Policy, 93 F.C.C.2d 436, 438-39
 (1983) (eliminating a community’s urban proximity as a licensing consideration to
 enable small community LPTV licensees to “compete in the larger metropolitan area.”
 93 F.C.C.2d at 451 ¶ 31, 452 n.29.

                                          22
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 26 of 131



       If FCC 23-112’s LPPA reading were the only one possible, then the LPPA

 would be facially unconstitutional. Lopez; Wickard; RCC Comments at 18-19,

 Attachment 000063-64; RCC Reply at 6-8, Attachment 000073-75. RCC’s reading of

 the 95,000 TV household standard as defining the number of TV households in Section

 307(b) communities of license: 1) avoids constitutional issues; 2) serves the LPPA’s

 purpose of protecting LPTV stations nationwide; 3) serves Section 307(b)’s nationwide

 licensing mandate; 4) complies with the elimination of the de facto reallocation policy

 to promote competition against full power TV stations; and 5) follows the longstanding

 combined use of Section 307(b) community of license and DMA to determine where

 must-carry rights can be asserted. RCC Comments at 3-4, 6, 8 n.12, 9-11, 18-19,

 Attachment 000048-49, 000051, 000053, 000054-56, 000063-64; RCC Reply at 6-7

 & n.11, Attachment 000073-74. The Commission’s LPPA reading does not serve any

 of these statutory purposes.

           C. Unconstitutional Delegation Of Governmental Authority

       “There is nothing in the LPPA which indicates that Congress intended to alter

 the longstanding Section 307(b) community of license allocation system.” RCC

 Comments at 8, Attachment 000053. “Congress did not order the Commission to cede

 its Section 307(b) licensing authority to a private company which creates artificial

 economic regions designed to serve its own profit motive.” RCC Comments at 18,

 Attachment 000063; RCC Reply at 4, Attachment 000071.

                                           23
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024     Page 27 of 131



       Nevertheless, FCC 23-112 ignores Section 307(b) and “adopts a DMA market

 structure which is unconstitutional under Schechter Poultry Corp. v. United States, 295

 U.S. 495 (1935) because the rule improperly delegates legislative authority to a private,

 non-governmental entity.” RCC Comments at 4 n.6, Attachment 000049.

       The Commission’s proposed regulatory scheme, spawned in the name of
       protecting the LPTV industry, ignores the plain language of the LPPA, conflicts
       with Section 307(b) of the Communications Act, 47 U.S.C. § 307(b), and runs
       afoul of the Constitution by adopting an industrial code, the Nielsen DMA
       market structure, thereby improperly delegating legislative power to private
       industry.

 RCC Comments at 4, Attachment 000049.14

       FCC 23-112 at 23 n.186 rejects this constitutional, government structure

 question with a terse, non-substantive response which reads in its entirety as follows:

       We reject this argument. Congress does not run afoul of subdelegation principles
       because it permits an agency to use an outside entity’s market definition for a
       particular purpose specified in the statute. There is no assignment of unguided
       or unchecked authority here.

       FCC 23-112 fails to discuss Schechter, tries to insulate FCC 23-112 by blaming

 Congress for the non-nationwide Class A licensing rules the Commission adopted, and

       completely fails to explain why Allingtown, CT is not considered a qualified
       DMA for licensing under the LPPA, or what the underlying rules are for
       determining the composition of DMA areas, or how Allingtown or any LPTV

       14
          FCC 23-112 touts the fact that Nielsen “has ‘always told stations the DMAs
 to which they have been assigned upon request and free of charge,’” FCC 23-112 at
 21 n.168, Attachment 000021, but everyone must subscribe to the Commission-Nielsen
 subscription scheme to ascertain the DMA market structure. FCC 23-112 at 17 n.133,
 Attachment 000017 (directing interested persons to Nielsen’s subscription service).

                                            24
USCA Case #24-1004       Document #2037054          Filed: 01/23/2024    Page 28 of 131



       licensee in a Section 307(b) community might seek to qualify for protection
       under the LPPA, or what circumstances might exist in a Section 307(b)
       community of license which would warrant a waiver, or whether and how the
       Commission should regulate Nielsen Media Research’s decision making
       regarding DMA composition. Schechter Poultry Corp. v. U.S., 295 U.S. 495,
       537-38 (1935) (Congress cannot delegate unfettered legislative power and
       private parties cannot exercise any legislative power).

 RCC Comments at 5, Attachment 000050. FCC 23-112 misuses Nielsen’s unregulated,

 monopoly DMA market structure to deny Class A licensing.

          D. Unconstitutional Class A Program Content Eligibility Rule

        FCC 23-112 unreasonably limits the LPPA’s economic and viewpoint diversity

 benefits by imposing Class A eligibility rules which violate the First Amendment. FCC

 23-112 applies a disqualifying program importation rule which on its face violates the

 First Amendment by restricting a Class A applicant’s program content and editorial

 choices. The restrictive rule can lead to absurd results such as news and political

 programming is unqualified, but broadcasting bird feeder programs for cats from the

 LPTV studio’s backdoor is qualifying. The net result of the Commission’s content

 restriction is a loss of public affairs and news programming, although the broadcaster

 properly remains free to program for cats. RCC Reply at 10-14, Attachment 000077-

 81. Syracuse Peace Council v. FCC, 867 F.2d 654, 684 (CADC 1989), cert. denied,

 493 U.S. 1019 (1990) (“regulatory schemes that tread unnecessarily on the editorial

 discretion of broadcasters contravene the First Amendment”).




                                          25
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 29 of 131



       FCC 23-112 also violates the First Amendment by unevenly applying the

 program importation restriction where some imported programs are considered “local,”

 but only for multiple LPTV station owners. FCC 23-112 at 9 ¶ 19, Attachment

 000009. “Control over program selection is a core First Amendment right of

 broadcasters” and “other interpretations intrude upon Class A licensee’s protected First

 Amendment content and editorial rights.” RCC Reply at 10-13, Attachment 000077-80.

 By selecting programming, and preparing it for broadcast, a LPTV licensee produces

 programming for its § 307(b) community of license: if not for the LPTV’s program

 production, the programming would not be available in the community of license.

       A program created in California, but aired in Connecticut, cannot be considered

 local to Connecticut merely because the LPTV licensee has LPTV licenses in both

 California and Connecticut. The critical First Amendment factor is the licensee’s

 determination that the programming meets the needs of its § 307(b) community of

 license. The Commission’s determination that RCC’s programming selection does not

 qualify as locally produced ignores RCC’s constitutionally protected right to select

 programming, ignores the fact that RCC produces the selected programming locally

 within its Section 307(b) community of license because it controls “the program source,




                                           26
USCA Case #24-1004       Document #2037054          Filed: 01/23/2024    Page 30 of 131



 as it reaches the transmitter site,”15 and unreasonably discriminates among Class A

 applicants based upon the number and location of their LPTV licenses.

               E. Unlawful Denial Of Primary Class A Must-Carry

       Another example of the Commission’s unreasonable minimization of the LPPA’s

 economic benefits to LPTV stations is the denial of Class A must-carry rights. FCC

 23-112 at 27-28 ¶ 53, Attachment 000027-28. FCC 23-112 finds that “it is unlikely

 that Congress intended to grant Class A stations full must carry rights, equivalent to

 those of full-service stations, without addressing the issue directly.” However, FCC

 23-112 completely ignores the facts that 1) LPPA Sections 2(b) and 2(c)(3)(A)

 explicitly classify Class A as “primary” broadcast stations; 2) Class A stations are

 “subject to the same license terms and renewal standards as a license for a full power

 television station” unless expressly limited by the LPPA; and 3) the 47 C.F.R. § 76.55

 must-carry rule does not include Class A licenses in the list of station classes which

 cannot assert must-carry rights. FCC 23-112 at 3 ¶ 8, 4-5 n.26, Attachment 000003-

 05; RCC Comments at ii, 2 n.4, 4 n.5, 6 n.8, 8, 15, 17 n.22, Attachment 000045,

 000047, 000049, 000051, 000053, 000060, 000062; RCC Reply at 3-5, 8-10,

 Attachment 000070-72, 000075-77.




       15
          RCC Comments at 2 n.3, Attachment 000047; RCC Reply at 10-12,
 Attachment 000077-79, citing FCC 23-23 n.44 (the underlying Notice of Proposed
 Rulemaking); 47 C.F.R. § 74.701(h), Attachment 000085.

                                          27
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024     Page 31 of 131



       FCC 23-112 treats primary Class A differently compared full power licenses for

 must-carry purposes in violation of the LPPA’s plain text. The LPPA does not contain

 any explicit limitation on Class A must-carry rights.

        Longstanding Commission rule classifies LPTV stations which are upgraded to

 Class A status as “local commercial television stations,” a station class which has must-

 carry rights, rather than as LPTV stations which cannot assert must-carry rights.

 47 C.F.R. §§ 76.55(c)(1),(d)(5); RCC Comments at ii, 2 n.4, 8-9 & n.12, 14-16 & n.21,

 Attachment 000045, 000047, 000053-54, 000059-61 (“A Class A television station is

 a different class of station compared to a LPTV station.”); RCC Reply at 10,

 Attachment 000077. FCC 23-112 also ignores the fact that “for more than thirty years

 the Section 307(b) community of license has been the critical determinant of must-carry

 rights under 47 C.F.R. §§ 76.55(c),(d), * * * but FCC [23-112] changes course in direct

 contradiction of Section 76.55 without discussion.” RCC Comments at 8 n.12,

 Attachment 000053.

       Further, Class A stations are “subject to the same license terms and renewal

 standards as a license for a full power television broadcast station, except as otherwise

 expressly provided in this subsection.” RCC Reply at 10, Attachment 000077, citing

 LPPA Section 2(c)(3)(A) (emphasis in RCC’s original comments). The LPPA has no

 express limitation preventing Class A licensees from asserting the same must-carry




                                            28
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 32 of 131



 right asserted by the full power TV licensees. RCC Comments at 14-16, Attachment

 000059-61; RCC Reply at 8, Attachment 000075.

       Contrary to what FCC 23-112 at 28 ¶ 53, Attachment 000028, asserts, RCC did

 not ask the Commission “to revise” its must-carry rule. Rather, RCC pointed out that

 the Commission’s existing must-carry rule authorizes Class A TV stations to assert

 must-carry, but the rule was misapplied by the cable TV industry which ignored the fact

 that qualifying LPTV stations are “upgraded and reclassified as ‘Class A’ protected

 stations” and are no longer classified as LPTV stations which cannot assert must-carry.

 RCC Comments at 2-3, 14-16, Attachment 000047-48, 000059-61. RCC sought

 clarification in MB Docket 23-126 that the Commission’s existing rules plainly

 authorize Class A stations to assert must-carry rights. FCC 23-112 fails to address

 RCC’s must-carry argument.

       It has been nearly 25 years after the passage of the CBPA and Section 76.55 has

 never been amended to include primary Class A stations in the list of TV stations which

 are unable to assert must-carry rights.16 Indeed, the Commission failed to amend the

 Section 76.55 must-carry rule in FCC 23-112 even after RCC brought to the

 Commission’s attention that its existing rule does not include Class A stations in the


       16
          The Commission adopted Section 76.55 in 1993, Implementation of the Cable
 Television Consumer Protection and Competition Act of 1992, Broadcast Signal
 Carriage Issues, Report and Order, 8 FCC Rcd 2965, 2983 (1993), six years before
 the CBPA created Class A TV licenses.

                                           29
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 33 of 131



 barred station class list. Decades old Section 76.55 directly contradicts FCC 23-112’s

 assertion that primary Class A stations cannot assert must-carry rights.           The

 Commission completely ignored this information. RCC Comments at ii, 2 & n.4, 8

 n.12, 14-16, 17 n.22, Attachment 000045, 000047, 000053, 000059-61, 000062; RCC

 Reply at 8, Attachment 000075.17

       7. Reopening Doctrine: The CBPA And Must-Carry Rulemakings

       The Commission relies heavily upon the reasoning of the 2000 CBPA

 rulemaking to support its actions in FCC 23-112, referring to the “CBPA” at least fifty-

 two times. See e.g. FCC 23-112 at 6 ¶ 12, Attachment 000006 (“we find no reason to

 deviate from these prior determinations”), 7 ¶ 14, Attachment 000007 (“the LPPA does

 not expressly require that the locally produced content aired by a low power station be

 produced by that station itself *** under the CBPA the Commission specifically found

 that TV translator stations were not eligible for Class A status”), 9 ¶ 18, Attachment

 000009 (“the LPPA sets forth eligibility criteria for stations seeking Class A

 designation that are similar to the eligibility criteria under the CBPA”). Moreover,

 FCC 23-112 references “must-carry” or “must carry” at least twenty-one times. See

 e.g. FCC 23-112 at 5 ¶ 10, Attachment 000005 (declining “to amend our rules . . . to

 give LPPA Class A stations must carry rights equivalent to full service stations”).

       17
          The Commission cannot prohibit something which is permitted by its rules.
 Reuters, Ltd. v. FCC, 781 F.2d 946, 950 (CADC 1986) (“it is elementary that an
 agency must adhere to its own rules and regulations”).

                                           30
USCA Case #24-1004        Document #2037054            Filed: 01/23/2024     Page 34 of 131



        FCC 23-112 substantially justifies its existence based upon the Commission’s

 prior adjudication of the CBPA Class A and “must-carry” issues, therefore,

 examination of those rulemakings is appropriate in this review proceeding under the

 “reopening doctrine.” CTIA - The Wireless Ass’n v. FCC, 466 F.3d 105, 110-11

 (CADC 2006) (reopening is appropriate “when the later proceeding explicitly or

 implicitly shows that the agency actually reconsidered the rule, the matter has been

 reopened and the time period for seeking judicial review begins anew”).

         In The Event Another Party Seeks Commission Reconsideration

        RCC cannot file a Class A upgrade application per the terms of FCC 23-112, but

 the one year Class A upgrade application filing period will soon commence. In the

 event that another party seeks Commission reconsideration of FCC 23-112, the Court

 should not hold this case in abeyance should the Commission seek such relief and this

 case should proceed on an expedited basis. RCC Comments at 12-13, 16-18,

 Attachment 000057-58, 000061-63 (RCC would be injured by license displacement);

 RCC Reply at 8-10, Attachment 000075-77 (“The LPPA’s necessarily implied

 full-power modification filing freeze remains effective until after final resolution of the

 instant rulemaking proceeding and the associated LPTV license upgrade proceedings”).

 To the best of undersigned counsel’s knowledge, no rulemaking participant made legal

 arguments similar to RCC’s and resources are not wasted by proceeding with this

 review. MCI Telecomms. Corp. v. FCC, 143 F.3d 606, 608 (D.C. Cir. 1998)

                                             31
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 35 of 131



 (prudential considerations govern whether appellate review is halted where another

 party seeks Commission reconsideration).

       Should this review proceeding be halted because another party timely seeks

 Commission reconsideration, FCC 23-112 should be stayed so that RCC is not injured

 by full power licensing action taken before conclusion of appellate review.

 Undersigned counsel’s experience is that reconsideration can take years to conclude

 and stay is essential to protect the status quo of the licensing environment.

                                   Requested Relief

       FCC 23-112 is grounded in NAB’s anti-competitive lobbying point that the

 LPPA does not protect LPTV licenses or primary Class A licenses because protection

 “comes at the cost of ‘effectively block[ing] coverage and service improvements by

 full-service stations.’” RCC seeks determinations that: 1) stay, expedited review and

 summary Reversal, are warranted; 2) FCC 23-112 is unlawful; 3) RCC’s Section

 307(b) community of license, not its current DMA, controls for LPPA Class A licensing

 purposes; 4) RCC qualifies for the LPPA’s economic benefits because RCC’s § 307(b)

 community of license has fewer than 95,000 TV households, 5) RCC’s program

 content cannot be used to deny Class A licensing; and 6) primary Class A licenses have

 the same license terms as full power licenses and upon Class A licensing RCC may

 assert must-carry.




                                           32
USCA Case #24-1004   Document #2037054       Filed: 01/23/2024   Page 36 of 131



                                    Respectfully submitted,


 January 23, 2024                   /S/_____________________________
                                    Timothy E. Welch, Esq.
                                    Attorney for Petitioner
                                    Hill and Welch
                                    1116 Heartfields Drive
                                    Silver Spring, MD 20904
                                    welchlaw@earthlink.net
                                    (202) 321-1448
                                    (301) 622-2864 (FAX)




                                   33
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 37 of 131



                              Certificate of Compliance


        I certify that this Petitioner’s Opposed Emergency Motion For Stay, Expedited
 Review, And Summary Reversal is proportionally spaced using 14 point Times New
 Roman typeface and, in compliance with the 7,800 combined dispositive and
 procedural motion word limit found at Circuit Rule 18(b) and Appendix of Forms for
 the Federal Rules of Appellate Procedure, contains 7,682 words, excluding those items
 listed at F.R.A.P. 32(f) and Circuit Rule 32(e)(1), as counted by WordPerfect 2021
 Ver. 21.0.0.194. I certify that the information on this form is true and correct to the
 best of my knowledge and belief.


 /S/__________________________________
    Timothy E. Welch
    Counsel to Radio Communications Corporation


 January 23, 2024




                                           34
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 38 of 131



             Certificate of Digital Submission and Privacy Redactions


          Petitioner’s Opposed Emergency Motion For Stay, Expedited Review, And
 Summary Reversal and the Attachments have been scanned for viruses with the most
 recent version of a commercial virus scanning program (McAfee Antivirus Version
 1.1.2569, last updated January 23, 2024) and is free of viruses. In addition, I certify
 that all required privacy redactions have been made.


 /S/_______________________________
    Timothy E. Welch
    Counsel to Radio Communications Corporation


 January 23, 2024




                                           35
USCA Case #24-1004     Document #2037054           Filed: 01/23/2024   Page 39 of 131



   Circuit Rule 28(a)(1) Certificate as to Parties, Rulings, and Related Cases

 Parties and Amici: The following parties entered comments in the rulemaking
 underlying FCC 23-112:

 Block Communications, Inc. (Block)           National Association of Broadcasters
 Communications Technologies                        (NAB)
 County of Los Angeles, California            News-Press & Gazette Broadcasting
 Dockins Communications, Inc.                       (NPG)
       (Dockins)                              One Ministries, Inc.
 Flood Communications (Flood)                 Radio Communications Corporation
 Channel 23 WXWZ, JB Media Group                    LPTV Station W24EZ-D
 Jose Berrios Diaz (JB Media Group)                 Formerly Class A Station W28AJ
 Lockwood Broadcasting, Inc.                        (RCC)
       (Lockwood)                             REC Networks (REC)
 LPTV Broadcasters Association
       (LPTVBA)

 KFLA-LD; Data Wave, LLC; M&C Broadcasting Corporation – WCEA-LD; The
 Videohouse Inc.; ATV Holdings, Inc.; G.I.G., Inc.; Michael Karr; Caribevision
 Holdings; Tycke Media, LLC; America CV Station Group, Inc.; Viper Communica-
 tions, Inc.; Lowcountry 34 Media, LLC; Paramount Broadcasting Communication LLC;
 Look Media; Lawrence F. Loesch; Agape Broadcasters Inc; Richardson Broadcasting;
 King Forward Inc; KADO/Word of Life Ministries, Inc; Dockins Broadcast Group
 (collectively referred to as “Identical Comments” in FCC 23-112)

 Rulings Under Review: FCC 23-112 released December 12, 2023, 89 Fed. Reg. 1466
 (January 10, 2024), Attachment 000001.

 Related Cases: There are no related cases.


 /S/_______________________________
    Timothy E. Welch
    Counsel to Radio Communications Corporation

 January 23, 2024




                                        36
USCA Case #24-1004      Document #2037054           Filed: 01/23/2024   Page 40 of 131



                      Circuit Rule 26.1 Disclosure Statement



        RCC is a closely held, family-owned telecommunications and media company
 with a principal business office located in West Haven, Connecticut. RCC has no
 publicly held owners or parent. RCC and its principals do not own or control, nor are
 they owned or controlled by, any publicly owned company. All principals are U.S.
 Citizens.


 /S/_______________________________
    Timothy E. Welch
    Counsel to Radio Communications Corporation


 January 23, 2024




                                          37
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 41 of 131



                                Certificate Of Service

        I hereby certify that pursuant to F.R.A.P. 25(d) and Circuit Rule 25(f) and 27(a)
 the Clerk of the Court will serve a copy of the foregoing Petitioner’s Opposed
 Emergency Motion For Stay, Expedited Review, And Summary Reversal by email
 using the CM/ECF System upon the following:

 *Adam Sorensen
 Sarah E. Citrin
 General Counsel’s Office
 Federal Communications Commission
 445 12th Street, S.W.
 Washington, D.C. 20554

 *Robert B. Nicholson
 Alice A. Wang
 Antitrust Division
 U.S. Department of Justice
 950 Pennsylvania Avenue, N.W., Room 3224
 Washington, DC 20530-0001

       There are no other parties which require service in this proceeding. Pursuant to
 F.R.A.P. 25 and Circuit Rule 25 undersigned counsel certifies that he has served the
 above listed Respondents via email.

 **Rick Kaplan, Patrick McFadden
 Alison Neplokh, Robert Weller
 National Association of Broadcasters
 1 M Street SE
 Washington, DC 20003

 *Courtesy service by undersigned counsel’s email.
 **Courtesy service by First Class United States Mail, postage prepaid.


 /S/____________________________
    Timothy E. Welch
    January 23, 2024


                                           38
USCA Case #24-1004            Document #2037054                  Filed: 01/23/2024         Page 42 of 131



                                             Attachments




 1) Report and Order FCC 23-112, Released December 12, 2023 . . . . . . . . . 000001
 2) Low Power Protection Act, Pub. L. 117-344, 136 Stat. 6193 (2023) . . . . 000040
 3) RCC Comments MB Docket No. 23-126 Filed May 4, 2023 . . . . . . . . . . 000043
 4) RCC Reply MB Docket No. 23-126 Filed June 13, 2023 . . . . . . . . . . . . . 000065
 5) 47 C.F.R. § 76.55 Definitions Applicable To The Must-Carry Rules . . . . 000082
 6) 47 C.F.R. § 74.701(h) Definitions – Local Origination . . . . . . . . . . . . . . . 000085
 7) Public Notice, DA 24-26, MB Docket 23-126, January 10, 2024 . . . . . . . 000087
 8) 47 U.S.C. § 307 Licenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 000089




                                                    39
USCA Case #24-1004                          Document #2037054                                 Filed: 01/23/2024                    Page 43 of 131
                                                Federal Communications Commission                                                        FCC 23-112


                                                           Before the
                                                Federal Communications Commission
                                                      Washington, D.C. 20554

 In the Matter of                                                             )
                                                                              )
 Implementation of the Low Power Protection Act                               )          MB Docket No. 23-126
                                                                              )

                                                           REPORT AND ORDER

 Adopted: December 11, 2023                                                                                   Released: December 12, 2023

 By the Commission:

                                                           TABLE OF CONTENTS

 Heading                                                                                                                                  Paragraph #

 I. INTRODUCTION .................................................................................................................................. 1
 II. BACKGROUND .................................................................................................................................... 2
      A. Low Power Television Service ........................................................................................................ 2
      B. Class A Television Stations ............................................................................................................. 4
      C. Low Power Protection Act ............................................................................................................... 7
 III. DISCUSSION ...................................................................................................................................... 10
      A. Application Period ......................................................................................................................... 11
      B. Eligibility Requirements ................................................................................................................ 13
         1. Definition of Low Power TV Station ...................................................................................... 13
         2. Eligibility Criteria.................................................................................................................... 18
         3. Interference Requirements ...................................................................................................... 29
         4. Designated Market Area .......................................................................................................... 33
         5. License Standards (Ongoing Eligibility Requirements) .......................................................... 41
      C. Application Process ....................................................................................................................... 46
      D. TV Broadcast Incentive Auction, Post-Auction Transition, and Reimbursement ......................... 49
      E. Digital Equity and Inclusion .......................................................................................................... 50
      F. Other Issues.................................................................................................................................... 52
 IV. PROCEDURAL MATTERS ................................................................................................................ 57
 V. ORDERING CLAUSES ....................................................................................................................... 60
 Appendix A – List of Commenters
 Appendix B – Final Rules
 Appendix C – Final Regulatory Flexibility Act Analysis

 I.         INTRODUCTION
         1.       In this Report and Order, we adopt rules to implement the Low Power Protection Act
 (LPPA or Act), 1 which was enacted on January 5, 2023. The LPPA provides certain low power television
 (LPTV) stations with a limited window of opportunity to apply for primary spectrum use status as Class
 A television stations. 2 With limited exceptions, the rules adopted herein are consistent with the


 1
     Low Power Protection Act, Pub. L. 117-344, 136 Stat. 6193 (2023).
 2
     LPPA Sec.2(b).


                                                                                                      000001
                                                        RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                               Case No. 24-1004--FCC 23-112
USCA Case #24-1004                Document #2037054                      Filed: 01/23/2024            Page 44 of 131
                                      Federal Communications Commission                                    FCC 23-112


 Commission’s proposals in the Notice of Proposed Rulemaking (NPRM) 3 in this proceeding. In this
 Order, we further the implementation of the LPPA by establishing the period during which eligible
 stations may file applications for Class A status, eligibility and interference requirements, and the process
 for submitting applications.
 II.      BACKGROUND
          A.       Low Power Television Service
          2.       The Commission created the LPTV service in 1982 to bring television service, including
 local service, to viewers “otherwise unserved or underserved” by existing full power service providers.4
 From its creation, the LPTV service has been a secondary service, meaning LPTV stations may not cause
 interference to, and must accept interference from, full power television stations as well as certain land
 mobile radio operations and other primary services. 5
          3.       Currently, there are 1,889 licensed LPTV stations. 6 These stations operate in all states
 and territories, and serve both rural and urban audiences. 7 LPTV stations were required to complete a
 transition from analog to digital operation in 2021, and all such stations must now operate in digital
 format. 8 As the name suggests, LPTV stations have lower authorized power levels than full power
 television stations. 9 Because they operate at reduced power levels, LPTV stations serve a much smaller
 geographic region than full power stations and can be fit into areas where a higher power station cannot
 be accommodated in the Table of TV Allotments. 10




 3
  See Implementation of the Low Power Protection Act, MB Docket No. 23-126, Notice of Proposed Rulemaking,
 FCC 23-23 (rel. March 30, 2023) (NPRM).
 4
   Inquiry Into the Future Role of Low Power Television Broadcasting and Television Translators in the National
 Telecommunications System, BC Docket No. 78-253, Notice of Proposed Rulemaking, 82 F.C.C.2d 47, para. 1
 (1980) (LPTV NPRM); Low Power Television Service, Report and Order, 51 R.R.2d 476 (1982) (LPTV Order),
 recon. granted in part, 48 Fed. Reg. 21478 (1983). The low power television service consists of LPTV and TV
 translator stations. LPTV and TV translator stations differ only in the amount of programming they may originate.
 LPTV stations are not limited in the amount of programming they may originate. TV translators may originate only
 emergency warnings of imminent danger no longer or more frequent than necessary to protect life and property and,
 in addition, not more than thirty seconds per hour of public service announcements and material seeking and
 acknowledging financial support necessary to the continued operation of the station. See 47 CFR § 74.790
 (Permissible service of TV translator and LPTV stations).
 5
  LPTV Order, 51 R.R.2d at para. 17. As a result of their secondary status, LPTV stations can also be displaced by
 full power stations that seek to expand their service area, or by new full power stations seeking to enter the same
 area as an LPTV station.
 6
  See Broadcast Station Totals as of September 30, 2023, Public Notice, DA 23-921 (rel. Oct. 3, 2023), available at
 https://docs.fcc.gov/public/attachments/DA-23-921A1.pdf (http://fcc.gov).
 7
  See Establishment of a Class A Television Service, MM Docket No. 00-10, Report and Order, 15 FCC Rcd 6355,
 6357-58, para. 2 (2000) (Class A Order), recon. granted in part, 16 FCC Rcd 8244 (2001) (Class A MO&O).
 8
  LPTV stations were required to complete their digital transition as of July 13, 2021. See Media Bureau Reminds
 Low Power Television and Television Translator Stations of July 13, 2021, Digital Transition Date, Public Notice,
 36 FCC Rcd 4771 (MB 2021).
 9
   See 47 CFR §§ 74.735(a), 73.622(a)(1); Class A Order, 15 FCC Rcd at 6357, n.4; NPRM at n.8 (noting that LPTV
 signals typically extend approximately 20 to 40 miles from a station’s transmission site, while the signals of full
 power stations can reach as far as 60 to 80 miles).
 10
    Unlike full power stations, LPTV stations are not restricted to operating on a channel specified in a table of
 allotments.

                                                            2                            000002
                                           RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                  Case No. 24-1004--FCC 23-112
USCA Case #24-1004                    Document #2037054                Filed: 01/23/2024           Page 45 of 131
                                        Federal Communications Commission                              FCC 23-112


            B.       Class A Television Stations
          4.     In 2000, the Commission established a Class A television service 11 to implement the
 Community Broadcasters Protection Act of 1999 (CBPA). 12 The CBPA allowed certain qualifying LPTV
 stations to become Class A stations, which provided those television stations primary status, and thereby a
 measure of interference protection from full service television stations. 13
           5.      Congress sought in the CBPA to provide certain LPTV stations a limited window of
 opportunity to apply for primary status. Among other matters, the CBPA set out certain certification and
 application procedures for LPTV licensees seeking Class A designation and prescribed the criteria for
 eligibility for a Class A license. Specifically, under the CBPA, an LPTV station could qualify for Class A
 status if, during the 90 days preceding the date of enactment of the statute, the station: (1) broadcast a
 minimum of 18 hours per day; (2) broadcast an average of at least 3 hours per week of programming
 produced within the market area served by the station, or the market area served by a group of commonly
 controlled low-power stations that carry common local programming produced within the market area
 served by such group; and (3) was in compliance with the Commission’s requirements for LPTV
 stations. 14 In addition, the CBPA required that, from and after the date of its application for a Class A
 license, the station must be in compliance with the Commission’s operating rules for full power television
 stations. 15 As directed by the CBPA, within 60 days of the date of enactment of the CBPA, stations
 seeking Class A status were required to submit to the Commission a certification of eligibility based on
 the applicable qualification requirements. 16
          6.      In addition to these qualifying requirements, the CBPA gave the Commission discretion
 to determine that the public interest, convenience, and necessity would be served by treating a station as a
 qualifying LPTV station under the CBPA, or that a station should be considered to qualify for such status
 for other reasons determined by the Commission, even if it did not meet the qualifying requirements in
 the statute discussed above. 17 In implementing the CBPA, the Commission concluded, however, that it
 would not accept applications under the CBPA from LPTV stations that did not meet the statutory criteria
 and that did not file a certification of eligibility by the statutory deadline, absent compelling
 circumstances. 18
            C.       Low Power Protection Act
       7.      Like the CBPA, the LPPA is intended “to provide low power TV stations with a limited
 window of opportunity” to apply for primary status as a Class A television licensee. 19 The Act gives




 11
      See Class A Order, 15 FCC Rcd 6355.
 12
   Community Broadcasters Protection Act of 1999, Pub. L. No. 106-113, 113 Stat. Appendix I at pp. 1501A-594 -
 1501A-598 (1999), codified at 47 U.S.C. § 336(f).
 13
      See Class A Order, 15 FCC Rcd 6355, para. 1.
 14
      47 U.S.C. § 336(f)(2)(A)(i).
 15
      47 U.S.C. § 336(f)(2)(A)(ii).
 16
    47 U.S.C. § 336(f)(1)(B). In addition, the Commission required LPTV licensees seeking Class A designation to
 submit an application to the Commission within 6 months after the effective date of the rules adopted in the Class A
 proceeding. See Class A Order, 15 FCC Rcd at 6362, paras. 13-14.
 17
      47 U.S.C. § 336(f)(2)(B).
 18
      See Class A Order, 15 FCC Rcd at 6361, para. 11.
 19
      LPPA Sec.2(b).

                                                          3                               000003
                                            RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                   Case No. 24-1004--FCC 23-112
USCA Case #24-1004                  Document #2037054                       Filed: 01/23/2024        Page 46 of 131
                                       Federal Communications Commission                                 FCC 23-112


 LPTV stations one year to apply for a Class A license, from the date that the Commission’s rules
 implementing the LPPA become effective. 20
          8.       The LPPA sets forth eligibility criteria for stations seeking Class A designation that are
 similar to the eligibility criteria under the CBPA, as discussed above. Specifically, the LPPA provides
 that the Commission “may approve” an application submitted by an LPTV station if the station meets the
 following eligibility criteria:

        •   during the 90-day period preceding the date of enactment of the LPPA (i.e., between October 7,
            2022 and January 5, 2023), the station satisfied the same requirements applicable to stations that
            qualified for Class A status under the CBPA, “including the requirements…with respect to locally
            produced programming;” 21
        •   the station satisfies the Class A service requirements in 47 CFR § 73.6001(b)-(d) or any successor
            regulation; 22
        •   the station demonstrates that it will not cause any interference as described in the CBPA; 23
        •   during that same 90-day period, the station complied with the Commission’s requirements for
            LPTV stations; 24 and
        •   as of January 5, 2023, the station operated in a Designated Market Area with not more than
            95,000 television households. 25
 Finally, the LPPA requires that a station accorded Class A status must (1) be subject to the same license
 terms and renewal standards as a license for a full power television broadcast station (except as otherwise
 expressly provided in the LPPA) and (2) remain in compliance with the LPPA’s eligibility criteria during
 the term of the station’s license. 26


 20
    LPPA Sec.2(c)(2)(A). That provision states: “The rule with respect to which the Commission is required to issue
 notice under paragraph (1) shall provide that, during the 1-year period beginning on the date on which that rule takes
 effect, a low power TV station may apply to the Commission to be accorded primary status as a Class A television
 licensee under section 73.6001 of title 47, Code of Federal Regulations, or any successor regulation.” LPPA
 Sec.2(c)(2)(A).
 21
   Section 2(c)(2)(B) provides: “(B) Considerations. – The Commission may approve an application submitted under
 subparagraph (A) if the low power TV station submitting the application (i) satisfies – (I) section 336(f)(2) of the
 Communications Act of 1934…and the rules issued under that section, including the requirements under such
 section 336(f)(2) with respect to locally produced programming….” LPPA Sec.2(c)(2)(B)(i)(I) (citing 47 U.S.C. §
 336(f)(2) of the CBPA).
 22
    LPPA Sec.2(c)(2)(B)(i)(II). Sections 73.6001(b)-(d) of our rules set forth service requirements and other rules for
 Class A stations.
 23
   LPPA Sec.2(c)(2)(B)(ii); 47 U.S.C. § 336(f)(7). See also Section III.B.3 infra (Eligibility Requirements -
 Interference Requirements).
 24
      LPPA Sec.2(c)(2)(B)(ii). See also 47 U.S.C. § 336(f)(2)(A)(i)(III).
 25
    LPPA Sec.2(c)(2)(B)(iii). The LPPA also requires the Commission “[n]ot later than 1 year after the date of
 enactment” of the LPPA to “submit to the Committee on Commerce, Science and Transportation of the Senate and
 the Committee on Energy and Commerce of the House of Representatives a report regarding the implementation” of
 the LPPA including: “(1) a list of the current, as of the date on which the report is submitted, licensees that have
 been accorded primary status as Class A television licensees; and (2) of the licensees described in paragraph (1), an
 identification of each such licensee that has been accorded the status described in that paragraph because of the
 implementation” of the LPPA. LPPA Sec.2(d).
 26
   LPPA Sec.2(c)(3). Section 2(c)(3) in its entirety provides: “Applicability of License – A license that accords
 primary status as a Class A television licensee to a low power TV station as a result of the [rules adopted to
                                                                                                          (continued….)
                                                             4                             000004
                                             RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                    Case No. 24-1004--FCC 23-112
USCA Case #24-1004                  Document #2037054                   Filed: 01/23/2024           Page 47 of 131
                                       Federal Communications Commission                                FCC 23-112


          9.      On March 29, 2023, the Commission adopted the NPRM, which sought comment on how
 to implement the window for LPTV stations to apply for primary spectrum use status as Class A
 television stations, consistent with Congressional direction in the LPPA. 27 We received over thirty
 comments in response to the NPRM. 28
 III.        DISCUSSION
           10.     The rules and policies we adopt herein to implement the LPPA are largely consistent with
 the Commission’s proposals in the NPRM, with one exception. We adopt the proposals regarding the
 application period, the definition of a low power TV station and eligibility criteria, applicable interference
 requirements, and use of the Nielsen Local TV Station Information Report (Local TV Report) to
 determine the DMA where the LPTV station’s transmission facilities are located for purposes of
 eligibility. We do not, however, adopt in full the proposal to require that all licensees that convert to
 Class A status pursuant to the LPPA remain in compliance with the LPPA’s DMA eligibility requirement
 for the term of their Class A license. Instead, we conclude that LPPA Class A stations will not be
 required to continue to comply with the 95,000 TV household threshold if the population in the station’s
 DMA later exceeds the threshold amount for specific reasons beyond the station’s control. Finally, we
 adopt the NPRM proposals regarding the process for applying for Class A status pursuant to the LPPA,
 decline to amend our rules, as requested, to give LPPA Class A stations must carry rights equivalent to
 full service stations, and decline to adopt a requested de minimis exception to the LPPA’s DMA eligibility
 requirement.
             A.          Application Period
          11.       For the reasons discussed in the NPRM and described below, we adopt the NPRM’s
 proposals regarding the application period. In the NPRM, the Commission proposed to provide LPTV
 stations a period of one year to apply for Class A status under the LPPA. 29 The Commission also
 tentatively concluded that the public interest would not be served by providing for conversion to Class A
 status beyond the one year period contemplated by the LPPA. 30 The Commission proposed, however,
 that, similar to its approach in implementing the CPBA, if a potential applicant faces circumstances
 beyond its control that prevents it from filing by the application deadline, the Commission would examine



 (Continued from previous page)
 implement the LPPA] shall (A) be subject to the same license terms and renewal standards as a license for a full
 power television broadcast station, except as otherwise expressly provided in this subsection; and (B) require the
 low power TV station to remain in compliance with paragraph (2)(B) during the term of the license.”
 27
      See generally NPRM.
 28
    A list of the comments and reply comments is attached as Appendix A. The Identical Comments (identified in
 Appendix A) support the adoption of Metropolitan Statistical Areas (MSAs) and Rural Statistical Areas (RSAs), as
 defined by the Office of Management and Budget, as an alternative to Designated Market Areas (DMAs), as defined
 by Nielsen Media Research, for determining eligibility pursuant to the LPPA. See infra Section III.B.4. (Eligibility
 Requirements- Designated Market Area). RCC argues that we should discount the Identical Comments on the
 ground that they do not provide information “regarding the person or persons directing the filing of [the] common
 comments.” RCC Reply Comments at 1. We reject RCC’s request. Each of the identical comments includes the
 name of the individual signing the comment, and the fact that the comments are identical is not grounds for the
 Commission to ignore them. We also reject RCC’s argument that we should discount NAB’s comments on the
 ground that “NAB does not claim to represent any LPTV licensees” and its comments “do not protect LPTV
 interests.” RCC Reply Comments at 3. A party need not “represent” or seek to “protect” LPTV licensees in order to
 file comments in this proceeding. Moreover, NAB’s comments set forth its interests in this proceeding. NAB
 Comments at 2-4. We therefore have considered all the comments filed in the docket.
 29
      NPRM at para. 10.
 30
      Id. at para. 11.

                                                           5                                000005
                                              RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                     Case No. 24-1004--FCC 23-112
USCA Case #24-1004                 Document #2037054                       Filed: 01/23/2024             Page 48 of 131
                                       Federal Communications Commission                                      FCC 23-112


 those instances on a case-by-case basis to determine the potential applicant’s eligibility for filing. 31 No
 commenter addressed these issues.
           12.      The LPPA provides LPTV stations a period of one year to apply for Class A status. 32
 The LPPA also provides that the Commission may approve an application for Class A status if the
 application satisfies section 336(f)(2) of the Communications Act of 1934, as amended (which codifies
 the CBPA). 33 This provision sets forth the eligibility criteria for stations qualifying for Class A status,34
 and gives the Commission discretion to determine whether a station that does not satisfy such criteria
 should otherwise qualify. 35 In the Class A Order, the Commission declined either to expand these
 eligibility criteria or to allow ongoing conversion to Class A status beyond the 6 month window
 contemplated in the CBPA. 36 The Commission reasoned that the basic purpose of the CBPA was to
 afford existing LPTV stations a window of opportunity to convert to Class A status. 37 The Commission
 also determined that the intent of Congress in enacting the CBPA was to establish the rights of a specific,
 already-existing group of LPTV stations, and that the public interest would not be served by the ongoing
 conversion of LPTV stations to Class A status under the CBPA in the future. 38 Absent comment on this
 issue, we find no reason to deviate from these prior determinations and the tentative conclusions in the
 NPRM that the application window will be limited to the one-year application window specified in the
 LPPA, but that we will examine on a case-by-case basis a potential applicant’s claim that it was prevented
 from filing by the application deadline due to circumstances beyond its control.
            B.      Eligibility Requirements
                    1.       Definition of Low Power TV Station
          13.    As proposed in the NPRM, we apply the Commission’s recently updated definition of a
 “low power TV station” for purposes of determining which stations are eligible for Class A status under
 the LPPA. 39 The LPPA provides that the term “low power TV station” has the meaning given the term
 “digital low power TV station” in section 74.701 of our rules, or any successor regulation. 40 At the time
 the LPPA was enacted, section 74.701 contained a definition of the term “digital lower power TV

 31
      Id.
 32
      LPPA Sec.2(c)(2)(A).
 33
      LPPA Sec.2(c)(2)(B).
 34
    47 U.S.C. § 336(f)(2)(A) (providing that an LPTV station qualifies for Class A status pursuant to the CBPA if
 “(A)(i) during the 90 days preceding (the date of enactment of the CBPA) – (I) such station broadcast a minimum of
 18 hours per day; (II) such station broadcast an average of at least 3 hours per week of programming that was
 produced within the market area served by such station, or the market area served by a group of commonly-
 controlled low-power stations that carry common local programming produced within the market area served by
 such group; and (III) such station was in compliance with the Commission’s requirements applicable to low-power
 television stations; and (ii) from and after the date of its application for a class A license, the station is in compliance
 with the Commission’s operating rules for full-power television stations…”).
 35
   47 U.S.C. § 336(f)(2)(B) (providing that a station is a qualifying low-power television station if “(B) the
 Commission determines that the public interest, convenience, and necessity would be served by treating the station
 as a qualifying low-power television station for purposes of this section, or for other reasons determined by the
 Commission”).
 36
   See Class A Order, 15 FCC Rcd at 6361, para. 11. See also Class A MO&O, 16 FCC Rcd at 8250-52, paras. 15-
 18.
 37
      See Class A Order, 15 FCC Rcd at 6361, para. 11; Class A MO&O, 16 FCC Rcd at 8251-52, para. 18.
 38
      Class A MO&O, 16 FCC Rcd at 8251-52, para. 18. See also NPRM at para. 11.
 39
      NPRM at para. 12.
 40
      LPPA Sec.2(a)(3).

                                                              6                            000006
                                             RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                    Case No. 24-1004--FCC 23-112
USCA Case #24-1004                Document #2037054                      Filed: 01/23/2024            Page 49 of 131
                                     Federal Communications Commission                                    FCC 23-112


 station.” As noted in the NPRM, after enactment of the LPPA, the Commission revised that rule to
 remove references to digital and analog television service, as all LPTV stations have ceased analog
 operations and there is no longer any need to differentiate between digital and analog in the rules. 41 In
 place of the prior section 74.701 definition, section 74.701(k) of our current rules defines a low power TV
 station as: “[a] station…that may retransmit the programs and signals of a television broadcast station,
 may originate programming in any amount greater than 30 seconds per hour… and, subject to a minimum
 video program service requirement, may offer services of an ancillary or supplementary nature, including
 subscription-based services.” 42 No commenter addressed this proposal. We will apply this recently
 updated definition of an LPTV station for purposes of determining which stations are eligible for Class A
 status under the LPPA.
          14.      We adopt the tentative conclusion in the NPRM that television translator stations are
 unlikely to satisfy the eligibility requirements of the LPPA. 43 As explained in the NPRM, 44 translator
 stations “operate for the purpose of retransmitting the programs and signals of a television broadcast
 station, without significantly altering any characteristic of the original signal other than its frequency and
 amplitude,” 45 and thus, are not permitted to “originate programming” as defined in the rules. 46 While the
 LPPA does not expressly require that the locally produced content aired by a low power station be
 produced by that station itself, we noted that translators would be unlikely to qualify under the locally
 produced programming provisions of the LPPA due to the manner in which translators operate.
 Translator stations are generally located outside their primary station’s noise limited contour in order to
 bring service to remote areas. 47 Thus, while a translator’s primary station(s) may be airing programming
 produced in the primary station’s noise limited contour, it is unlikely that programming was locally
 produced within the noise limited contour of the translator. In addition, as explained in the NPRM, under
 the CBPA the Commission specifically found that TV translator stations were not eligible for Class A
 status, and there is no indication that Congress intended to be more inclusive under the LPPA. 48 The sole

 41
   The Commission recently revised its rules in Parts 73 and 74, inter alia, to eliminate rules that no longer have any
 practical effect given the completion of the DTV transition as well as the post-incentive auction transition to a
 smaller television band with fewer channels. See Amendment of Part 73 of the Commission’s Rules to Update
 Television and Class A Television Broadcast Station Rules, and Rules Applicable to All Broadcast Stations, MB
 Docket No, 22-227, Report and Order, FCC 23-72 (rel. Sept. 19, 2023) (Part 73 Amendment R&O); Amendment of
 Parts 73 and 74 of the Commission’s Rules to Establish Rules for Digital Low Power Television and Television
 Translator Stations, Update of Parts 74 of the Commission’s Rules Related to Low Power Television and Television
 Translator Stations, MB Docket Nos. 03-185 and 22-261, Report and Order, FCC 23-25 (rel. Apr. 17, 2023) (Parts
 73 and 74 Amendment Report and Order). Among other revisions, the Commission eliminated all analog rules and
 references to analog and to out-of-core channels; updated information such as filing dates, locations, and form
 numbers; and reorganized and modified technical rules to make them more accessible to licensees and other users.
 See id. Any additional rule changes that are relevant to Class A stations will apply to stations that converted to
 Class A status pursuant to the CBPA and to stations that convert to Class A status pursuant to the LPPA.
 42
      47 CFR § 74.701(k).
 43
      NPRM at para. 13.
 44
      Id.
 45
      47 CFR § 74.701(a).
 46
    See 47 CFR § 74.701(h) (“Local origination. Program origination if [sic] the parameters of the program source
 signal, as it reaches the transmitter site, are under the control of the low power TV station licensee. Transmission of
 TV program signals generated at the transmitter site constitutes local origination. Local origination also includes
 transmission of programs reaching the transmitter site via TV STL stations, but does not include transmission of
 signals obtained from either terrestrial or satellite microwave feeds or low power TV stations.”) (emphasis added).
 47
      47 CFR § 74.787(a)(5).
 48
      NPRM at para. 13.

                                                            7                            000007
                                           RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                  Case No. 24-1004--FCC 23-112
USCA Case #24-1004                 Document #2037054                    Filed: 01/23/2024           Page 50 of 131
                                     Federal Communications Commission                                   FCC 23-112


 commenter to address this issue, News-Press & Gazette Broadcasting (NPG), agrees that excluding
 television translator stations from eligibility under the LPPA “is a practical approach for most translators”
 but argues that “additional flexibility is warranted” for TV translator stations such as NPG’s translator.
          15.       KXPI-LD, Pocatello, Idaho, retransmits the signal of full power station KIDK, (Fox),
 Idaho Falls, Idaho. 49 According to NPG, “KXPI-LD is classified in the Commission’s records as a digital
 TV translator station, but it functions more like an originator of programming than a translator; it is a
 primary Fox Network affiliate providing local news, weather, and information to the Pocatello
 community. . . .” 50 NPG argues that KXPI-LD meets all of the LPPA’s eligibility requirements, “except
 its ministerial technical classification as a digital TV translator.”51 NPG also argues that “the FCC’s ‘low
 power TV station’ definition, Rule 74.701(k), encompasses stations like KXPI-LD that retransmit the
 signal of a TV broadcast station, and does not require program origination.” 52 NPG urges that the
 Commission permit stations like KXPI-LD to be eligible for the Class A filing opportunity afforded by
 the LPPA. 53
           16.     We affirm our tentative conclusion that translator stations are unlikely to satisfy the
 eligibility requirements of the LPPA. NPG’s argument that the Commission’s definition of a low power
 TV station encompasses stations like KXPI-LD that retransmit the signal of a TV broadcast station, and
 does not require program origination, is misplaced. LPAA section 2(c)(2)(B)(i)(I) requires that, during
 the 90-day eligibility period, an LPTV station must broadcast an average of at least three hours per week
 of programming produced within the market area served by the station. 54 As a translator station, KXPI-
 LD retransmits the programming feed it obtains from full-power station KIDK. NPG does not
 demonstrate that the KIDK programming that KXPI-LD is retransmitting was produced in KXPI-LD’s
 own noise limited contour. Thus, NPG has failed to demonstrate how a translator station like KXPI-LD
 can satisfy the requirement of LPAA section 2(c)(2)(B)(i)(I) to broadcast an average of at least three
 hours per week of programming produced within the market area served by the translator station. 55
          17.      Finally, consistent with the tentative conclusion in the NPRM, we confirm that LPTV
 stations that had not completed their digital transitions prior to the beginning of the eligibility period are
 not eligible to apply for Class A designation. 56 No commenter addressed this issue. Since analog
 49
      NPG Comments at 8-9.
 50
      Id. at 9.
 51
    Id. NPG’s argument is incorrect. While stations can convert between the TV translator classification or the
 LPTV classification by notifying Commission staff of the station’s intended status, each station must ensure that it
 properly informs the staff of the designation and can be designated only as either a TV translator or an LPTV
 station, not both.
 52
      Id.
 53
      Id.
 54
      LPPA Sec.2(c)(2)(B)(i)(I).
 55
   While we do not preclude a translator station from attempting to demonstrate how it satisfies the eligibility
 requirements of the LPPA, we also note that KXPI-LD is in the Idaho Falls-Pocatello-Jackson DMA (see
 https://ustvdb.com/seasons/2022-23/markets/) which had more than 95,000 TV households at the time the LPPA
 was enacted (see http://web.archive.org/web/20230605234252/https://ustvdb.com/seasons/2022-23/markets/).
 Therefore, the station is also not eligible for Class A status under the LPPA on that basis.
 56
   A small number of analog LPTV stations had not yet completed construction of their digital facilities by July 13,
 2021, the analog termination deadline, and were granted additional time to do so. See Amendment of Parts 73 and
 74 of the Commission’s Rules to Establish Rules for Digital Low Power Television and Television Translator
 Stations, Update of Parts 74 of the Commission’s Rules Related to Low Power Television and Television Translator
 Stations, MB Docket No. 03-185, Order and Sixth Notice of Proposed Rulemaking, 37 FCC Rcd 8173, 8174-45 at
 para. 4 and n.17 (2022). They have all either completed construction or are no longer licensees of the stations that
 went silent on or before the analog termination date.

                                                           8                             000008
                                           RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                  Case No. 24-1004--FCC 23-112
USCA Case #24-1004                   Document #2037054              Filed: 01/23/2024         Page 51 of 131
                                         Federal Communications Commission                        FCC 23-112


 television operations are no longer permitted, any LPTV station that has not converted to digital operation
 is silent and must remain silent until such time as it completes construction of its digital facilities. 57 The
 LPPA requires that, to be eligible to convert to Class A status, an LPTV station must meet the statutory
 programming requirements for the 90-day period preceding the date of enactment of the LPPA. 58 As any
 LPTV station that was silent during this period would not meet these requirements, such stations are not
 eligible to apply for Class A designation under the LPPA.
                      2.       Eligibility Criteria
          18.      As noted above, 59 the LPPA sets forth eligibility criteria for stations seeking Class A
 designation that are similar to the eligibility criteria under the CBPA. Specifically, the LPPA provides
 that the Commission “may approve” an application submitted by an LPTV station if the station, during
 the 90-day period preceding the date of enactment of the LPPA, meets the same requirements in section
 336(f)(2) of the Communications Act applicable to stations that qualified for Class A status under the
 CBPA, “including the requirements…with respect to locally produced programming.” 60 Thus, to qualify
 for Class A status, in the 90 days preceding the LPPA’s January 5, 2023 effective date (between October
 7, 2022 and January 5, 2023) an LPTV station must have met the following requirements: (1) the station
 must have broadcast a minimum of 18 hours per day; 61 (2) the station must have broadcast an average of
 at least 3 hours per week of programming that was produced within the market area served by such
 station, or the market area served by a group of commonly controlled LPTV stations that carry common
 local programming produced within the market area served by such group; 62 and (3) the station must have
 been in compliance with the Commission’s requirements applicable to LPTV stations. 63 In addition, from
 and after the date of its application for a Class A license, the station must be in compliance with the
 Commission’s operating rules for full power television stations.64
         19.      Locally Produced Programming. We will define locally produced programming for
 purposes of the LPPA as that “produced within the predicted noise-limited contour (see § 73.619(c)) of a
 Class A station broadcasting the program or within the contiguous predicted noise-limited contours of any
 of the Class A stations in a commonly owned group.” The NPRM proposed to define “locally produced
 programming” for purposes of the LPPA in the same manner as our rules that apply to stations that
 converted to Class A status pursuant to the CBPA. 65 As noted above, the LPPA requires that, during the
 90-day eligibility period, LPTV stations must have broadcast an average of at least 3 hours per week of
 programming produced within the market area served by the station. 66 The NPRM noted that the
 Commission was in the process of updating its rules. 67 Since that time, in the Part 73 Amendment R&O,
 the Commission did update the definition of locally produced programming for Class A stations as that
 “produced within the predicted noise-limited contour (see § 73.619(c)) of a Class A station broadcasting
 the program or within the contiguous predicted noise-limited contours of any of the Class A stations in a

 57
      Id. See also 47 CFR § 74.790(m).
 58
      See LPPA Sec.2(c)(2)(B)(i)(I).
 59
      See supra para. 8.
 60
      LPPA Sec.2(c)(2)(B)(i)(I).
 61
      47 U.S.C. § 336(f)(2)(A)(i)(I).
 62
      47 U.S.C. § 336(f)(2)(A)(i)(II).
 63
      47 U.S.C. § 336(f)(2)(A)(i)(III). See also supra para. 8.
 64
      LPPA Sec.2(c)(2)(B)(i)(I); 47 U.S.C. § 336(f)(2)(A)(ii).
 65
      See NPRM at para. 16.
 66
      LPPA Sec.2(c)(2)(B)(i)(I); 47 U.S.C. § 336(f)(2)(A)(i)(II).
 67
      See NPRM at para. 16.

                                                              9                            000009
                                             RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                    Case No. 24-1004--FCC 23-112
USCA Case #24-1004                 Document #2037054                    Filed: 01/23/2024           Page 52 of 131
                                       Federal Communications Commission                                FCC 23-112


 commonly owned group.” 68 Block supports this proposed definition of “locally produced
 programming,” 69 and with the exception of REC’s request for clarification addressed below, no other
 commenter addressed this issue. As proposed in the NPRM, we will apply this definition to define
 “programming produced within the market area served by the station” for purposes of determining
 eligibility for Class A status under section 2(c)(2)(B)(i)(I) of the LPPA.
          20.      We decline at this time to adopt REC’s proposal that we clarify the definition of “locally
 produced programming” for purposes of the LPPA. 70 REC advocates that the Commission (1) clarify that
 local programming may not be repeated within the same week to satisfy the weekly locally produced
 programming requirement; (2) require that local programming be aired on the same programming stream
 and not aggregated among multiple streams to meet the minimum requirement; (3) clarify that the local
 programming requirement need only be satisfied on one programming stream of simultaneous video and
 related audio programming; and (4) require that the programming must be simultaneous video and audio
 programming where the audio portion of the programming directly relates to the video portion of the
 programming. 71 We note that the concerns underlying REC’s proposed clarifications are equally
 applicable to existing Class A stations under the CBPA. Any change to the definition of “locally
 produced programming” to address such concerns should be considered with respect to all Class A
 stations, not just those stations that convert to Class A status pursuant to the LPPA. Because the
 Commission did not propose to revise the definition of locally produced programming for purposes of
 Class A stations generally, we find REC’s proposals to be outside the scope of this proceeding.
 Accordingly, we decline to pursue REC’s proposals at this time.
          21.      Operating Requirements. For the reasons contained in the NPRM and discussed below,
 we adopt the NPRM’s proposals related to operating requirements. The NPRM tentatively concluded that
 all applicants seeking to convert to Class A status under the LPPA must certify that they have complied
 with the Commission’s requirements for LPTV stations during the 90-day eligibility period. 72 The NPRM
 also proposed that a station applying to convert to Class A status must comply, beginning on the date of
 its application for a Class A license and thereafter, with the same Commission Part 73 operating rules that
 apply to Class A stations that converted pursuant to the CBPA. 73 This includes the requirement that
 existing Class A stations comply with children’s programming and online public inspection file (OPIF)
 regulations. 74 No commenter opposed this approach. Absent objection, we adopt these proposals.
 68
      See Part 73 Amendment R&O, at n.19 & Appx. A (Final Regulations) at section 73.6000.
 69
      See Block Comments at 2.
 70
      See REC Comments at 3.
 71
      Id.
 72
   See NPRM at para. 17. As noted in para. 8 above, to qualify for Class A status under the LPPA, an LPTV station
 must have been in compliance with the Commission’s requirements for LPTV stations during the 90-day eligibility
 period. The LPTV requirements are set forth in Title 47, Part 74, Subpart G of our rules.
 73
      See NPRM at para. 18. See also LPPA Sec.2(c)(2)(B)(i)(I); 47 U.S.C. § 336(f)(2)(A)(ii).
 74
   See 47 CFR § 73.6026 (listing broadcast regulations applicable to Class A television stations). This rule includes
 cross references to 47 CFR §§ 73.670 (Commercial limits in children’s programming) and 73.671 (Educational and
 informational programming for children) as applying to Class A stations. See also 47 CFR § 73.3526 (Online public
 inspection file of commercial stations) which requires Class A licensees to maintain an online public file, including
 a political file. In the Class A Order that implemented the CBPA, the Commission determined certain Part 73 rules
 would apply to applicants for Class A status and to stations awarded Class A licenses. See Class A Order, 15 FCC
 Rcd at 6365, para. 23; 47 CFR § 73.6026 (listing Part 73 rules that do apply to Class A stations). Class A stations
 are not required to comply with certain other regulations that could not apply for technical reasons, such as the full
 power principal city coverage requirement currently set forth in 47 CFR § 73.625(a). Instead, Class A stations must
 comply with maximum power levels applicable to LPTV stations. Class A Order, 15 FCC Rcd at 6367-68, paras.
 28-29. Some other examples of rules that cannot apply to Class A stations for technical reasons include, 47 CFR §§
 73.622(f)(5) (the so-called “largest station in the market” rule); 73.616 (Post-transition DTV station interference
                                                                                                          (continued….)
                                                           10                             000010
                                            RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                   Case No. 24-1004--FCC 23-112
USCA Case #24-1004                  Document #2037054                    Filed: 01/23/2024             Page 53 of 131
                                       Federal Communications Commission                                   FCC 23-112


 Regarding our requirement that Class A TV applicants and licensees maintain an OPIF, 75 NPG notes that
 LPTV stations have no OPIF and are therefore unable to upload records to the system.76 The
 Commission will activate an OPIF for LPTV stations that apply to convert to Class A status pursuant to
 the LPPA and inform applicants when that station’s OPIF is ready for the applicant to upload documents
 required to be maintained in OPIF. 77
          22.      We also require that all stations that receive a Class A license under the LPPA comply
 with all Class A regulations, as proposed in the NPRM. 78 As discussed in the NPRM, the LPPA requires
 that LPPA Class A stations “remain in compliance” with the Act’s eligibility criteria 79 “during the term of
 the license.” 80 This includes, among other things, the requirements to broadcast a minimum of 18 hours
 per day and to broadcast an average of at least three hours per week of locally produced
 programming each quarter. 81 In addition, the station must continue to comply with the interference
 requirements adopted herein. 82 Further, we adopt the tentative conclusion in the NPRM 83 that there is no
 reason to exempt LPTV stations converting to Class A status under the LPPA from other rules applicable
 to LPTV stations that converted to Class A status under the CBPA, 84 given that the service requirements
 in the LPPA closely track those in the CBPA and thus it makes sense for Class A rules generally to
 apply. 85 No commenter addressed these issues.
         23.    Finally, we conclude that the requirement to comply with the Class A eligibility
 requirements begins when an LPTV station’s Class A application is submitted. The LPPA states that the
 “Commission may approve an application [for Class A status] if the low power TV station submitting the
 application—satisfies— paragraphs (b), (c), and (d) of 73.6001,” 86 which contains the requirements that
 (Continued from previous page)
 protection); and 73.622(f)(6)-(8) (allowable antenna heights and power levels for full power stations). The
 Commission recently amended its rules to relocate the text from certain Part 73 rules to new section and subsection
 numbers. See Amendment of Part 73 of the Commission’s Rules to Update Television and Class A Television
 Broadcast Station Rules, and Rules Applicable to All Broadcast Stations, MB Docket No. 22-227, Report and Order,
 FCC 23-72 (rel. Sept. 19, 2023) (Part 73 Amendment R&O). The amended rules are not yet effective and, as such,
 we continue to make reference to the rule numbers as of the date of release of this Report and Order.
 75
      See 47 CFR § 73.3526.
 76
      NPG Comments at n.24.
 77
    Consistent with current practice for other stations with OPIF obligations, the Commission will upload to the
 applicant’s OPIF those documents that the Commission is responsible for uploading to OPIF. Broadcasters and
 other media entities must upload only those items required to be in the public file but not otherwise filed with the
 Commission or available on the Commission’s website. Any document or information required to be kept in the
 public file and that is required to be filed with the Commission electronically is imported to the online public file
 and updated by the Commission. See Standardized and Enhanced Disclosure Requirements for Television
 Broadcast Licensee Public Interest Obligations, Second Report and Order, 27 FCC Rcd 4535, 4540-41, para. 11
 (2012); Expansion of Online Public File Obligations to Cable and Satellite TV Operators and Broadcast and
 Satellite Radio Licensees, Report and Order, 31 FCC Rcd 526, 534, para. 17 (2016).
 78
      See NPRM at para. 19.
 79
      LPPA Sec.(2)(c)(2)(B).
 80
      LPPA Sec.2(c)(3)(B).
 81
      LPPA Sec.2(c)(2)(B). See also 47 CFR § 73.6001(b)-(c).
 82
      See NPRM at para. 37. See infra Section III.B.3.
 83
      See NPRM at para. 19.
 84
      See 47 CFR §§ 73.6000-6029.
 85
      See NPRM at para. 19; supra para. 8.
 86
      LPPA Sec.2(c)(2)(B)(i)(II).

                                                            11                             000011
                                             RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                    Case No. 24-1004--FCC 23-112
USCA Case #24-1004                   Document #2037054                  Filed: 01/23/2024            Page 54 of 131
                                          Federal Communications Commission                              FCC 23-112


 Class A stations broadcast a minimum of 18 hours per day and broadcast an average of at least three
 hours per week of locally produced programming each quarter. This requirement is distinct from the
 separate statutory obligation to meet the eligibility requirements during the 90-day eligibility period of
 October 7, 2022 to January 5, 2023. 87 In the NPRM, the Commission sought comment on how to
 interpret the statutory language, and specifically on whether the language should be interpreted to require
 an applicant for a Class A license to satisfy the requirements from the time it submits its application.88
 No commenter addressed this issue. As discussed above, the LPPA requires that applicants continue to
 broadcast a minimum of 18 hours per day and to broadcast an average of at least three hours per week
 of locally produced programming each quarter after a Class A license is granted.89 We conclude that the
 language quoted above 90 would be rendered superfluous if we did not interpret it to apply these
 requirements from the time the Class A application is submitted.91 Thus, the requirement to broadcast a
 minimum of 18 hours per day and broadcast an average of at least three hours per week of locally
 produced programming each quarter begins when a station submits an application to convert to Class A
 status pursuant to the LPPA and continues for the term of the Class A license.
           24.     License Application and Documentation. As proposed in the NPRM, 92 we will require an
 applicant to certify in its application that its station meets the operating and programming requirements of
 the LPPA. Specifically, the NPRM proposed, with respect to the statutory requirement that stations air 18
 hours of programming each day during the 90-day eligibility period, that applicants must certify that the
 station was fully operational for at least 18 hours on each day during the 90-day eligibility period. 93 In
 addition, the NPRM proposed, with respect to the requirement that stations air three hours of locally
 produced programming, that an applicant must certify that it was broadcasting an average of at least three
 hours per week of programming that was produced within the market area served by such station, or the
 market area served by a group of commonly controlled LPTV stations that carry common local
 programming produced within the market area served by such group, on each day during the 90-day
 eligibility period. 94 No commenter objected to these proposals. We believe these certification
 requirements will assist us with the orderly processing of applications received under the LPPA, and thus
 we adopt the proposals. Finally, we also require that an applicant certify that it was in compliance with
 the Commission’s requirements applicable to LPTV stations. 95
          25.      Consistent with the tentative conclusion in the NPRM, we require an applicant to submit,
 as part of its application, documents to support its certification that it meets the operating and
 programming requirements of the LPPA. 96 As noted in the NPRM, 97 the Commission staff may later
 determine that additional documentation is needed to evaluate an application and may at that time require


 87
      LPPA Sec.2(c)(2)(B)(i)(I).
 88
      See NPRM at para. 20.
 89
      LPPA Sec.2(c)(3)(B). See supra para. 8.
 90
      See supra n. 89 and accompanying text.
 91
    Clark v. Rameker, 134 S. Ct. 2242, 2248 (2014) (“‘a statute should be construed so that effect is given to all its
 provisions, so that no part will be inoperative or superfluous’”) (quoting Corley v. United States, 556 U.S. 303, 314
 (2009)).
 92
      See NPRM at para. 21.
 93
      Id.
 94
      Id.
 95
      47 U.S.C. § 336(f)(2)(A)(i)(III).
 96
      See NPRM at para. 22.
 97
      Id.

                                                          12                                000012
                                              RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                     Case No. 24-1004--FCC 23-112
USCA Case #24-1004                Document #2037054                      Filed: 01/23/2024             Page 55 of 131
                                      Federal Communications Commission                                    FCC 23-112


 an applicant to submit additional, specific documentation during consideration of the application. 98 We
 believe this approach will ensure eligibility while preserving flexibility for applicants. We decline to
 permit applicants to certify that they meet operating and programming requirements without submission
 of supporting documentation, as Block suggests. 99 We believe such an approach would lack the
 information necessary for the Commission staff to undertake a sufficient review of the application in
 these circumstances. NAB suggests that we require stations to provide “a statement concerning the
 station’s operating schedule and a list of locally produced programs” at the application stage. 100 We will
 adopt NAB’s suggestion and require applicants to provide with their application a statement concerning
 the station’s operating schedule during the 90 days preceding January 5, 2023 as well as a list of locally
 produced programs aired during that time period. We believe that requiring applicants to submit this
 basic information in support of their certification that they meet the LPPA’s eligibility criteria will assist
 us in processing applications. In addition, an applicant should submit whatever additional documents
 available to the applicant that it believes best support its certification that it meets the operating and
 programming requirements of the Act. For example, to support its certification that the station was on the
 air at least 18 hours each day during the eligibility period, a station could provide electric power bills
 from a third party vendor that specify the station’s broadcast facility location for the designated period, 101
 and/or copies of any program guides, EAS logs, or agreements to purchase and air programming on the
 specified station during the times of operation in an amount sufficient to satisfy this operating
 requirement. 102 If the station was silent during any portion of the eligibility period, the station must
 identify any silent periods and the reasons why the station was silent. 103 To support its certification that a


 98
      See 47 U.S.C. § 308(b).
 99
      See Block Comments at 3.
 100
    See NAB Comments at 5. NAB also suggests that LPPA Class A stations include a list of locally produced
 programs as part of the station’s issues/programs list. Id. But see RCC Reply Comments at 12 (arguing that NAB’s
 suggestion “contravenes basic First Amendment principles and Congress’s explicitly stated goal of fostering diverse
 voices through use of the Internet”) and LPTVBA Reply Comments at 8 (arguing that existing requirements are
 sufficient to ensure compliance). We decline to require LPPA Class A stations to provide information regarding
 local programming as part of their issues/programs list, but note that all Class A stations must comply with the
 requirement that they place in their online public inspection file “documentation sufficient to demonstrate that the
 Class A television station is continuing to meet the eligibility requirements set forth” in section 73.6001 of the
 Commission’s rules. 47 CFR § 73.3526(e)(17). Section 73.6001(b) requires all Class A stations to broadcast a
 minimum of 18 hours per day and to broadcast an average of at least three hours per week of locally produced
 programming each quarter. 47 CFR § 73.6001(b). Thus, LPPA Class A stations must include in their public
 inspection file documentation sufficient to show that the station is continuing to meet these requirements. In light of
 this existing public inspection file requirement, we decline to require LPPA Class A stations to include a “specific
 statement detailing hours of operation” as part of the continuing eligibility documentation, as NAB suggests. See
 NAB Comments at 5.
 101
     A significant fluctuation in the amount of power used on a monthly basis during the 90-day eligibility period
 could indicate that the station reduced its hours of operation for one or more months. In addition, for example, we
 would expect that a station operating at 15 kW, the maximum operating power for a UHF LPTV station, for 18
 hours seven days a week, would be operating with a substantial amount of power, as opposed to an LPTV station
 that was airing programming sporadically.
 102
    For example, if a station had contracts for at least 18 hours of programming from various program suppliers
 during the 90-day eligibility period, this would strongly indicate that the station was operating at least 18 hours per
 day during that time period.
 103
     Section 74.735(b) of our rules provides that, in the event that causes beyond the control of a licensee make it
 impossible to continue operating, the station may limit or discontinue operation for a period of not more than 30
 days without further authority from the Commission. Notification must be sent to the Commission no later than the
 10th day of discontinued operation and, during such period, the licensee shall continue to adhere to the requirements
 in the station license pertaining to the lighting of antenna structures. If the causes beyond the control of the licensee
                                                                                                           (continued….)
                                                            13                            000013
                                            RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                   Case No. 24-1004--FCC 23-112
USCA Case #24-1004                 Document #2037054                    Filed: 01/23/2024           Page 56 of 131
                                      Federal Communications Commission                                  FCC 23-112


 station aired an average of at least three hours of locally produced programming each week, the station
 could, for example, submit copies of any agreements to purchase and air such programming and/or
 identify the producer of any programming it claims is locally produced, the location where the
 programming was produced, and records of advertisements aired during locally produced programming
 showing that the programming was in fact aired.
          26.     Apart from a statement regarding the station’s operating schedule and a list of locally
 produced programming aired during the 90 days preceding January 5, 2023, we decline to mandate the
 form of the additional documents that applicants submit to support their applications. 104 We recognize
 that some applicants may not have specific types of documentation, or that a specific document may not
 be in a form that supports the applicant’s certification. 105 In light of that, we permit each applicant to
 provide with the station’s application, documents that it has that best support its certification that it met
 the operational and programming requirements of the LPPA during the eligibility period. The
 Commission staff will review the documentation on a case-by-case basis and determine if it will need to
 request additional documentation before it can make a determination whether to grant a Class A license
 application.
           27.      Alternative Eligibility Criteria. As proposed in the NPRM, we will allow deviation from
 the strict statutory eligibility criteria under the LPPA only where deviations are insignificant or where
 there are compelling circumstances such that equity mandates a deviation. No commenter disagreed with
 this approach. 106 As discussed above, 107 similar to the CBPA, the LPPA provides the Commission with
 additional discretion in evaluating applicants for Class A status if “the Commission determines that the
 public interest, convenience, and necessity would be served by” or “for other reasons determined by the
 Commission” for treating the station as eligible for conversion to Class A pursuant to the LPPA. 108 In the
 Class A Order, the Commission determined that it would allow deviation from the strict statutory
 eligibility criteria in the CBPA “only where such deviations are insignificant or when we determine that
 there are compelling circumstances, and that in light of those compelling circumstances, equity mandates
 such a deviation.” 109 The Commission gave as an example of such compelling circumstances “a natural




 (Continued from previous page)
 make it impossible to comply within the allowed period, an informal written request should be made to the
 Commission no later than the 30th day for such additional time as may be deemed necessary. 47 CFR § 74.735(b).
 104
    REC argues that, to demonstrate that a station is on the air for 18 hours/day, applicants should be required to
 include utility bills, photos of the transmitting facility (including a powered-on transmitter), copies of any leases,
 and any programming grids and programming contracts. See REC Comments at 4-5. To demonstrate that the
 station met the local programming eligibility requirement, REC argues that applicants should be required to submit
 program logs including the name of the program, the air date, time and length of the program, the location where the
 program was produced, and a description of the program. Id. While we agree that such documents may be useful to
 support an application, for the reasons described herein we decline to mandate that all of these specific documents
 are required for every application and permit applicants to submit the documents they have that they believe best
 support their application.
 105
    For example, Block notes that utility costs are often “baked into” a tower lease and that the tower owner may not
 be able to apportion electricity costs among different tower tenants. Block Comments at 3.
 106
     Lockwood proposed that we adopt a de minimis exception to the LPPA’s 95,000 TV household eligibility
 requirement. As discussed below, we reject that proposal. See infra paras. 54-56.
 107
       See supra para. 12.
 108
       47 U.S.C. § 336(f)(2)(B).
 109
       Class A Order, 15 FCC Rcd at 6369, para. 33.

                                                          14                             000014
                                           RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                  Case No. 24-1004--FCC 23-112
USCA Case #24-1004                 Document #2037054                    Filed: 01/23/2024            Page 57 of 131
                                      Federal Communications Commission                                  FCC 23-112


 disaster or interference conflict which forced the station off the air during the 90-day period before
 enactment of the CBPA.” 110
          28.     We conclude that, similar to the Commission’s approach in implementing the CBPA, we
 will allow deviation from the strict statutory eligibility criteria in the LPPA only where such deviations
 are insignificant or where there are compelling circumstances such that equity mandates a deviation.111
 We will consider any such requests on a case-by-case basis. As the Commission tentatively concluded in
 the NPRM, 112 we believe that the LPPA provides precise and limited eligibility criteria and, except in very
 limited circumstances, we are not inclined to expand the specific qualifying criteria beyond that identified
 in the statute.
                     3.        Interference Requirements
          29.      We adopt the tentative conclusions in the NPRM that our interference rules applicable to
 existing Class A stations, including requirements that were adopted subsequent to enactment of the CBPA
 in 1999, 113 will apply to stations that convert to Class A status pursuant to the LPPA.114 The LPPA
 provides that the Commission may approve an application by an LPTV station if it demonstrates that “the
 Class A station for which the license is sought will not cause any interference described in section
 336(f)(7) of the Communications Act . . . .” 115 Section 336(f)(7) describes the interference protection
 requirements for LPTV stations that sought Class A status under the CBPA with respect to full power
 television, LPTV, TV translator, and land mobile stations. As noted in the NPRM, LPTV stations that
 converted to Class A status pursuant to the CBPA in 2000 began their primary status as analog stations,
 and therefore, that section related to analog operations. 116 All television broadcast stations are now
 operating digital facilities. 117 While the LPPA specifically references the interference requirements
 “described in section 336(f)(7),” we affirm the tentative conclusion in the NPRM that inclusion of this
 language does not evince an intent by Congress to compel LPTV stations applying for Class A licenses
 under the LPPA to demonstrate compliance with outdated and superseded interference rules. 118 Rather,
 we affirm the NPRM’s tentative conclusion that requiring applicants to demonstrate compliance with
 current interference requirements relevant to digital facilities would guarantee the purpose of the statutory
 provision. This approach will ensure that LPTV stations converting to Class A status under the LPPA
 will not cause interference to the licensed or previously proposed facilities of digital broadcast stations,
 including full power, Class A, LPTV and TV translator stations. 119

 110
    Id. The Commission also concluded that foreign language stations should have the same eligibility requirements
 as any other potential Class A station under the CBPA. Id. at paras. 33-35.
 111
       Class A Order, 15 FCC Rcd at 6369, para. 33.
 112
       NPRM at para. 24.
   The digital-to-digital interference protection standards for LPTV stations converting to Class A status vis-à-vis
 113

 LPTV and TV translator stations pursuant to the LPPA are now found in sections 74.792 and 74.793 of the rules.
 NPRM at para. 29.
 114
       NPRM at paras. 27-29.
 115
       LPPA Sec. 2(c)(2)(B)(ii).
 116
       NPRM at para. 26.
 117
     See supra para. 3 and n.8; DTV Delay Act, Pub. L. No. 111-4, 123 Stat. 112 (2009) (Full power stations largely
 completed their digital transition by June 12, 2009); NPRM at para 26.
 118
    NPRM at para. 26, citing Pub. Citizen v. U.S. Dep’t of Justice, 491 U.S. 440, 452-55 (1989) (noting that statutes
 are to be read in a manner that avoids absurd results); City of Lincoln, Neb. v. Ricketts, 297 U.S. 373, 376 (1936)
 (noting duty to give words their natural significance unless that leads to an unreasonable result plainly at variance
 with the evident purpose of the legislation).
 119
       NPRM at para. 26.

                                                           15                            000015
                                           RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                  Case No. 24-1004--FCC 23-112
USCA Case #24-1004                 Document #2037054                       Filed: 01/23/2024            Page 58 of 131
                                      Federal Communications Commission                                      FCC 23-112


          30.      NPG generally supports that the current interference rule rather than the old analog rule
 should be applied. However, NPG would have us provide flexibility to permit interference beyond what
 is permitted in our current rules. NPG states that the Commission should adopt a “flexible approach”
 granting applications that would violate the rule “if the applicant is able to demonstrate no actual
 interference, acceptance by the licensee subject to such interference, or other showing that the public
 interest is served by the applicant obtaining Class A status.” 120 We are not persuaded to grant this
 request. First, we do not anticipate any scenarios where interference is predicted, but the applicant is able
 to demonstrate a lack of actual interference. 121 The TVStudy software used to prepare and process
 applications already considers the elements likely to cause actual interference. Specifically, TVStudy
 makes full use of terrain shielding and Longley-Rice terrain propagation methods to determine whether a
 proposed facility is predicted to cause impermissible interference consistent with OET Bulletin No. 69, 122
 accounting for unique characteristics such as terrain. 123 For this reason, we do not believe there would be
 merit in accepting other methods of determining interference. Second, the Commission’s rules already
 allow applicants and licensees to accept interference subject to Commission approval,124 and the Media
 Bureau will continue to consider and accept interference agreements in processing Class A license
 applications filed pursuant to the LPPA without the need to adopt additional flexibility. Finally, we reject
 NPG’s suggestion that waiver of television broadcast interference protection rules should be considered
 upon undefined public interest arguments. 125 NPG provides no example – and we can imagine none –
 where we have granted an LPTV station primary status that caused interference to a licensed (or
 previously proposed) broadcast facility entitled to protection. Congress clearly intended the LPPA to
 apply to a discrete number of LPTV stations that satisfy specific eligibility requirements and protect
 existing stations and previously proposed facilities. We decline to adopt an exception that would
 contravene this careful balance.
          31.     Protection of Land Mobile Stations. The LPPA provides that the Commission may
 approve an application by an LPTV station if it “demonstrates to the Commission that the Class A station
 for which the license is sought will not cause any interference described in section 336(f)(7) of the
 Communications Act of 1934. . . .” 126 Section 336(f)(7)(C) of the CBPA provides that the Commission
 may not grant a Class A license or modification of license where the Class A station will cause
 interference within the protected contour of land mobile stations.127 We adopt the proposal in the NPRM
 120
    NPG Comments at 9-10. Class A and LPTV stations are permitted to cause interference to no more than 0.5
 percent of the population served by full-power and Class A television stations, and no more than 2 percent of the
 population served by LPTV and TV translator stations. See 47 CFR §§ 73.6017, 73.6018, 73.6019, and 74.793.
 121
       NPG Comments at 9-10.
 122
    See Office of Engineering and Technology Releases and Seeks Comment on Updated OET-69 Software, ET
 Docket No. 13-26, GN Docket No. 12-268, Public Notice, 28 FCC Rcd 950 (OET 2013) at 1. OET Bulletin No. 69
 can be found at https://transition.fcc.gov/oet/info/documents/bulletins/oet69/oet69.pdf (OET Bulletin No. 69).
 123
       See OET Bulletin No. 69 at 1. 47 CFR §§ 73.6018, 73.616(d)(1), 73.619(c)(2).
 124
    See, e.g., 47 CFR §§ 73.620(e) (Full power stations may operate with facilities that would result in more than 0.5
 percent additional interference to another full power station if that station agrees, in writing, to accept the additional
 interference, and the Commission finds such action is in the public interest), 73.6022(a) (same with respect to Class
 A stations vis-à-vis full power, Class A, LPTV and TV translator stations, notwithstanding the interference
 standards set forth in the rules, if the Commission finds such action is in the public interest), 74.703(a) (“Except
 where there is a written agreement between the affected parties to accept interference,” an application for a new
 LPTV station or modification of facilities must comply with interference rules).
 125
       NPG Comments at 9-10.
 126
       LPPA Sec. 2(c)(2)(B)(ii).
 127
    47 U.S.C. § 336(f)(7). Specifically, section 74.709 of our rules (47 CFR § 74.709) requires that, in order to
 protect land mobile stations, a low power TV or TV translator station cannot specify a site that is located within the
 protected contour of a co-channel or first adjacent land mobile assignment. Generally, the protected contour is 80
                                                                                                          (continued….)
                                                            16                            000016
                                            RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                   Case No. 24-1004--FCC 23-112
USCA Case #24-1004                 Document #2037054                   Filed: 01/23/2024           Page 59 of 131
                                      Federal Communications Commission                                FCC 23-112


 that Class A applications will not be grantable where the Class A station will cause interference within the
 protected contour of land mobile stations which have been allocated the use of TV channels 14-20 in
 certain urban areas of the country, as well as channel 16 in the New York City metropolitan area. 128 We
 received no specific objection to this proposal. We note that in implementing the CBPA, the Commission
 implemented the same interference protections and procedures which are prescribed in section 74.709 of
 the rules, and these rules have not changed. 129
            32.     We decline to adopt as both unnecessary and outside the scope of this proceeding, the
 County of Los Angeles, California’s request that we incorporate by reference comments in a proceeding
 requested by the Land Mobile Communications Council regarding rules governing separation between
 land mobile stations and television stations located in the T-Band. 130 Unless and until there is a change in
 the applicable rules, we will apply our existing land mobile protection requirements in considering
 applications to convert to Class A status pursuant to the LPPA. We note that in limiting eligibility to
 LPTV stations operating in a DMA or an equivalent with not more than 95,000 television households,
 Congress intended to convey the benefits of Class A status under the LPPA to LPTV stations operating in
 smaller DMAs. T-band radio systems, which are used for public safety and industrial/business land
 mobile communications, operate on 470-512 MHz (television channels 14 through 20) in 13 large
 cities, 131 located in the largest DMAs with more than 1,000,000 television households. LPTV stations
 operating in larger DMAs or an equivalent television market are not eligible for Class A status under the
 LPPA and thus, it is unlikely that land mobile operations in the T-band will be affected by the LPPA..
                     4.        Designated Market Area
          33.     The LPPA requires that an LPTV station must demonstrate that as of January 5, 2023, the
 station “operates in a Designated Market Area with not more than 95,000 television households.” 132 The
 LPPA further states that DMA means “(A) a [DMA] determined by Nielsen Media Research or any
 successor entity; or (B) a [DMA] under a system of dividing television broadcast station licensees into
 local markets using a system that the Commission determines is equivalent to the system established by
 Nielsen Media Research . . .” 133 The Commission sought comment in the NPRM 134 on (1) the meaning
 of the word “operates” in the LPPA, 135 and (2) whether to adopt the Nielsen Local TV Station
 Information Report (Local TV Report) for determining DMAs or an equivalent alternative local market

 (Continued from previous page)
 miles from the geographic center of the areas listed in 47 CFR §§ 22.625(b)(1), 90.303(b); for frequencies in the
 470-512 megahertz band identified in 47 CFR §§ 22.621, 90.303(b), or in the 482-488 megahertz band in New
 York. In addition, a low power TV or TV translator station application cannot be granted where its proposed field
 strength limit calculated at the land mobile boundary exceeds the limits set forth in 47 CFR § 74.709(d).
 128
       NPRM at para. 30.
 129
       47 CFR § 74.709; NPRM at para. 30.
 130
    County of Los Angeles, California Comments at n.5, citing Public Notice, RM-11915, Report No. 3186 (rel. Jan.
 12, 2022). The nearest DMA to Los Angeles County, CA impacted by implementation of the LPPA is more than
 800 km away in Eureka, CA (see infra n 169), and could not result in interference in Los Angeles County.
 131
       47 CFR § 90.303.
 132
       LPPA Sec.2(c)(2)(B)(iii) (emphasis added).
 133
    LPPA Sec.2(a)(2)(A) and (B). The Nielsen Company (Nielsen) describes a DMA region as “a group of counties
 and zip codes that form an exclusive geographic area in which the home market television stations hold a dominance
 of total hours viewed. There are 210 DMA regions, covering the entire continental U.S., Hawaii, and parts of
 Alaska.” See Nielsen, DMA Regions, https://markets.nielsen.com/us/en/contact-us/intl-campaigns/dma-maps/ (rel.
 Oct. 24, 2022).
 134
       NPRM at para. 32.
 135
       LPPA Sec.2(c)(2)(B)(iii).

                                                         17                               000017
                                            RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                   Case No. 24-1004--FCC 23-112
USCA Case #24-1004                Document #2037054                     Filed: 01/23/2024           Page 60 of 131
                                     Federal Communications Commission                                  FCC 23-112


 system. 136 We address each of these issues below.
           34.     “Operates” in the DMA. As proposed in the NPRM, 137 we conclude that “operates”
 means that the LPTV station applying for Class A status under the LPPA must demonstrate that its
 transmission facilities, which include the structure on which its antenna is mounted, are located within the
 qualifying DMA. No commenters addressed this issue. We find that this requirement is consistent with
 Congress’s intent to limit Class A status to stations located in small DMAs, as evidenced by its limiting
 eligibility for Class A status under the LPPA to LPTV stations operating in a DMA or an equivalent with
 not more than 95,000 television households. 138 To make the necessary demonstration, we will require
 applicants to provide the following information as it existed on January 5, 2023, as proposed in the
 NPRM: (1) the coordinates of the station’s transmission facilities (i.e., the structure on which its antenna
 is mounted); (2) the city/town/village/or other municipality and county in which the transmission facilities
 are located; and (3) the qualifying DMA in which the station’s transmission facilities are located.139
          35.      Use of Nielsen to Determine DMAs. We also adopt the proposal in the NPRM to use the
 Nielsen Local TV Report in determining the DMA where the LPTV station’s transmission facilities were
 located as of January 5, 2023. 140 First, the decision is fully consistent with the LPPA which contemplates
 the use of Nielsen. 141 Furthermore, as explained in the NPRM, use of the Nielsen Local TV Report is
 consistent with the Commission’s Nielsen DMA Determination Update Order, 142 which adopted
 Nielsen’s monthly Local TV Report as the successor publication to Nielsen’s Annual Station Index and
 Household Estimates and determined that the Local TV Report should be used to define “local market” as
 stated in other statutory provisions and rules relating to carriage, including retransmission consent, distant
 signals, significantly viewed, and field strength contour. 143 When the Commission sought comment on
 what publication to use for DMA determinations in that proceeding, commenters unanimously supported
 use the Local TV Report. 144 Thus, we note that the record in that proceeding indicated that the Local TV
 Report was the sole source of information regarding DMA determinations and that there was no company




 136
       See LPPA Sec.2(a)(2)(B).
 137
       NPRM at para 31-34.
 138
       Id. at para. 32.
 139
     Id. Starting in 2022, Nielsen began including broadband only (BBO) households, households that receive video
 programming on a TV/monitor only through a broadband connection, in its local market measurement. See Nielsen,
 Nielsen Announces “Impressions First Initiative” and the Integration of Broadband Only Homes Into Local
 Measurement in January 2022, at https://www.nielsen.com/news-center/2021/nielsen-announces-impressions-first-
 initiative-and-the-integration-of-broadband-only-homes-into-local-measurement-in-january-2022/ (Sept. 2021).
 Nielsen publishes annually, in the fall, an estimate of the number of TV households in each DMA. For purposes of
 implementing the LPPA, we will look at Nielsen’s estimates of DMA TV households published in the fall of 2022 to
 determine the number of DMA TV households as of January 5, 2023 and therefore the estimates include BBO
 households.
 140
       NPRM at para 33.
 141
       LPPA Sec.2(a)(2)(A).
 142
    See Update to Publication for Television Broadcast DMA Determination for Cable and Satellite Penetration, MB
 Docket No. 22-239, Report and Order, FCC 22-89 (rel. Nov. 16, 2022) at para. 1 (Nielsen DMA Determination
 Update Order). See also id. at para. 6 (reiterating Nielsen’s clarification that it has “always told stations the DMAs
 to which they have been assigned upon request and free of charge”).
 143
       Id. at para. 4.
 144
       See Nielsen DMA Determination Update Order at para. 1.

                                                          18                            000018
                                          RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                 Case No. 24-1004--FCC 23-112
USCA Case #24-1004                Document #2037054                      Filed: 01/23/2024            Page 61 of 131
                                      Federal Communications Commission                                   FCC 23-112


 currently accredited to determine the local market area of broadcast television stations. 145 In addition,
 some commenters in this proceeding support our decision to use the Nielsen Local TV Report for
 purposes of implementing the LPPA. As NAB points out, the Commission and the television industry
 have long relied on Nielsen DMA data to define television markets.146 REC notes that the Nielsen Local
 TV Report provides a “cut-and-dry” determination of a station’s DMA, and that the “debate and
 development of any alternative system would further delay the process.” 147
           36.     While the LPPA defines a DMA as “a [DMA] determined by Nielsen Media Research or
 any successor entity,” it also provides that a DMA may be “a [DMA] under a system of dividing
 television broadcast station licensees into local markets using a system that the Commission determines is
 equivalent to the system established by Nielsen Media Research. . . .” 148 The NPRM sought comment on
 alternatives to the Nielsen Local TV Report that would be “equivalent to the system established by
 Nielsen Media Research.” 149 For the reasons discussed below, we decline to adopt any of the alternatives
 proposed. The NPRM specifically sought comment on the LPTV Broadcasters’ Association (LPTVBA)
 requests that the Commission use Metropolitan Statistical Areas (MSAs) and Rural Service Areas (RSAs)
 as defined by the Office of Management and Budget (OMB) using census data to implement the LPPA.150
 Some commenters support the suggestion. 151 Flood contends that MSA market definitions “more
 accurately reflect the characteristics of the LPTV station’s service area that are pertinent to determining
 eligibility” under the LPPA. 152 Flood also argues that the Nielsen DMAs are “geographically overbroad”
 and group some of the most rural areas in the U.S. with distant major cities, rendering some stations in
 rural areas ineligible for Class A status. 153 Flood also notes that, under a DMA approach, similarly
 situated LPTV stations in immediately adjacent counties would receive inconsistent eligibility

 145
    Id. The Commission also noted that in the LPPA, which was enacted after release of the Nielsen DMA
 Determination Update Order, Congress chose to define DMA as determined by Nielsen Media Research. NPRM at
 n.112.
 146
       NAB Comments at 3.
 147
     REC Comments at 5. But see REC Reply Comments at 4 (stating that Comscore should be considered an
 alternative to Nielsen).
 148
       LPPA Sec.2(a)(2)(A) and (B).
 149
    LPPA Sec.2(a)(2)(B); NPRM at para 34. The Commission asked that any commenter suggesting an alternative
 publication to the Nielsen Local TV Report to identify the publication as well as the similarities and differences in
 assigning stations to television markets, and explain why the alternative publication is preferable. Id.
 150
    NPRM at para. 34. See id. (citing E-mail from Frank Copsidas, President and Founder, LPTV Broadcasters’
 Association, to Holly Saurer, Chief, Media Bureau, FCC (Feb. 27, 2023) (Copsidas Feb. 27 Letter)). Among other
 things, the LPTVBA makes a number of accusations regarding the character and business dealings of Nielsen Media
 Research. As we explain above and as we explained in the NPRM, Congress chose to define DMA as determined by
 Nielsen Media Research in the LPPA, and despite its lack of accreditation, the Commission found based on the
 record of the Nielsen DMA Determination Update proceeding that Nielsen is the sole source of information
 regarding DMA determinations. See NPRM at para. 33.
   See Flood Comments at 1-12; Identical Comments at 1-3; Communications Technologies Comments at 1-2;
 151

 LPTVBA Reply Comments at 1-6; Flood Reply Comments at 1-4. Flood uses the term MSA to refer to both
 Metropolitan and Micropolitan Statistical Areas (mSA). See Flood Comments at 1, n. 2. LPTVBA argues that
 Metropolitan and Micropolitan Statistical Areas are two types of core based statistical areas (CBSAs) and urges the
 Commission to use CBSAs as an alternative local market system for purposes of the LPPA. See LPTVBA Reply
 Comments at 2-3.
 152
    Flood Comments at 1. See also LPTVBA Reply Comments at 2. LPTVBA argues that any area not designated
 an MSA or a mSA should automatically be considered an RSA, and a station located in an RSA should be eligible
 under the LPPA population limit. LPTVBA Reply Comments at 2.
 153
       Flood Comments at 5-7. See also LPTVBA Reply Comments at 3, n. 9.

                                                           19                            000019
                                           RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                  Case No. 24-1004--FCC 23-112
USCA Case #24-1004                  Document #2037054                   Filed: 01/23/2024            Page 62 of 131
                                       Federal Communications Commission                                  FCC 23-112


 determinations, and, in some situations, stations in densely populated, larger counties would be eligible
 while those in adjacent, smaller, less densely populated counties would be ineligible. 154 The Identical
 Commenters urge the Commission to “create a TV market definition system that relies on … MSAs as the
 primary criteria for determining a set of geographic areas equivalent to the Nielsen DMA metric of
 95,000 households or fewer.” 155 They also note that the Nielsen DMA system does not include LPTV
 stations in its assessments and that “Nielsen’s data is private and requires costly fees for access.” 156
          37.     We decline to use market classifications based on Census data, such as MSAs or RSAs,
 for purposes of implementing the LPPA. The LPPA specifically directs that the Commission use either
 Nielsen DMAs or a “system of dividing television broadcast station licensees into local markets” that is
 “equivalent” to the system established by Nielsen. 157 Census classifications are not a “system of dividing
 television broadcast station licensees into local markets,” and thus cannot be considered “equivalent” to
 the system established by Nielsen. Such classifications do not reflect television stations in the market, the
 reach of those local stations, the location of the populations they serve, or local viewing patterns. 158 On
 the other hand, a Nielsen DMA is an “exclusive geographic area in which the home market television
 stations hold a dominance of total hours viewed” and ties specifically to television viewing markets. 159
 Thus, we conclude census-based categories are not “equivalent” to the system established by Nielsen. 160
 In addition, we note that classifications based on Census data are based on population and group urban
 areas (the population “nucleus”) with outlying counties “that have a high degree of integration” with the
 population nucleus based on commuting trends. 161 OMB itself warns that such classifications do not
 themselves adequately differentiate between urban and rural areas. 162 Thus, these census classifications
 do not address the concerns raised by those commenters who argue that Nielsen DMAs are


 154
     Flood Comments at 5-7. Flood provides examples of stations in adjoining DMAs that would receive different
 eligibility treatment under the LPPA. Id. at 5-7. See also LPTVBA Reply Comments at 3, n. 9.
 155
       Identical Comments at 2 (citing the Copsidas Feb. 27 Letter).
 156
       Id. at 2-3 (citing the Copsidas Feb. 27 Letter). See also Communications Technology Comments at 2.
 157
       LPPA Sec.2(a)(2)(A) and (B).
 158
    For this reason, we disagree with LPTVBA that classifications based on Census data are preferable because they
 reflect “economic markets based on actual population behavior.” LPTVBA Reply Comments at 3.
 159
    See supra n. 133. NAB agrees that Census definitions like MSAs and RSAs have nothing to do with market
 assignment information or determining television broadcast markets, unlike Nielsen. See NAB Comments at 3.
 REC notes that Census data does not reflect “television households,” the term used in the LPPA’s DMA eligibility
 requirement (“not more than 95,000 television households”). See REC Reply Comments at 3; LPPA
 Sec.2(c)(2)(B)(iii). RCC opposes the use of MSAs because “they represent huge populations and areas” and would
 exclude many LPTV stations from converting to Class A. RCC Reply Comments at 5.
 160
    NAB agrees that using MSA or RSA definitions would be “establishing alternative market definitions that are
 wildly different from those established by Nielsen and are not ‘equivalent to’ Nielsen DMAs as the LPPA requires.”
 NAB Comments at 3. While we agree with LPTVBA that the Act permits us to consider local market definitions
 that differ from Nielsen DMAs, see LPTVBA Reply Comments at 4-5, we believe that the Act’s requirement that
 any alternative system be “equivalent” the system established by Nielsen requires such alternative system to relate in
 some fashion to television markets and viewing patterns.
 161
    NPRM at para. 34. See generally OMB, 2020 Standards for Delineating Core Based Statistical Areas, 86 FR
 37770, 37771 (July 16, 2021) (2020 CBSA Standards), available at
 https://www.federalregister.gov/documents/2021/07/16/2021-15159/2020-standards-for-delineating-core-based-
 statistical-areas.
 162
    2020 CBSA Standards, 86 FR at 37772 (warning MSA “delineations do not produce an urban-rural classification,
 and confusion of these concepts has the potential to affect the ability of a program to effectively target either urban
 or rural areas, if that is the program goal”).

                                                            20                             000020
                                             RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                    Case No. 24-1004--FCC 23-112
USCA Case #24-1004                  Document #2037054                   Filed: 01/23/2024            Page 63 of 131
                                       Federal Communications Commission                                 FCC 23-112


 geographically overbroad. 163 We also note that the kind of inconsistent eligibility results that some
 commenters argue would occur using Nielsen DMAs are inevitable with any system that divides the
 country into geographic markets, and are not unique to Nielsen. 164 Furthermore, we decline Identical
 Commenters’ invitation that the Commission fabricate a new classification system based on Census
 data 165 because we find that such an exercise is unnecessary due to the availability of Nielsen data which
 is appropriate for this purpose. We also believe that such an exercise would significantly delay our ability
 to implement the LPPA. We also do not believe the failure of Nielsen to assign LPTV stations to DMAs
 is relevant 166 because the eligibility requirement is that the station “operate” in the DMA (that is, its
 transmission facilities are located within the qualifying DMA), not that it be assigned to the DMA.
 Finally, reference to the fact that Nielsen is a private company that charges for some of its materials 167 is
 not a barrier to our decision here. Nielsen has represented that it will provide to stations at no charge
 information about the DMA to which the station is assigned, 168 and information about the number of TV
 households in each DMA is publicly available.169
           38.    We also reject RCC’s argument that our proposed adoption of an approach that limits
 eligibility under the LPPA to LPTV stations in DMAs with no more than 95,000 TV households is
 “nonsensical.” 170 This commenter points out that, under this approach, only thirty-three Nielsen DMAs
 would qualify under the LPPA (in other words, only 33 out of 210 DMAs), 171 amounting to only 1.6% of
 TV households. 172 As a result, RCC argues that Congress could not have intended for use of Nielsen
 DMAs. 173 We disagree. Congress clearly intended that eligibility under the LPPA be limited, as the Act
 expressly provides that eligibility is limited to DMAs with no more than 95,000 TV households. As NAB
 notes, elevating LPTV stations from secondary to primary Class A status comes at the cost of “effectively


 163
       See supra para. 36.
 164
       Flood Comments at 5-7.
 165
       Identical Comments at 2 (citing the Copsidas Feb. 27 Letter).
 166
       Id. at 2-3 (citing the Copsidas Feb. 27 Letter). See also Communications Technology Comments at 2.
 167
       Id. at 2-3 (citing the Copsidas Feb. 27 Letter). See also Communications Technology Comments at 2.
 168
    See supra n. 142 (citing Nielsen DMA Determination Update Order at paras. 1, 6 (reiterating Nielsen’s
 clarification that it has “always told stations the DMAs to which they have been assigned upon request and free of
 charge”)). We interpret Nielsen’s commitment in this regard to mean it will inform LPTV stations seeking to
 convert to Class A status pursuant to the LPPA, at no charge, the DMA in which the station’s transmission facilities
 are located. See supra para. 34. Any LPTV station seeking to file an application pursuant to the LPPA that needs
 further information in this regard may contact the Commission staff.
 169
    See http://web.archive.org/web/20230605234252/https://ustvdb.com/seasons/2022-23/markets/. Thirty-three
 Nielsen DMAs had fewer than 95,000 TV households as of January 5, 2023. These DMAs are: Elmira-Corning,
 Watertown, Bend, Alexandria, Marquette, Jonesboro, Bowling Green, Laredo, Butte-Bozeman, Lafayette, IN, Grand
 Junction-Montrose, Twin Falls, Lima, Great Falls, Meridian, Parkersburg, Greenwood-Greenville, Eureka,
 Cheyenne-Scottsbluff, San Angelo, Casper-Riverton, Mankato, Ottumwa-Kirksville, Saint Joseph, Fairbanks,
 Zanesville, Victoria, Helena, Presque Isle, Juneau, Alpena, North Platte, and Glendive. Commission staff will
 review and confirm DMA information in all applications filed pursuant to the LPPA.
 170
       RCC Comments at 6.
 171
    RCC Comments at 5. See also REC Comments at 5 (noting that only LPTV stations in DMAs ranked 178
 (Elmira-Corning, New York) through 210 (Glendive, Montana) would qualify for Class A status under the LPPA).
 172
       See RCC Comments at ii.
 173
    Id. at 4 (stating that Congress “would [not] waste its time for the purpose of affecting such a marginal impact”).
 See also Flood Comments at 2 (urging use of MSAs to “maximize eligibility for stations” to elevate to Class A
 status).

                                                            21                             000021
                                             RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                    Case No. 24-1004--FCC 23-112
USCA Case #24-1004                Document #2037054                    Filed: 01/23/2024            Page 64 of 131
                                     Federal Communications Commission                                  FCC 23-112


 block[ing] coverage and service improvements by full-service stations.” 174 In turn, Congress sought to
 allow certain LPTV stations in only smaller DMAs (not all small LPTV stations or all LPTV stations in
 rural areas) to elevate to primary status. We decline to read the LPPA as promoting maximum elevation
 of LPTV stations to primary status; rather, Congress adopted a much more balanced approach.
          39.       We also decline to use Comscore data as an alternative to the Nielsen Local TV Report
 for purposes of the LPPA, as advocated by several commenters. 175 Like Nielsen, Comscore is a media
 analytics company that produces a list of television market areas and a calculation of the number of
 television households in each market. 176 Because Comscore, like Nielsen, has a proprietary market
 system and requires payment for access, LPTVBA opposes adoption of Comscore data as an alternative
 local market system. 177 REC comments that “the debate and development of any alternate system” to
 Nielsen “would further delay the process and could defeat the purpose of limiting” Class A conversions to
 rural areas, 178 but also noted that Comscore markets “could be” comparable to Nielsen DMAs and should
 be considered. 179 While it is possible that Comscore could qualify as a “system of dividing television
 broadcast station licensees into local markets” that is “equivalent” to the system established by Nielsen,180
 we find that the record here does not establish any material benefits from use of Comscore either in
 addition to or in place of Nielsen for purposes of the LPPA, nor that any such benefits would outweigh
 the uncertainty and delay that use of Comscore would have in issuing Class A licenses. In particular, we
 are concerned about introducing uncertainty into the application review process, in the instance where
 Comscore’s market classifications may differ from Nielsen. The lack of a compelling reason to select a
 different classification system instead of Nielsen weighs in favor of our decision to use Nielsen Local TV
 Report for purposes of implementing the LPPA.
          40.     Finally, we decline the requests of three other commenters who argue in favor of other
 alternatives to Nielsen DMAs. One Ministries advocates that the Commission should allow LPTV
 stations to demonstrate that the geographic area covered by the station is a subset of a larger DMA, such
 as when the station is in a hyphenated DMA, i.e. Chico-Redding. 181 One Ministries argues that Nielsen
 identifies Chico and Redding separately for purposes of radio markets, that LPTV stations cover roughly
 the same area as radio stations, and that no LPTV station in Chico-Redding covers both of those cities. 182
 174
       NAB Comments at 4.
 175
       See Lockwood Comments at 1-3; NPG Comments at 4-6; REC Reply Comments at 3-4.
 176
    Comscore uses its own proprietary system for geographic market definitions and number of TV households.
 Comscore, Local Market Definitions, at https://www.comscore.com/Products/Television/Local-Market-Definitions
 (last visited Oct. 2, 2023). For instance, we note that Nielsen defines a TV household as follows: TV households
 must have at least one operable TV/monitor with the ability to deliver video via traditional means of antennae, cable
 set-top-box or satellite receiver and/or with a broadband connection. See Nielsen, Nielsen Estimates 120.6 Million
 TV Homes in the U.S. for the 2019-2020 TV Season (Aug,. 2019), at
 https://www.nielsen.com/insights/2019/nielsen-estimates-120-6-million-tv-homes-in-the-u-s-for-the-2019-202-tv-
 season/#:~:text=Nielsen's%20national%20definition%20of%20a,Audience%20measurement%20TV. Comscore
 states that it has “the largest and most representative TV viewing measurement footprint covering 1-in-3 homes
 across 75 million TV screens in over 30M households.” Comscore, National TV Measurement, at
 https://www.comscore.com/Products/Television/National-TV-Measurement (last visited Oct. 2, 2023).
 177
    See LPTVBA Reply Comments at 4. Apart from that issue, LPTVBA notes that it has “no reason to question the
 veracity of Comscore data.” Id.
 178
       REC Comments at 5.
 179
     REC Reply Comments at 3 (explaining that Comscore, like Nielsen, has 210 market areas, and that only
 Comscore markets 164 through 210 would meet the 95,000 television household criteria).
 180
       LPPA Sec.2(a)(2)(B).
 181
       See One Ministries Comments at 2.
 182
       Id.

                                                          22                             000022
                                           RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                  Case No. 24-1004--FCC 23-112
USCA Case #24-1004                Document #2037054                    Filed: 01/23/2024           Page 65 of 131
                                      Federal Communications Commission                                FCC 23-112


 The LPPA directs that the Commission define DMA using Nielsen or an “equivalent” system of local TV
 markets, and dividing Nielsen hyphenated markets into separate markets for purposes of the LPPA would
 not be “equivalent” to the system established by Nielsen. As NAB notes, 183 more than 40 percent of
 Nielsen markets are hyphenated, and allowing these markets to be treated as separate markets would
 create a system that is dramatically different from the current Nielsen DMA market definitions. 184 JB
 Media Group argues that Nielsen DMAs do not account for variables such as interference that “can
 significantly impact viewership” and urges “an alternative approach that takes into account interference,
 actual households, and signal power under different weather conditions.” 185 We find that it would be
 impractical and lead to delay in implementing the LPPA for Commission staff to define markets based on
 factors such as weather and actual viewership, and JB Media Group does not offer an existing alternative
 market definition based on these factors. Finally, RCC argues that the Commission should allow all
 LPTV stations whose “Section 307(b) community of license has fewer than 95,000 TV households” to
 convert to Class A status. 186 We conclude that such a system of defining local TV markets would be very
 different than the one required by the LPPA to be “equivalent” to the system established by Nielsen,
 which defines larger geographic regions than community of license. 187
                     5.      License Standards (Ongoing Eligibility Requirements)
         41.      We will not require LPPA Class A stations to continue to comply with the 95,000 TV
 household threshold if the population in the station’s DMA later exceeds the threshold amount as a result
 of changes beyond the station’s control. In the NPRM, the Commission stated its belief that the LPPA
 requirement that stations remain in compliance with the Act’s eligibility requirements for the term of the
 Class A license 188 means that stations that convert to Class A status must continue to operate in DMAs


 183
       See NAB Comments at 3. See also https://ustvdb.com/seasons/2022-23/markets/.
 184
     NAB agrees that allowing some or all of the hyphenated DMAs to become separate television markets for
 purposes of the LPPA would create a set of alternative markets that are “radically different” from Nielsen DMAs.
 NAB Comments at 3. NAB also argues that authorization of new Class A stations could impede the transition to
 ATSC 3.0. See NAB Comments at 4. We agree with LPTVBA and Flood that we should not consider the impact of
 the LPPA on the ATSC 3.0 transition. See LPTVBA Reply Comments at 5-6, Flood Reply Comments at 5-6. We
 conclude that Congress did not intend that we consider the impact of the LPPA on the transition to ATSC 3.0. In the
 LPPA, Congress created specific, limited eligibility requirements that created a balanced approach to elevate certain
 LPTV stations in smaller DMAs to primary status. We do not believe Congress intended that we further limit
 eligibility under the Act by considering hypothetical limitations potentially imposed on stations in the future in
 connection with the transition to ATSC 3.0.
 185
       JB Media Group Comments at 1-2.
 186
    RCC Comments at 6. RCC further argues that the Commission’s reliance on a privately created DMA definition
 renders the LPPA unconstitutional as it adopts an “unconstitutional industrial code … to license protected Class A
 TV broadcast stations.” Id. at 18. We reject this argument. Congress does not run afoul of subdelegation principles
 because it permits an agency to use an outside entity’s market definition for a particular purpose specified in the
 statute. There is no assignment of unguided or unchecked authority here. Finally, we also reject RCC’s argument
 that the LPPA “prohibits the Commission from displacing any LPTV licensee, regardless of whether the license
 contains a Class A designation, for the purpose of selling that LPTV spectrum at auction.” RCC Comments at 17.
 The LPPA is silent with respect to the issue of auctioning broadcast spectrum, and there is no evidence that
 Congress intended that we consider this issue as part of our implementation of the LPPA.
 187
     RCC also argues that “the Commission’s proposed licensing rules improperly removes LPTV stations from their
 47 U.S.C. § 307(b) communities of license and reassigns them to much larger DMA markets in the name of
 ‘protecting’ those small LPTV stations.” RCC Comments at 3. We disagree with this characterization of our
 decision to use Nielsen DMAs for purpose of the LPPA. Our decision is consistent with the LPPA, relates only to
 implementation of the LPPA, and does not affect the communities LPTV stations are licensed to serve.
 188
       See LPPA Sec.2(c)(3)(A)-(B).

                                                          23                             000023
                                           RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                  Case No. 24-1004--FCC 23-112
USCA Case #24-1004                    Document #2037054                 Filed: 01/23/2024            Page 66 of 131
                                        Federal Communications Commission                                FCC 23-112


 with not more than 95,000 television households in order to maintain their Class A status. 189 The
 Commission noted that, under this interpretation of the Act, a station that converted to Class A status
 pursuant to the LPPA would no longer be eligible to retain Class A status if the population in its DMA
 later grows to more than 95,000 television households. 190
          42.       All of the commenters that addressed this interpretation of the Act oppose requiring
 LPPA Class A stations to remain in DMAs that meet the threshold population restriction, at least without
 some exceptions. Commenters argue that if the Commission were to require continued compliance with
 this restriction, licensees would lack regulatory certainty to pursue Class A status, which would
 undermine the economic viability of Class A stations, and thus fewer stations would likely apply. 191
 Commenters also contend that it would be unfair to mandate that a station lose rights through no fault of
 its own if the population rose above the 95,000 threshold, 192 that the proposal would limit a licensee’s
 ability to modify its facilities in the future (e.g., by relocating), 193 and that the proposal would impose
 different license terms for LPPA Class A stations than for existing Class A stations, which face no similar
 possible loss of their Class A status. 194
          43.      Commenters also argue that the Commission proposal is not required by the statute. 195
 Section 2(c)(2)(B)(iii) of the LPPA states that the Commission may approve conversion to Class A status
 for a station that “as of the date of enactment of this Act, operates in a Designated Market Area with not
 more than 95,000 television households.” 196 While Section 2(c)(3)(B) directs that a converted station is
 to remain in compliance with paragraph (2)(B)’s eligibility requirements during the term of the license,
 commenters argue that this language is properly interpreted to require only that a station be in compliance
 with the DMA requirement “as of” the date of enactment of the LPPA (January 5, 2023), not that it
 remain in compliance going forward. 197
         44.      We are persuaded by commenters who argue that a station, once it converts to Class A
 status pursuant to the LPPA, should not later lose eligibility and therefore be required to revert back to an
 LPTV station with secondary spectrum use status as a result of changes beyond the station’s control. 198
 We conclude that Congress did not intend for LPPA Class A stations to subsequently lose Class A status
 through DMA changes that are not under the control of the station because Congress intended that the
 communities served by these stations should be able to rely on uninterrupted service from the stations.199


 189
       See NPRM at para. 38.
 190
       Id.
   See Flood Comments at 12-14; Identical Comments at 3-5; Lockwood Comments at 4-6; NAB Comments at 5;
 191

 NPG Comments at 7-8. See also Flood Reply Comments at 4; LPTVBA Reply Comments at 6-7.
 192
       Id.
 193
       See Identical Comments at 4.
 194
       See Flood Comments at 13-14.
 195
       See Lockwood Comments at 4-5; Identical Comments at 4-5; NPG Comments at 7.
 196
       LPPA Sec.2(c)(2)(B)(iii).
 197
     Lockwood also notes that the FCC measures the number of TV households for purposes of its national TV, local
 TV, and local radio ownership cap “at the time of grant” of the application, and that divestiture is not required if a
 licensee later exceeds the threshold audience reach or market size/ranking. See Lockwood Comments at 5-6.
 198
    See, e.g., REC Comments at 6 (arguing that if Nielsen changes a DMA designation or the population of the DMA
 grows beyond the threshold amount, it should have no impact on the status of the Class A station if they remain in
 the same community).
 199
    See Activity Report of the House Committee on Energy and Commerce, Low Power Protection Act, H.R.117-702
 (Jan 2, 2023) (introduced as S. 3405) (stating the statute “would afford [low power television stations] with
                                                                                                         (continued….)
                                                           24                             000024
                                            RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                   Case No. 24-1004--FCC 23-112
USCA Case #24-1004                Document #2037054                       Filed: 01/23/2024            Page 67 of 131
                                      Federal Communications Commission                                    FCC 23-112


 Accordingly, we will not require LPPA Class A stations to continue to comply with the 95,000 TV
 household threshold if the population in the station’s DMA later exceeds the threshold amount as a result
 of changes beyond the station’s control. We find that the reasons that a station may no longer comply
 with the 95,000 TV household threshold that are beyond the station’s control are a change in the market
 size through (1) population growth, (2) a change in the boundaries of a qualifying DMA such that the
 population of the DMA exceeds 95,000 television households, or (3) the merger of a qualifying DMA
 into another DMA such that the combined DMA exceeds the threshold amount.
           45.      We will not, however, permit an LPPA Class A station to maintain its Class A status if
 the size of the market it serves increases beyond 95,000 television households due to a change within the
 control of the station. For instance, we will not permit an LPPA Class A station to initiate a move to a
 different DMA that does not meet the LPPA population threshold at the time of the move and still retain
 the station’s Class A status. We interpret the LPPA’s continuing compliance mandate to preclude
 changes under the station’s control that would result in the station’s failure to continue to comply with the
 Act’s eligibility requirements. We disagree with those commenters who argue that the Act requires only
 that the station be in compliance with the DMA requirement as of January 5, 2023. 200 This reading of
 section 2(c)(2)(B)(iii) of the Act is contrary to the language of section 2(c)(3)(B), which does not carve
 out the 95,000 TV household threshold requirement from the continuing compliance mandate. Such an
 interpretation would also undercut the purpose of the LPPA to strengthen protections for TV stations
 located in smaller DMAs, 201 as it would allow LPPA Class A stations to move to DMAs with larger
 populations, depriving smaller DMAs of the service these stations provide. We also disagree with those
 commenters who argue that stations that convert to Class A status pursuant to the LPPA should be able to
 initiate later site changes that would move the station to a non-qualifying DMA. 202 The language of the
 Act requires that LPPA Class A licensees remain in compliance with the LPPA’s eligibility requirements
 for the term of their Class A license, including the requirement that they operate in a DMA with no more
 than 95,000 TV households. Apart from changes to a DMA that are beyond the station’s control, we will
 require that LPPA Class A licensees remain in compliance with the 95,000 TV household threshold DMA
 requirement for the term of the Class A license. Stations that choose to pursue a non-compliant
 modification may do so, but will have to surrender their Class A status.
            C.       Application Process
          46.     As proposed in the NPRM, we will evaluate applications to convert to Class A status
 pursuant to the LPPA as a modification of the LPTV station’s existing license. No commenters addressed
 this issue. For purposes of the LPPA, applications to convert to Class A status will be limited to the
 conversion of existing LPTV facilities as they exist at the time of application, without consideration of


 (Continued from previous page)
 protections against harmful interference and ensure the communities served by such stations can receive news,
 emergency information, and other broadcasts without disruption”).
 200
       See supra para. 43.
 201
    LPPA Sec.2(c)(2)(B)(iii) (limiting eligibility for Class A status to stations operating in a DMA with not more
 than 95,000 TV households).
 202
    See, e.g., Communications Technologies Comments at 2-3 (arguing that it would be more equitable to require
 that stations operate for a fixed period of time (e.g., one year) before proposing a site change to a non-qualifying
 DMA and adopt other criteria that would evaluate the public interest in terms of the number of other services
 available in the area currently served by the station versus the proposed new area); REC Comments at 6 (arguing
 that an LPPA Class A station should be permitted to retain its Class A status if a modification proposed by the
 station, and any subsequent modifications, “still result in the station providing a noise limited contour within at least
 50 percent of the noise limited contour the station had at the time the station it was granted a conversion to Class A
 status.” This would “prevent the station from making multiple ’hops’ to move the station to a more desirable market
 while still affording stations the flexibility to adapt to changing situations” regarding tower siting, etc.).

                                                            25                            000025
                                            RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                   Case No. 24-1004--FCC 23-112
USCA Case #24-1004                   Document #2037054                     Filed: 01/23/2024            Page 68 of 131
                                        Federal Communications Commission                                   FCC 23-112


 any pending modifications to those facilities or unbuilt construction permits. 203 This approach will allow
 for expeditious consideration of all applications, and will eliminate delays that could arise from the
 possibility of mutual exclusivity between a Class A conversion application and other licensed full power
 or Class A facilities, were we to entertain license modifications during the application window. A
 licensed LPTV station holding a construction permit to modify its facilities will either need to license
 those permitted facilities before applying to convert to Class A status, or may apply for a new
 modification after the Commission has processed the applications from the window. 204
          47.     When implementing the CBPA, the Commission required stations applying for Class A
 status to provide local public notice of applications for Class A status “since the nature of the underlying
 service is changing from secondary to primary service.” 205 We adopt the tentative conclusion in the
 NPRM, that for the same reason we will require an applicant seeking Class A status pursuant to the LPPA
 to provide local public notice of the application. No commenters addressed this issue.
          48.    Application Form. As proposed in the NPRM, we will require that applications for
 modification of an LPTV station’s existing license to convert to Class A status pursuant to the LPPA be
 filed using FCC Form 2100, Schedule F. 206 Such applications must be filed electronically and must
 include the required filing fee. 207 No commenters addressed these issues. 208
             D.       TV Broadcast Incentive Auction, Post-Auction Transition, and Reimbursement
        49.      We affirm the tentative conclusion in the NPRM that nothing in the LPPA or in our
 implementation of the Act can or will affect the Commission’s work related to the Broadcast Incentive
 Auction. 209 No commenters addressed this issue.
             E.       Digital Equity and Inclusion
          50.     The Commission sought comment in the NPRM on how its proposals may promote or
 inhibit advances in diversity, equity, inclusion, and accessibility. Only one commenter, REC, addressed
 this issue. In REC’s view, the overall impact to digital equity and inclusion of the LPPA “is slightly
 negative” as some LPTV stations on channels 5 and 6 could obtain primary status, thus limiting the
 ability in some areas to implement full-service FM broadcasting as a part of REC’s WIDE-FM proposal,
 which REC asserts would increase the number of radio voices. 210 While REC notes that the language of
 the Act is outside the Commission’s control, 211 REC asserts that its proposals in response to the NPRM
 will help ensure that rural LPTV stations that provide a minimal level of locally originated programming

 203
    In other words, stations will not be permitted to seek technical modification of their facilities in conjunction with
 their Class A conversion application. This avoids potential confusion regarding the facilities to be protected as a
 Class A station.
 204
       This ensures that any later-filed modification is properly flagged in our database as a Class A record.
 205
       Class A R&O, 15 FCC Rcd at 6398, para. 108.
 206
    The Commission will add to its Licensing Management System database (LMS) as part of FCC Form 2100,
 Schedule F, portions of the existing FCC Form 302-CA (Application for Class A Television Broadcast Station
 Construction Permit or License). That form was developed for use by LPTV stations applying to convert to Class A
 status under the CBPA. Once an LPTV station obtains Class A status, it can file for minor modification of license
 using FCC Form 2100, Schedule E.
 207
       The filing fee for an application for a “new license” for a Class A station is $ 425.00. See 47 CFR § 1.1104.
 208
     We direct the Media Bureau to implement necessary updates to the form and issue a Public Notice announcing
 availability at the appropriate time.
 209
       See NPRM at para. 43.
 210
       REC Comments at 6.
 211
       Id.

                                                              26                            000026
                                              RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                     Case No. 24-1004--FCC 23-112
USCA Case #24-1004                Document #2037054                     Filed: 01/23/2024            Page 69 of 131
                                     Federal Communications Commission                                   FCC 23-112


 will be given “a level of expectation of longevity” as a result of changing from secondary to primary
 status, which “could help persons who live in rural or Tribal areas” to continue to receive local TV
 service. 212 In addition, REC comments that requiring LPPA Class A stations to comply with full service
 rules will allow the Commission to better measure diversity in broadcast ownership and, through the
 public file process, require stations to be more accountable to their local audiences. 213
         51.     We appreciate receiving REC’s views and have considered them fully in reaching our
 conclusions herein regarding implementation of the LPPA. We acknowledge the importance of
 advancing diversity, equity, inclusion, and accessibility, and we believe that the LPPA itself, and the rules
 we adopt herein implementing the Act, will advance those aims.
             F.     Other Issues
          52.     Must Carry Rights. Two commenters, RCC and Dockins, argue that the Commission
 should amend its rules to give Class A stations must carry status. 214 RCC argues that the Commission
 should “clarify” that Class A stations are incorrectly classified as “low power stations,” whose carriage is
 limited as provided in section 76.55(d) 215 of our rules, but should instead be classified as “local
 commercial television stations” which are entitled to more expansive carriage rights as provided in
 section 76.555(c). 216 Dockins asserts that “there is no logical reason why the Commission cannot amend
 the rules to allow must-carry status for Class A stations” and that the “historic failure” of the Commission
 to give Class A stations must-carry rights “appears to be an oversight” that should be corrected. 217
          53.      Consistent with the Commission’s conclusion in the Class A MO&O with respect to
 LPTV stations that converted to Class A status pursuant to the CBPA, we conclude that LPPA Class A
 stations have the same limited must carry rights as LPTV stations, and do not have the same must carry
 rights as full service commercial television stations under section 76.55(c) of our rules. 218 In the Class A
 MO&O, the Commission noted that both the language of the CBPA and the accompanying legislative
 history were silent with respect to the issue of must carry rights for Class A stations, and concluded that it
 is unlikely that Congress intended to grant Class A stations full must carry rights, equivalent to those of
 full-service stations, without addressing the issue directly. 219 The LPPA is also silent with respect to the

 212
       Id. at 7.
 213
       Id.
 214
       See RCC Comments at 15-16; Dockins Comments at 3-4. See also RCC Reply Comments at 8.
 215
       47 CFR § 76.55(d).
 216
       47 CFR § 76.55(c). See RCC Comments at 15.
 217
       Dockins Comments at 4.
 218
     See Class A MO&O, 16 FCC Rcd at 8259-60, paras. 39-43. Section 614 of the Communications Act of 1934, as
 amended, establishes different sets of must carry eligibility requirements for local commercial television stations and
 for “qualified low power stations.” 47 U.S.C. § 534. Under very narrow circumstances, low power stations can
 become “qualified” and eligible for must carry. 47 U.S.C. § 534(h)(2). For example, if a full power station is
 located in the same county or other political subdivision (of a State) as an otherwise qualified low power station,
 then the low power station will not be eligible for cable must-carry status. See 47 U.S.C. § 534(h)(2)(F). See
 also Implementation of the Cable Television Consumer Protection and Competition Act of 1992, Broadcast Signal
 Carriage Issues, MM Docket No. 92-259, Report and Order, 8 FCC Rcd 2965, 2983, para. 67 & n.211 (1993) (Must
 Carry Order). Moreover, an otherwise qualified LPTV station qualifies for cable carriage only if the community of
 license of that station and the franchise area of the cable system on which it seeks carriage are both located outside
 of the largest 160 Metropolitan Statistical Areas, ranked by population, as determined by the Office of Management
 and Budget on June 30, 1990, and the population of the community of license on that date did not exceed 35,000.
 See 47 U.S.C. § 534(h)(2)(E).
 219
    The Commission noted in the Class A MO&O that its conclusion with respect to Class A must carry rights was
 consistent with the view expressed by the Commission in its Report and Order implementing the Satellite Home
                                                                                                    (continued….)
                                                           27                            000027
                                           RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                  Case No. 24-1004--FCC 23-112
USCA Case #24-1004                  Document #2037054              Filed: 01/23/2024         Page 70 of 131
                                       Federal Communications Commission                         FCC 23-112


 issue of must carry rights, and we similarly conclude therefore that Congress did not intend to confer full
 must carry rights on LPPA Class A stations equivalent to full-service stations, and different from the
 rights of CBPA Class A stations, without addressing the issue in the statute. Instead, we find that
 Congress intended LPPA Class A stations to have the same limited must carry rights as LPTV stations
 and existing Class A stations. We thus decline to revise our rules as RCC and Dockins request.
          54.     De Minimis Exception to the 95,000 TV Household Requirement. We also decline to
 adopt a de minimis exception to the LPPA’s 95,000 TV household eligibility requirement, as proposed by
 Lockwood. 220 Lockwood argues that the Commission should adopt an exception of up to 5 percent to the
 95,000 TV household amount to “further the underlying purpose” of the LPPA to afford eligibility for
 Class A protection to LPTV stations serving smaller DMAs. 221 Lockwood also argues that such an
 exception would afford flexibility in the case of fluctuations in the number of TV households in the DMA
 due to the methodology used to make the calculation or changes related to seasonal tourism or
 college/university populations. 222 Finally, Lockwood argues that the Commission has implemented de
 minimis exceptions to other of its regulatory requirements and has discretion to do so with respect to the
 LPPA as the Act expressly permits the Commission to select the appropriate system for determining
 DMAs. 223
          55.     The language of the Act clearly requires that, to be eligible for Class A status, a station
 must operate in a DMA with no more than 95,000 TV households. 224 The Act also requires that LPPA
 Class A licensees remain in compliance with the LPPA’s eligibility requirements for the term of their
 Class A license. 225 With respect to the Act’s DMA limit, as discussed above we interpret this continuing
 compliance mandate to preclude changes under the station’s control that would result in the station’s
 failure to continue to comply with the 95,000 TV household threshold. 226
          56.     As discussed above, while the LPPA provides the Commission with additional discretion
 in evaluating applicants for Class A status to treat a station as qualifying for Class A status if “the
 Commission determines that the public interest, convenience, and necessity would be served” or “for
 other reasons determined by the Commission,” 227 we are not inclined to expand the specific qualifying
 criteria beyond that identified in the statute.228 The LPPA provides precise and limited eligibility criteria
 and, except in very limited circumstances, we are not inclined to expand the specific qualifying criteria
 beyond that identified in the statute. Accordingly, we decline to adopt a blanket de minimis exception to
 the DMA eligibility requirement. As discussed above, we will allow deviation from the strict statutory



 (Continued from previous page)
 Viewer Improvement Act of 1999. In the Matter of Implementation of the Satellite Home Viewer Improvement Act
 of 1999, Broadcast Signal Carriage Issues, Retransmission Consent Issues, Report and Order, 16 FCC Rcd 1918
 (2000). In that Order, the Commission concluded that Class A stations are low power stations for mandatory
 carriage purposes, and are therefore not entitled to mandatory satellite carriage.
 220
       See Lockwood Comments at 6.
 221
       Id.
 222
       Id. at 7-8.
 223
       Id.
 224
       LPPA Sec.2(c)(2)(B)(iii).
 225
       LPPA Sec.2(c)(3)(B).
 226
       See supra paras. 44-45.
 227
       See supra para. 27. See also 47 U.S.C. § 336(f)(2)(B).
 228
       See supra para. 28.

                                                            28                             000028
                                             RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                    Case No. 24-1004--FCC 23-112
USCA Case #24-1004              Document #2037054                   Filed: 01/23/2024          Page 71 of 131
                                   Federal Communications Commission                               FCC 23-112


 eligibility criteria in the LPPA only on a case-by-case basis where such deviations are insignificant or
 where there are compelling circumstances such that equity mandates a deviation. 229
 IV.         PROCEDURAL MATTERS
         57.      Regulatory Flexibility Act Analysis. The Regulatory Flexibility Act of 1980, as amended
 (RFA), 230 requires that an agency prepare a regulatory flexibility analysis for notice and comment
 rulemakings, unless the agency certifies that “the rule will not, if promulgated, have a significant
 economic impact on a substantial number of small entities.” 231 Accordingly, we have prepared a Final
 Regulatory Flexibility Analysis (FRFA) concerning the possible impact of rule changes contained in this
 Report and Order on small entities. The FRFA is set forth in Appendix C.
          58.     Final Paperwork Reduction Act Analysis. This document contains new information
 collection requirements subject to the Paperwork Reduction Act of 1995 (PRA). 232 The requirements will
 be submitted to the Office of Management and Budget (OMB) for review under Section 3507(d) of the
 PRA. OMB, the general public, and other Federal agencies will be invited to comment on the information
 collection requirements contained in this proceeding. The Commission will publish a separate document
 in the Federal Register at a later date seeking these comments. In addition, we note that, pursuant to the
 Small Business Paperwork Relief Act of 2002 (SBPRA), 233 we will seek specific comment on how the
 Commission might further reduce the information collection burden for small business concerns with
 fewer than 25 employees.
          59.     Congressional Review Act. The Commission has determined, and the Administrator of
 the Office of Information and Regulatory Affairs, Office of Management and Budget, concurs, that these
 rules are non-major under the Congressional Review Act, 5 U.S.C. § 804(2). The Commission will send
 a copy of the Report and Order to Congress and the Government Accountability Office pursuant to 5
 U.S.C. § 801(a)(1)(A).
 V.          ORDERING CLAUSES
           60.     Accordingly, IT IS ORDERED that, pursuant to the authority found in sections 1, 2,
 4(i), 4(j), 303, 307, 309, 311, and 336(f) of the Communications Act of 1934, as amended, 47 U.S.C. §§
 151, 152, 154(i), 154(j), 303, 307, 309, 311, 336(f), and the Low Power Protection Act, Pub. L. 117-344,
 136 Stat. 6193 (2023), this Report and Order IS ADOPTED, effective thirty (30) days after the date of
 publication in the Federal Register.
         61.     IT IS FURTHER ORDERED that the Commission’s rules ARE HEREBY
 AMENDED as set forth in Appendix B and such amendments will be effective 30 days after publication
 in the Federal Register, except for 47 C.F.R. §§ 73.6030(c) and 73.6030(d) which contain new or
 modified information collection requirements that require review by OMB under the PRA. The
 Commission directs the Media Bureau to announce the effective date of that information collection in a
 document published in the Federal Register after the Commission receives OMB approval.



 229
       Id.
   See 5 U.S.C. §§ 601–612. The RFA has been amended by the Small Business Regulatory Enforcement Fairness
 230

 Act of 1996 (SBREFA), Pub. L. No. 104-121, Title II, 110 Stat. 857 (1996).
 231
       See 5 U.S.C. § 605(b).
 232
    The Paperwork Reduction Act of 1995 (PRA), Pub. L. No. 104-13, 109 Stat. 163 (1995) (codified in Chapter 35
 of title 44 U.S.C.).
 233
     The Small Business Paperwork Relief Act of 2002 (SBPRA), Pub. L. No. 107-198, 116 Stat. 729 (2002)
 (codified in Chapter 35 of title 44 U.S.C.). See 44 U.S.C. § 3506(c)(4).

                                                       29                             000029
                                        RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                               Case No. 24-1004--FCC 23-112
USCA Case #24-1004            Document #2037054                  Filed: 01/23/2024         Page 72 of 131
                                  Federal Communications Commission                            FCC 23-112


         62.      IT IS FURTHER ORDERED that, pursuant to 47 U.S.C. 155(c), the Media Bureau is
 granted delegated authority for the purpose of amending FCC Form 2100 as necessary to implement the
 licensing process adopted herein and to establish the one-year application filing window once the revised
 form is available for use by applicants, and for the purpose of submitting the report to Congress required
 pursuant to the Low Power Protection Act, Pub. L. 117-344, 136 Stat. 6193, Sec. 2(d) (2023).
         63.     IT IS FURTHER ORDERED that the Media Bureau is granted delegated authority for
 the purpose of activating an OPIF for LPTV stations that apply to convert to Class A status pursuant to
 the LPPA and of informing applicants when their OPIF is ready for the applicant to upload documents
 required to be maintained in OPIF.
        64.     IT IS FURTHER ORDERED that the Commission’s Office of the Secretary SHALL
 SEND a copy of this Report and Order, including the Final Regulatory Flexibility Analysis, to the Chief
 Counsel for Advocacy of the Small Business Administration.
         65.   IT IS FURTHER ORDERED that Office of the Managing Director, Performance
 Program Management, SHALL SEND a copy of this Report and Order in a report to be sent to Congress
 and the Government Accountability Office pursuant to the Congressional Review Act, 5 U.S.C. §
 801(a)(1)(A).
                                                  FEDERAL COMMUNICATIONS COMMISSION




                                                  Marlene H. Dortch
                                                  Secretary




                                                     30                              000030
                                       RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                              Case No. 24-1004--FCC 23-112
USCA Case #24-1004           Document #2037054             Filed: 01/23/2024        Page 73 of 131
                               Federal Communications Commission                        FCC 23-112


                                             APPENDIX A
                                           List of Commenters


      Comments
      Block Communications, Inc. (Block)
      Communications Technologies
      County of Los Angeles, California
      Dockins Communications, Inc. (Dockins)
      Flood Communications (Flood)
      Channel 23 WXWZ, JB Media Group, Jose Berrios Diaz (JB Media Group)
      Lockwood Broadcasting, Inc. (Lockwood)
      LPTV Broadcasters Association (LPTVBA)
      National Association of Broadcasters (NAB)
      News-Press & Gazette Broadcasting (NPG)
      One Ministries, Inc.
      Radio Communications Corporation, LPTV Station W24EZ-D Formerly Class A Station W28AJ
      (RCC)
      REC Networks (REC)
      KFLA-LD; Data Wave, LLC; M&C Broadcasting Corporation – WCEA-LD; The Videohouse
      Inc.; ATV Holdings, Inc.; G.I.G., Inc.; Michael Karr; Caribevision Holdings; Tycke Media, LLC;
      America CV Station Group, Inc.; Viper Communications, Inc.; Lowcountry 34 Media, LLC;
      Paramount Broadcasting Communication LLC; Look Media; Lawrence F. Loesch; Agape
      Broadcasters Inc; Richardson Broadcasting; King Forward Inc; KADO/Word of Life Ministries,
      Inc; Dockins Broadcast Group (collectively referred to herein as “Identical Comments”)


      Reply Comments
      Flood Communications
      LPTV Broadcasters Association
      Radio Communications Corp.
      REC Networks




                                                31                               000031
                                   RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                          Case No. 24-1004--FCC 23-112
USCA Case #24-1004         Document #2037054                   Filed: 01/23/2024         Page 74 of 131
                               Federal Communications Commission                             FCC 23-112


                                                APPENDIX B
                                                 Final Rules


      Part 73 of Title 47 of the U.S. Code of Federal Regulations is amended to read as follows:

      PART 73 – RADIO BROADCAST SERVICES

      1.      The Authority citation for Part 73 continues to read as follows:

      AUTHORITY: 47 U.S.C. 154, 155, 301, 303, 307, 309, 310, 334, 336, 339.

      2.      Amend Section 73.3580 by revising paragraph (c) to add new paragraph (c)(7) to read as
      follows:

      § 73.3580 Local public notice of filing of broadcast applications.

      …

      (c) Applications requiring local public notice. The following applications filed by licensees or
      permittees of the following types of stations must provide public notice in the manner set forth in
      paragraphs (c)(1) through (7) of this section:

      …

      (7) Applications by LPTV stations to convert to Class A status pursuant to the Low Power
      Protection Act. The applicant shall both broadcast on-air announcements and give online notice.

      …

      2.      Section 73.6030 is adopted as follows.

      § 73.6030 Low Power Protection Act

      (a) Definitions. For purposes of the Low Power Protection Act, a low power television station’s
      Designated Market Area (DMA) shall be defined as the DMA where its transmission facilities
      (i.e., the structure on which its antenna is mounted) are located. DMAs are determined by
      Nielsen Media Research. A low power television station shall be defined in accordance with §
      74.701(k).

      (b) Eligibility Requirements. In order to be eligible for Class A status under the Low Power
      Television Protection Act, low power television licensees must:
      (1) have been operating in a DMA with not more than 95,000 television households as of January
      5, 2023;
      (2) have been broadcasting a minimum of 18 hours per day between October 7, 2022 and January
      5, 2023;
      (3) have been broadcasting a minimum of at least three hours per week of locally produced
      programming between October 7, 2022 and January 5, 2023;
      (4) have been operating in compliance with the Commission’s requirements applicable to low
      power television stations between October 7, 2022 and January 5, 2023;
      (5) be in compliance with the Commission’s operating rules for full-power television stations
      from and after the date of its application for a Class A license; and
                                                  32                              000032
                                    RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                           Case No. 24-1004--FCC 23-112
USCA Case #24-1004         Document #2037054                   Filed: 01/23/2024         Page 75 of 131
                               Federal Communications Commission                             FCC 23-112


      (6) demonstrate that the Class A station for which the license is sought will not cause any
      interference described in 47 U.S.C. 336(f)(7).

      (c) Application Requirements. Applications for conversion to Class A status must be submitted
      using FCC Form 2100, Schedule F within one year beginning on the date on which the
      Commission issues notice that the rules implementing the Low Power Protection Act takes effect.
      The licensee will be required to submit, as part of its application, a statement concerning the
      station’s operating schedule during the 90 days preceding January 5, 2023 and a list of locally
      produced programs aired during that time period. The applicant may also submit other
      documentation, or may be requested by Commission staff to submit other documentation, to
      support its certification that the licensee meets the eligibility requirements for a Class A license
      under the Low Power Protection Act.

      (d) Licensing Requirements. A Class A television broadcast license will only be issued under the
      Low Power Protection Act to a low power television licensee that files an application for a Class
      A Television license (FCC Form 2100, Schedule F), which is granted by the Commission.

      (e) Service Requirements. Stations that convert to Class A status pursuant to the Low Power
      Protection Act are required to meet the service requirements specified in § 73.6001(b)-(d) of this
      chapter for the term of their Class A license. In addition, such stations must remain in
      compliance with the programming and operational standards set forth in the Low Power
      Protection Act for the term of their Class A license. In addition, such stations must continue to
      operate in DMAs with not more than 95,000 television households in order to maintain their
      Class A status unless the population in the station’s DMA later exceeds 95,000 television
      households through (1) population growth, (2) a change in the boundaries of a qualifying DMA
      such that the population of the DMA exceeds 95,000 television households, or (3) the merger of a
      qualifying DMA into another DMA such that the combined DMA exceeds 95,000 television
      households. LPPA Class A stations will not be permitted to initiate a move to a different DMA
      with more than 95,000 television households at the time of the move and still retain their Class A
      status.

      (f) Other regulations. From and after the date of applying for Class A status under the Low
      Power Protection Act, stations must comply with the requirements applicable to Class A stations
      specified in subpart J of this part (§§ 73.6000 through 73.6029) and must continue to comply with
      such requirements for the term of their Class A license.




                                                  33                              000033
                                    RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                           Case No. 24-1004--FCC 23-112
USCA Case #24-1004                 Document #2037054                     Filed: 01/23/2024      Page 76 of 131
                                      Federal Communications Commission                             FCC 23-112


                                                   APPENDIX C

                                      Final Regulatory Flexibility Analysis

         1.       As required by the Regulatory Flexibility Act of 1980, as amended (RFA), 1 an Initial
 Regulatory Flexibility Act Analysis (IRFA) was incorporated into the Notice of Proposed Rulemaking
 (NPRM) released March 30, 2023. 2 The Federal Communications Commission (Commission) sought
 written public comment on the proposals in the NPRM, including comment on the IRFA. No comments
 were filed addressing the IRFA. This Final Regulatory Flexibility Analysis (FRFA) conforms to the
 RFA. 3
            A.         Need for, and Objectives of, the Report and Order
          2.      The Report and Order adopts rules to implement the Low Power Protection Act (LPPA
 or Act), 4 which was enacted on January 5, 2023. The LPPA provides certain low power television
 (LPTV) stations with a “limited window of opportunity” to apply for primary spectrum use status as Class
 A television stations. 5 The rules adopted herein reflect most of the Commission’s proposals in the
 Implementation of the Low Power Protection Act, Notice of Proposed Rulemaking (NPRM) 6 in this
 proceeding, with limited exceptions. 7 We establish herein the period during which eligible stations may
 file applications for Class A status pursuant to the LPPA, clarify eligibility and interference requirements,
 and establish the process for submitting applications for Class A status pursuant to the Act. Our rules
 provide eligible LPTV stations with a limited opportunity to apply for primary spectrum use status as
 Class A television stations, consistent with Congress’s directive in the LPPA.
          3.        We conclude that the application window will be limited to the one year application
 window contemplated by the Act, and that an application filed for Class A status must demonstrate that
 the LPTV station operated in a Designated Market Area (DMA) with not more than 95,000 television
 households on January 5, 2023. We also conclude that LPTV stations that convert to Class A status under
 the LPPA must comply with the interference protection standards set forth in section 336(f)(7) of the
 Communications Act of 1934, with the exception of those provisions that are now obsolete given the
 transition of all television stations from analog to digital operations. We apply the Commission’s recently
 updated definition of an LPTV station for purposes of determining which stations are eligible for Class A
 status under the LPPA and codify in our rules the eligibility criteria set forth in the LPPA. We also
 implement provisions of the LPPA which provide that licenses issued to stations that convert to Class A
 status are subject to full power television station license terms and renewal standards, with certain
 exceptions. We conclude that LPPA Class A licensees are required to remain in compliance with the
 LPPA’s eligibility requirements for the term of their Class A license, except for changes to the station’s
 DMA that are beyond the control of the station. We conclude that we will evaluate Class A status to

 1
  5 U.S.C. § 603. The RFA, 5 U.S.C. §§ 601-612, has been amended by the Small Business Regulatory
 Enforcement Fairness Act of 1996 (SBREFA), Pub. L. No. 104-121, Title II, 110 Stat. 857 (1996).
 2
  See Implementation of the Low Power Protection Act, MB Docket No. 23-126, Notice of Proposed Rulemaking,
 FCC 23-23 (rel. March 30, 2023) (NPRM).
 3
     5 U.S.C. § 604.
 4
     Low Power Protection Act, Pub. L. 117-344, 136 Stat. 6193 (2023).
 5
     LPPA Sec.2(b).
 6
  See Implementation of the Low Power Protection Act, MB Docket No. 23-126, Notice of Proposed Rulemaking,
 FCC 23-23 (rel. March 30, 2023) (NPRM).
 7
  We received over thirty comments in response to the NPRM. Twenty of these commenters filed identical
 comments supporting the adopting of MSAs as an alternative local market methodology for determining eligibility
 under the LPPA

                                                          34                             000034
                                           RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                  Case No. 24-1004--FCC 23-112
USCA Case #24-1004                 Document #2037054                    Filed: 01/23/2024           Page 77 of 131
                                      Federal Communications Commission                                 FCC 23-112


 eligible LPTV stations as a modification of the station’s existing license, and that nothing in the LPPA, or
 our rules implementing the Act, affects the Commission’s work related to the Broadcast Incentive
 Auction. We address how our actions implementing the LPPA advance diversity, equity, inclusion, and
 accessibility and, lastly, decline to amend our rules to afford Class A stations must carry rights equivalent
 to full service stations and decline to adopt a de minimis exception to the LPPA’s DMA eligibility
 requirement.
             B.       Summary of Significant Issues Raised by Public Comments in Response to the IRFA
          4.          There were no comments filed that specifically addressed the rules and policies proposed
 in the IRFA.
             C.       Response to Comments by the Chief Counsel for Advocacy of the Small Business
                      Administration
        5.       Pursuant to the Small Business Jobs Act of 2010, which amended the RFA, the
 Commission is required to respond to any comments filed by the Chief Counsel for Advocacy of the
 Small Business Administration (SBA), and to provide a detailed statement of any change made to the
 proposed rules as a result of those comments. 8
        6.            The Chief Counsel did not file any comments in response to the proposed rules in this
 proceeding.
             D.       Description and Estimate of the Number of Small Entities To Which the Proposed
                      Rules will Apply
          7.      The RFA directs agencies to provide a description of, and where feasible, an estimate of
 the number of small entities that may be affected by the proposed rules, if adopted. 9 The RFA generally
 defines the term “small entity” as having the same meaning as the terms “small business,” “small
 organization,” and “small governmental jurisdiction.” 10 In addition, the term “small business” has the
 same meaning as the term “small business concern” under the Small Business Act.11 A small business
 concern is one which: (1) is independently owned and operated; (2) is not dominant in its field of
 operation; and (3) satisfies any additional criteria established by the SBA. 12 Below, we provide a
 description of such small entities, as well as an estimate of the number of such small entities, where
 feasible.
          8.     Television Broadcasting. This industry is comprised of “establishments primarily
 engaged in broadcasting images together with sound.” 13 These establishments operate television
 broadcast studios and facilities for the programming and transmission of programs to the public. 14 These
 establishments also produce or transmit visual programming to affiliated broadcast television stations,

 8
     5 U.S.C. § 604(a)(3).
 9
     5 U.S.C. § 603(b)(3).
 10
      Id. § 601(6).
 11
   Id. § 601(3) (incorporating by reference the definition of “small-business concern” in 15 U.S.C. § 632). Pursuant
 to 5 U.S.C. § 601(3), the statutory definition of a small business applies “unless an agency, after consultation with
 the Office of Advocacy of the Small Business Administration and after opportunity for public comment, establishes
 one or more definitions of such term which are appropriate to the activities of the agency and publishes such
 definition(s) in the Federal Register.” 5 U.S.C. § 601(3).
 12
      15 U.S.C. § 632.
 13
   See U.S. Census Bureau, 2017 NAICS Definition, “515120 Television Broadcasting,”
 https://www.census.gov/naics/?input=515120&year=2017&details=515120.
 14
      Id.

                                                          35                             000035
                                           RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                  Case No. 24-1004--FCC 23-112
USCA Case #24-1004                  Document #2037054                Filed: 01/23/2024           Page 78 of 131
                                        Federal Communications Commission                            FCC 23-112


 which in turn broadcast the programs to the public on a predetermined schedule. Programming may
 originate in their own studio, from an affiliated network, or from external sources. The SBA small
 business size standard for this industry classifies businesses having $41.5 million or less in annual
 receipts as small. 15 2017 U.S. Census Bureau data indicate that 744 firms in this industry operated for the
 entire year. 16 Of that number, 657 firms had revenue of less than $25,000,000. 17 Based on this data we
 estimate that the majority of television broadcasters are small entities under the SBA small business size
 standard.
          9.       As of September 30, 2023, there were 1,377 licensed commercial television stations. 18
 Of this total, 1,258 stations (or 91.4%) had revenues of $41.5 million or less in 2022, according to
 Commission staff review of the BIA Kelsey Inc. Media Access Pro Television Database (BIA) on
 October 4, 2023, and therefore these licensees qualify as small entities under the SBA definition. In
 addition, the Commission estimates as of September 30, 2023, there were 383 licensed noncommercial
 educational (NCE) television stations, 380 Class A TV stations, 1,889 LPTV stations and 3,127 TV
 translator stations. 19 The Commission, however, does not compile and otherwise does not have access to
 financial information for these television broadcast stations that would permit it to determine how many
 of these stations qualify as small entities under the SBA small business size standard. Nevertheless, given
 the SBA’s large annual receipts threshold for this industry and the nature of these television station
 licensees, we presume that all of these entities qualify as small entities under the above SBA small
 business size standard.
            E.       Description of Projected Reporting, Recordkeeping, and Other Compliance
                     Requirements for Small Entities
           10.     In implementing the LPPA, the Report and Order adopts new or additional reporting,
 recordkeeping or other compliance requirements for small and other entities. For example, the LPPA
 requires that, to be eligible for Class A status, during the 90 days preceding the date of enactment of the
 LPPA an LPTV station must have broadcast a minimum of 18 hours/day and an average of at least 3
 hours per week of programming produced within the “market area” served by the station 20 and have been
 in compliance with the Commission’s requirements for LPTV stations. 21 The rules also require that small
 and other applicants seeking to convert to Class A status under the LPPA certify in their application for
 Class A status that they have complied with these eligibility requirements during the 90 days preceding
 the January 5, 2023 enactment of the statute. An applicant must submit, as part of its application, a
 statement concerning the station’s operating schedule during the 90 days preceding January 5, 2023 and a
 list of locally produced programs aired during that time period. The applicant may also submit other
 documentation to support its certification that the licensee meets the eligibility requirements for a Class A


 15
      See 13 CFR § 121.201, NAICS Code 515120 (as of 10/1/22 NAICS Code 516120).
 16
   See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Sales, Value of Shipments,
 or Revenue Size of Firms for the U.S.: 2017, Table ID: EC1700SIZEREVFIRM, NAICS Code 515120,
 https://data.census.gov/cedsci/table?y=2017&n=515120&tid=ECNSIZE2017.EC1700SIZEREVFIRM&hidePrevie
 w=false.
 17
   Id. The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
 meet the SBA size standard. We also note that according to the U.S. Census Bureau glossary, the terms receipts and
 revenues are used interchangeably, see https://www.census.gov/glossary/#term_ReceiptsRevenueServices.
 18
   Broadcast Station Totals as of September 30, 2023, Public Notice, DA 23-921 (rel. Oct. 3, 2023) (October 2023
 Broadcast Station Totals PN), https://docs.fcc.gov/public/attachments/DA-23-921A1.pdf.
 19
      Id.
 20
      LPPA Sec.2(c)(2)(B)(i)(I), 47 U.S.C. § 336(f)(2)(A)(i)(II).
 21
      LPPA Sec.2(c)(2)(B)(i)(I), 47 U.S.C. § 336(f)(2)(A)(i)(III).

                                                             36                            000036
                                             RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                    Case No. 24-1004--FCC 23-112
USCA Case #24-1004                  Document #2037054                    Filed: 01/23/2024            Page 79 of 131
                                       Federal Communications Commission                                  FCC 23-112


 license under the Low Power Protection Act. In addition, the Commission staff may also request
 additional documentation if necessary during consideration of the application.
         11.       Beginning on the date of its application for a Class A license and thereafter, a station
 “must be in compliance with the Commission’s operating rules for full-power stations.” 22 We will apply
 to small and other applicants for Class A status under the LPPA, and to stations that are awarded Class A
 licenses under that statute, all Part 73 regulations except for those that cannot apply for technical or other
 reasons. For example, Class A stations must comply with the requirements for informational and
 educational children’s programming, the political programming and political file rules, and the public
 inspection file rule.
          12.      The LPPA requires that a station that converts to Class A status pursuant to the statute
 continue to meet the eligibility requirements of the LPPA during the term of the station’s Class A license.
 To be eligible under the LPPA, in addition to other eligibility requirements, section 2(c)(2)(B)(iii) of the
 Act requires an LPTV station must “as of the date of enactment” of the LPPA operate in a DMA with not
 more than 95,000 television households. 23 Section 2(c)(3)(B) of the Act, however, requires that stations
 that convert to Class A status under the LPPA “remain in compliance” with paragraph (2)(B) “during the
 term of the license.” 24 We interpret section 2(c)(3)(B) to require that stations that convert to Class A
 status, including small entities, remain in DMAs with not more than 95,000 television households in order
 to maintain their Class A status except for situations in which the population in the station’s DMA later
 exceeds the threshold amount through (1) population growth, (2) a change in the boundaries of a
 qualifying DMA such that the population of the DMA exceeds 95,000 television households, or (3) the
 merger of a qualifying DMA into another DMA such that the combined DMA exceeds the threshold
 amount. LPPA Class A stations will not be permitted to initiate a move to a different DMA with more
 than 95,000 television households at the time of the move and still retain their Class A status. In addition,
 licensed Class A stations must also continue to meet the minimum operating requirements for Class A
 stations. 25 Licensees unable to continue to meet the minimum operating requirements for Class A
 television stations, or that elect to revert to low power television status, must promptly notify the
 Commission, in writing, and request a change in status. 26 The Report and Order also requires that
 stations that convert to Class A status pursuant to the LPPA comply with all rules applicable to existing
 Class A stations, including interference requirements.
          13.      The Report and Order requires small and other stations seeking to convert to Class A
 designation pursuant to the LPPA to submit an application to the Commission within one year of the
 effective date of the rules adopted in this proceeding. The Report and Order concludes that the
 Commission will not continue to accept applications to convert to Class A status under the LPPA beyond
 the one-year application period set forth in the statute. In addition, we will allow deviation from the strict
 statutory eligibility criteria under the LPPA only where deviations are insignificant or where there are
 compelling circumstances such that equity mandates a deviation.27 In the NPRM, we noted that one

 22
      LPPA Sec.2(c)(2)(B)(i)(I); 47 U.S.C. § 336(f)(2)(A)(ii).
 23
      LPPA Sec.2(c)(2)(B)(iii).
 24
      LPPA Sec.2(c)(3)(B).
 25
      47 CFR § 73.6001(c).
 26
      Id. § 73.6001(d).
 27
    The LPPA provides that the Commission may approve an application for Class A status if the application satisfies
 section 336(f)(2) of the Communications Act of 1934, codified as part of the CBPA. LPPA Sec.2(c)(2)(B)(i)(I); 47
 U.S.C. § 336(f)(2)(A). The CBPA provided the Commission with additional discretion in evaluating applicants for
 Class A status if “the Commission determines that the public, interest, convenience, and necessity would be served
 by treating the station as a qualifying low-power television station for purposes of this section, or for other reasons
 determined by the Commission.” 47 U.S.C. § 336(f)(2)(B). In the Class A Order, the Commission determined that
 it would allow deviation from the strict statutory eligibility criteria in the CBPA “only where such deviations are
                                                                                                            (continued….)
                                                            37                             000037
                                             RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                    Case No. 24-1004--FCC 23-112
USCA Case #24-1004               Document #2037054                     Filed: 01/23/2024           Page 80 of 131
                                    Federal Communications Commission                                  FCC 23-112


 example of such compelling circumstances might be “a natural disaster or interference conflict which
 forced the station off the air” during the 90-day period preceding enactment of the statute.
          14.      We expect the actions we have taken in the Report and Order achieve the goals of
 implementing the LPPA without placing significant additional costs and burdens on small entities. At
 present, there is not sufficient information on the record to quantify the cost of compliance for small
 entities, or to determine whether it will be necessary for small entities to hire professionals to comply with
 the adopted rules. However, we anticipate that the compliance obligations for small stations will be
 outweighed by the benefits provided through the LPPA’s granting of a limited opportunity for LPTV
 stations to apply for primary status as a Class A television licensee.
            F.       Steps Taken to Minimize the Significant Economic Impact on Small Entities and
                     Significant Alternatives Considered
          15. The RFA requires an agency to provide, “a description of the steps the agency has taken to
 minimize the significant economic impact on small entities…including a statement of the factual, policy,
 and legal reasons for selecting the alternative adopted in the final rule and why each one of the other
 significant alternatives to the rule considered by the agency which affect the impact on small entities was
 rejected.” 28
           16.      Through comments provided by interested parties during the rulemaking proceeding, the
 Commission considered various proposals from small and other entities. The adopted rules reflect the
 Commission’s efforts to implement the LPPA by balancing the Commission’s proposals in the NPRM
 with alternative proposals provided by the commenters and weighing their benefits against their potential
 costs to small and other entities. As discussed above, the LPPA provides a limited window of opportunity
 for an LPTV station to attain primary status as a Class A TV station, if the LPTV station meets the
 eligibility criteria set forth in the LPPA. The Report and Order adopts most of the Commission’s
 proposals in the NPRM, with one significant exception. We do not adopt the proposal to require that all
 licensees that convert to Class A status pursuant to the LPPA remain in compliance with the LPPA’s
 requirement that the station be in a DMA with no more than 95,000 TV households for the term of their
 Class A license. Instead, we conclude that LPPA Class A stations will not be required to continue to
 comply with the 95,000 TV household threshold if the population in the station’s DMA later exceeds the
 threshold amount either through (1) population growth, (2) a change in the boundaries of a qualifying
 DMA such that the population of the DMA exceeds 95,000 television households, or (3) the merger of a
 qualifying DMA into another DMA such that the combined DMA exceeds the threshold amount. This
 one change to our approach in implementing the LPPA may minimize a potentially significant impact on
 a small entity in circumstances where the station is in a DMA that later exceeds the threshold TV
 household eligibility amount for reasons beyond the station’s control. We also considered but did not,
 however, permit an LPPA Class A station to initiate a move to a DMA that does not meet the 95,000 TV
 household eligibility requirement and still retain its status as a Class A station.
         17.      Additionally, in the Report and Order the Commission adopted a simplified license
 application approach regarding the documentation stations are required to submit as part of their
 application for a Class A license. Rather than mandating that an applicant provide specific additional
 documents to support its application, the Report and Order permits an applicant to provide whatever
 additional documentation the applicant has that best support its certification that it met the operational and
 programming requirements of the LPPA during the eligibility period. This flexibility minimizes the
 impact on small LPTV stations, some of which may have difficulty providing specific mandated
 documents because they do not have the necessary documents or lack the resources necessary to provide

 (Continued from previous page)
 insignificant or when we determine that there are compelling circumstances, and that in light of those compelling
 circumstances, equity mandates such a deviation.” Class A Order, 15 FCC Rcd at 6369, para. 33.
 28
      5 U.S.C. § 604(a)(6).

                                                         38                             000038
                                          RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                 Case No. 24-1004--FCC 23-112
USCA Case #24-1004               Document #2037054             Filed: 01/23/2024         Page 81 of 131
                                    Federal Communications Commission                       FCC 23-112


 the document in a form that supports their certification. We also took the step of reducing a potential
 economic burden to small LPTV stations by adopting the proposal to use data from the Nielsen Local TV
 Station Information Report (Nielsen Local TV Report) in order to determine the DMA where the LPTV
 station’s transmission facilities are located for purposes of eligibility. The Commission considered
 proposed alternatives such as using census data for Metropolitan Statistical Areas (MSAs) and Rural
 Service Areas (RSAs), or Comscore data. However, we have determined that using the Nielsen Local TV
 Report would be less burdensome to small and other LPTV stations based on current industry practices
 and because certain data, such as DMA station assignment information, can be provided to stations at no
 cost.
            G.        Report to Congress
          18.    The Commission will send a copy of the Report and Order, including this FRFA, in a
 report to Congress pursuant to the Congressional Review Act. 29 In addition, the Commission will send a
 copy of the Report and Order, including this FRFA, to the Chief Counsel for Advocacy of the SBA. A
 copy of the Report and Order, and FRFA (or summaries thereof) will also be published in the Federal
 Register. 30




 29
      See Id.. § 801(a)(1)(A).
 30
      See Id. § 604(b).

                                                     39                                  000039
                                           RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                  Case No. 24-1004--FCC 23-112
                                                     USCA Case #24-1004                  Document #2037054                     Filed: 01/23/2024            Page 82 of 131




                                                                                  PUBLIC LAW 117–344—JAN. 5, 2023                              136 STAT. 6193




                                                                   Public Law 117–344
                                                                   117th Congress
                                                                                                     An Act
                                                                   To require the Federal Communications Commission to issue a rule providing that
                                                                                                                                                       Jan. 5, 2023
                                                                     certain low power television stations may be accorded primary status as Class
                                                                     A television licensees, and for other purposes.                                    [S. 3405]

                                                                       Be it enacted by the Senate and House of Representatives of
                                                                   the United States of America in Congress assembled,                               Low Power
                                                                                                                                                     Protection Act.
                                                                   SECTION 1. SHORT TITLE.                                                           47 USC 336 note.
                                                                        This Act may be cited as the ‘‘Low Power Protection Act’’.
                                                                   SEC. 2. LOW POWER TV STATIONS.
                                                                        (a) DEFINITIONS.—In this section—
                                                                             (1) the term ‘‘Commission’’ means the Federal Communica-
                                                                        tions Commission;
                                                                             (2) the term ‘‘Designated Market Area’’ means—
                                                                                  (A) a Designated Market Area determined by Nielsen
                                                                             Media Research or any successor entity; or
                                                                                  (B) a Designated Market Area under a system of
                                                                             dividing television broadcast station licensees into local
                                                                             markets using a system that the Commission determines
                                                                             is equivalent to the system established by Nielsen Media
                                                                             Research; and
                                                                             (3) the term ‘‘low power TV station’’ has the meaning
                                                                        given the term ‘‘digital low power TV station’’ in section 74.701
                                                                        of title 47, Code of Federal Regulations, or any successor regula-
                                                                        tion.
                                                                        (b) PURPOSE.—The purpose of this section is to provide low
                                                                   power TV stations with a limited window of opportunity to apply
                                                                   for the opportunity to be accorded primary status as Class A tele-
                                                                   vision licensees.
                                                                        (c) RULEMAKING.—
                                                                             (1) IN GENERAL.—Not later than 90 days after the date                   Deadline.
                                                                        of enactment of this Act, the Commission shall issue a notice                Notice.
                                                                        of proposed rulemaking to issue a rule that contains the require-
                                                                        ments described in this subsection.
                                                                             (2) REQUIREMENTS.—
                                                                                  (A) IN GENERAL.—The rule with respect to which the                 Time period.
                                                                             Commission is required to issue notice under paragraph
                                                                             (1) shall provide that, during the 1-year period beginning
                                                                             on the date on which that rule takes effect, a low power
                                                                             TV station may apply to the Commission to be accorded
                                                                             primary status as a Class A television licensee under sec-
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                             tion 73.6001 of title 47, Code of Federal Regulations, or
                                                                             any successor regulation.




                                                                                                                                                                     000040
                                          VerDate Sep 11 2014                                           RCC's
                                                                14:05 Mar 03, 2023 Jkt 039139 PO 00344 Frm        Emerg.
                                                                                                           00001 Fmt 6580 SfmtMot. for Stay, Exp. Rev.,
                                                                                                                              6581 E:\PUBLAW\PUBL344.117      Summ. Reversal
                                                                                                                                                         PUBL344
                                                                                                                                          Case No. 24-1004--FCC 23-112
                                                     USCA Case #24-1004                  Document #2037054                    Filed: 01/23/2024           Page 83 of 131




                                                                   136 STAT. 6194                  PUBLIC LAW 117–344—JAN. 5, 2023

                                                                                                    (B) CONSIDERATIONS.—The Commission may approve
                                                                                               an application submitted under subparagraph (A) if the
                                                                                               low power TV station submitting the application—
                                                                                                         (i) satisfies—
                                                                   Time period.                                (I) section 336(f)(2) of the Communications Act
                                                                                                         of 1934 (47 U.S.C. 336(f)(2)) and the rules issued
                                                                                                         under that section, including the requirements
                                                                                                         under such section 336(f)(2) with respect to locally
                                                                                                         produced programming, except that, for the pur-
                                                                                                         poses of this subclause, the period described in
                                                                                                         the matter preceding subclause (I) of subparagraph
                                                                                                         (A)(i) of such section 336(f)(2) shall be construed
                                                                                                         to be the 90-day period preceding the date of enact-
                                                                                                         ment of this Act; and
                                                                                                               (II) paragraphs (b), (c), and (d) of 73.6001 of
                                                                                                         title 47, Code of Federal Regulations, or any suc-
                                                                                                         cessor regulation;
                                                                                                         (ii) demonstrates to the Commission that the Class
                                                                                                    A station for which the license is sought will not cause
                                                                                                    any interference described in section 336(f)(7) of the
                                                                                                    Communications Act of 1934 (47 U.S.C. 336(f)(7)); and
                                                                                                         (iii) as of the date of enactment of this Act, oper-
                                                                                                    ates in a Designated Market Area with not more than
                                                                                                    95,000 television households.
                                                                                               (3) APPLICABILITY OF LICENSE.—A license that accords pri-
                                                                                          mary status as a Class A television licensee to a low power
                                                                                          TV station as a result of the rule with respect to which the
                                                                                          Commission is required to issue notice under paragraph (1)
                                                                                          shall—
                                                                                                    (A) be subject to the same license terms and renewal
                                                                                               standards as a license for a full power television broadcast
                                                                                               station, except as otherwise expressly provided in this sub-
                                                                                               section; and
                                                                                                    (B) require the low power TV station to remain in
                                                                                               compliance with paragraph (2)(B) during the term of the
                                                                                               license.
                                                                                          (d) REPORTING.—Not later than 1 year after the date of enact-
                                                                                     ment of this Act, the Commission shall submit to the Committee
                                                                                     on Commerce, Science, and Transportation of the Senate and the
                                                                                     Committee on Energy and Commerce of the House of Representa-
                                                                                     tives a report regarding the implementation of this section, which
                                                                                     shall include—
                                                                   List.                       (1) a list of the current, as of the date on which the
                                                                                          report is submitted, licensees that have been accorded primary
                                                                                          status as Class A television licensees; and
                                                                                               (2) of the licensees described in paragraph (1), an identifica-
                                                                                          tion of each such licensee that has been accorded the status
                                                                                          described in that paragraph because of the implementation
                                                                                          of this section.
                                                                                          (e) RULE OF CONSTRUCTION.—Nothing in this section may be
                                                                                     construed to affect a decision of the Commission relating to comple-
                                                                                     tion of the transition, relocation, or reimbursement of entities as
                                                                                     a result of the systems of competitive bidding conducted pursuant
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                     to title VI of the Middle Class Tax Relief and Job Creation Act
                                                                                     of 2012 (47 U.S.C. 1401 et seq.), and the amendments made by




                                                                                                                                                                     000041
                                          VerDate Sep 11 2014                                           RCC's
                                                                14:05 Mar 03, 2023 Jkt 039139 PO 00344 Frm        Emerg.
                                                                                                           00002 Fmt 6580 SfmtMot. for Stay, Exp. Rev.,
                                                                                                                              6581 E:\PUBLAW\PUBL344.117      Summ. Reversal
                                                                                                                                                         PUBL344
                                                                                                                                          Case No. 24-1004--FCC 23-112
                                                     USCA Case #24-1004                  Document #2037054                    Filed: 01/23/2024           Page 84 of 131




                                                                                  PUBLIC LAW 117–344—JAN. 5, 2023                             136 STAT. 6195

                                                                   that title, that are collectively commonly referred to as the ‘‘Tele-
                                                                   vision Broadcast Incentive Auction’’.

                                                                      Approved January 5, 2023.




                                                                   LEGISLATIVE HISTORY—S. 3405:
                                                                   CONGRESSIONAL RECORD, Vol. 168 (2022):
                                                                        Dec. 21, considered and passed Senate.
                                                                        Dec. 22, considered and passed House.
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                                          Æ



                                                                                                                                                                     000042
                                          VerDate Sep 11 2014                                           RCC's
                                                                14:05 Mar 03, 2023 Jkt 039139 PO 00344 Frm        Emerg.
                                                                                                           00003 Fmt 6580 SfmtMot. for Stay, Exp. Rev.,
                                                                                                                              6580 E:\PUBLAW\PUBL344.117      Summ. Reversal
                                                                                                                                                         PUBL344
                                                                                                                                          Case No. 24-1004--FCC 23-112
USCA Case #24-1004     Document #2037054        Filed: 01/23/2024   Page 85 of 131



                                 Before the
                     Federal Communications Commission
                            Washington, D.C. 20554



 In the Matter of                          )
                                           )           MB Docket No. 23-126
 Implementation of the                     )           FCC 23-23
 Low Power Protection Act                  )
                                           )




      COMMENTS OF RADIO COMMUNICATIONS CORPORATION
     LPTV STATION W24EZ-D FORMERLY CLASS A STATION W28AJ




                     Radio Communications Corporation
                           Timothy E. Welch, Esq.
                                Hill and Welch
                            1116 Heartfields Drive
                           Silver Spring, MD 20904
                                (202) 321-1448
                          welchlaw@earthlink.net




                                                                          000043
                            RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                   Case No. 24-1004--FCC 23-112
USCA Case #24-1004                  Document #2037054                         Filed: 01/23/2024             Page 86 of 131



                                                 Table of Contents

 Table of Contents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . i

 Summary . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ii

 Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

 A. RCC’s First “Protected” LPTV Station Was Eventually Displaced . . . . . . . . . . . 1

 B. The LPPA Requires LPTV Protection & License Permanence. . . . . . . . . . . . . . . 3
      1. FCC 23-23: Reads “Protection” Out of The LPPA . . . . . . . . . . . . . . . . . . . 3
      2. FCC 23-23: Fails To Protect LPTV Service To 98% Of TV Households . . 5
      3. FCC 23-23: Fails To Use Section 307(b) Communities Of License . . . . . . 6
      4. FCC 23-23: Misreads The LPPA’s 95,000 TV Household Limitation . . . . 9
      5. FCC 23-23: Harms LPTV Licensees In Four Ways . . . . . . . . . . . . . . . . . 11

 C. Instruct CATV Systems That Class A Licensees Have Must Carry Rights . . . 14

 D. The LPPA Prohibits Auction Of LPTV Licensed Spectrum . . . . . . . . . . . . . . . . 16

 E. Licensing Based Upon Nielsen’s DMAs Is Unconstitutional . . . . . . . . . . . . . . . 18




                                                                i


                                                                                            000044
                                              RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                     Case No. 24-1004--FCC 23-112
USCA Case #24-1004      Document #2037054           Filed: 01/23/2024   Page 87 of 131



                                      Summary

       Media concentration is a significant problem in the United States. This problem

 has grown ever more serious owing to the Commission’s decades long failure to foster

 diversity of voices in the broadcast marketplace. FCC 23-23 was adopted and released

 to implement the Low Power Protection Act (LPPA), but FCC 23-23 proposes delivery

 of more of that same regulatory failure.

       The explicitly stated purpose of the LPPA is “to provide low power TV stations

 with a limited window of opportunity to apply for the opportunity to be accorded

 primary status as Class A television licensees.” LPPA Section 2(b) (emphasis added).

 However, the Commission ignores longstanding rules and Section 307(b) and interprets

 the LPPA as the Large Power Protection Act. FCC 23-23’s proposed rules rely upon

 unconstitutional market structures, Schechter, to remove the LPPA’s licensing

 protection from LPTV stations covering 98.4% of the nation’s TV households. The

 Commission’s proposal to apply the LPPA, a national act, in a manner which protects

 LPTV stations covering only 1.6% of the nation’s TV households, is ridiculous on its

 face. There is nothing in FCC 23-23 which even remotely explains why Congress would

 waste its time for the purpose of affecting such a marginal impact.

       In addition to interpreting the LPPA more rationally, the Commission must

 clarify that Class A stations are able to assert must carry/retransmission consent

 rights and clarify that LPTV licenses will not be seized for the purpose of selling

 spectrum at a spectrum auction. LPTV licensees must have licensing stability to allow

 them to make rational investment decisions regarding station improvements.

                                            ii


                                                                             000045
                               RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                      Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054          Filed: 01/23/2024   Page 88 of 131



                                     Introduction

       Radio Communications Corporation (RCC), Licensee of LPTV Station W24EZ-D,

 by its attorney, hereby submits comments in the captioned rulemaking proceeding as

 an interested party/Licensee directly affected by the Commission’s proposed

 implementation of the Low Power Protection Act (LPPA).1 In support whereof, the

 following is respectfully submitted:

     A. RCC’s First “Protected” LPTV Station Was Eventually Displaced

       The LPPA marks the second time that the Commission has addressed LPTV

 protection and for the second time it appears that the Commission is turning another

 opportunity to protect LPTV stations into another effort to eliminate LPTV stations.

 The Commission’s proposed LPTV protection rules are irrational because, contrary to

 plain Congressional intent expressed in the LPPA, the proposed rules protect full-

 power TV stations at the expense of LPTV stations. The proposed LPPA “protection”

 proposal conflicts with     the text of LPPA, 47 U.S.C. § 307(b), constitutional

 requirements, and irrationally turns the Low Power Protection Act into the Large

 Power Protection Act.

       LPTV Station W24EZ-D was initially licensed as analog Station W28AJ in the

 late 1980s to serve Allingtown, Connecticut.2 With limited exception, Station W24EZ-


       1
           Low Power Protection Act, Pub. L. 117-344, 136 Stat. 6193 (2023).
       2
          RCC’s community of license, Allingtown, CT, is a small community located
 within the City of West Haven, CT. Connecticut Hometown Locator. The city of West
 Haven has a population of 55,584 persons according to the 2020 U.S. Census and
 21,750 Total Housing Units according to the 2020 U.S. Census. As of July 1, 2022 it

                                           1


                                                                              000046
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 89 of 131



 D, or its predecessor, has been broadcasting for more than thirty years originating

 programming for its local service area.3

       In 2000 the Commission then adopted rules to “protect” LPTV stations by

 allowing qualified LPTV stations to be upgraded and reclassified as “Class A” protected

 stations. FCC 23-23 ¶ 4. Protected Class A stations were required to follow the

 programming and reporting rules applicable to full power TV stations and they were

 given “protection” from future displacement by full power TV stations. However,

 protected Class A stations were denied the ability to assert must carry rights by CATV

 systems based upon an erroneous reading of 47 C.F.R. § 76.55(d)(5).4 Accordingly,

 protected Class A stations like W24EZ-D’s predecessor Station W28AJ, licensed within

 the Top 160 markets, were burdened with the obligations of full power TV stations, but




 is estimated that West Haven has 22,704 Total Housing Units (including 1,377 vacant
 housing units). Connecticut Hometown Locator. The West Haven, Allingtown Fire
 Department estimates that the population of Allingtown is about 15,000 persons.
       3
         RCC’s LPTV Station W24EZ-D “originates” programming as defined at 47
 C.F.R. § 74.701(h) because it controls “the program source, as it reaches the
 transmitter site.” FCC 23-23, n.44. See, Amendment to Renewal of License, Station
 W24EZ-D, filed November 14, 2022, File No. 0000203363, Exhibit 1 (“Licensee airs
 programming from an Internet source under contract”).
       4
          47 C.F.R. § 76.55(d)(5) provides that a “qualified low power station” able to
 assert must carry rights is one which has as its 47 U.S.C. § 307(b) “community of
 license . . . located outside of the largest 160 Metropolitan Statistical Areas.” As
 discussed more fully in Section C below, Class A television stations are not unprotected
 “low power stations” limited by § 76.55(d), Class A stations are protected “local
 commercial television stations” pursuant to 47 C.F.R. § 76.55(c)(1) and are now
 “primary” stations pursuant to Section 2(b) of the LPPA.

                                            2


                                                                              000047
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004          Document #2037054        Filed: 01/23/2024    Page 90 of 131



 they were denied the significant economic benefit of being able to assert a must carry

 right on cable TV systems.

       For Station W28AJ the burdens associated with being a protected Class A

 station were not offset by the economic gains associated with being able to assert a

 must carry right and Station W28AJ downgraded itself from Class A protected status

 to unprotected LPTV status. Eventually, after many years of service to the public and

 investments in equipment, programming, and audience building, unprotected Station

 W28AJ was displaced during the FCC’s program to transition TV stations from analog

 to digital broadcasting.

           RCC survived the Commission’s first regulatory effort to eliminate LPTV

 stations which competed against full-power TV stations, though just barely. It was

 only through happenstance that, at the 11th hour, RCC was able to engineer a digital

 replacement for Station W28AJ, Station W24EZ-D. RCC’s objective in this proceeding

 is to “protect” its LPTV service in the true sense of the word as mandated in the LPPA.

       B. The LPPA Requires LPTV Protection & License Permanence

                1. FCC 23-23: Reads “Protection” Out of The LPPA

       Rather than protecting LPTV stations as required by the LPPA, the

 Commission’s proposed licensing rules improperly removes LPTV stations from their

 47 U.S.C. § 307(b) communities of license and reassigns them to much larger DMA

 markets in the name of “protecting” those small LPTV stations.5 However, reassigning


       5
           RCC’s LPTV Station W24EZ-D does not come close to covering substantially
 all of the Hartford & New Haven DMA 34 market area and there is no support for a

                                            3


                                                                               000048
                                 RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                        Case No. 24-1004--FCC 23-112
USCA Case #24-1004        Document #2037054            Filed: 01/23/2024    Page 91 of 131



 LPTV stations from their communities of license to larger DMA markets removes

 LPTV stations from coast-to-coast from the protection of the LPPA by breaching the

 Commission’s interpretation of the LPPA’s 95,000 TV household threshold.

       The Commission’s continuing failure to protect LPTV stations while protecting

 full-power TV stations, despite asserting an intent to do so, and despite the LPPA’s

 plain directive to do so, is confusing at best and is contrary to the public interest. FCC

 23-23 represents the Commission’s second effort to eliminate LPTV stations as

 competitors to full-power TV stations across the country. The Commission’s proposed

 regulatory scheme, spawned in the name of protecting the LPTV industry, ignores the

 plain language of the LPPA, conflicts with Section 307(b) of the Communications Act,

 47 U.S.C. § 307(b), and runs afoul of the Constitution by adopting an industrial code,

 the Nielsen DMA market structure, thereby improperly delegating legislative power

 to private industry.6




 47 U.S.C. § 307(b) “community of license” finding. Moreover, FCC 23-23 fails to
 explain the proposed change to existing policy where Part 74 licensees seeking to assert
 must carry rights, rather than looking to their § 307(b) “community of license,” cf. 47
 C.F.R. § 76.55(d)(5), where they are now “primary” service providers pursuant to
 Section 2(b) of the LPPA, they must now look to much larger DMAs under a proposed
 rule which is designed to eliminate LPTV competition from 98% of the TV households
 as shown in Section B.2 below.
       6
          FCC 23-23 1) ignores the community of license requirement of 47 U.S.C.
 § 307(b), except to make the unsupported conclusion that FCC 23-23 is somehow
 authorized by § 307(b), FCC 23-23 ¶ 51; 2) misreads the LPPA’s 95,000 TV household
 provision, Section 2(c)(2)(B)(iii); and 3) adopts a DMA market structure which is
 unconstitutional under Schechter Poultry Corp. v. United States, 295 U.S. 495 (1935)
 because the rule improperly delegates legislative authority to a private, non-
 governmental entity.

                                             4


                                                                              000049
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 92 of 131



   2. FCC 23-23: Fails To Protect LPTV Service To 98% Of TV Households

       For the 2022-23 television season Nielsen determined that there are a total of

 123,785,250 TV households in 210 DMAs and that there are 177 DMAs with more than

 95,000 TV households. See https://ustvdb.com/seasons/2022-23/markets/ The Top 177

 DMAs contain a total of 121,826,140 TV households. Accordingly, FCC 23-23 proposes

 to exclude the LPPA’s benefit of voice diversity from 84% of the DMA markets (177/210

 = .842) and 98% of the TV households (121,826,140/123,785,250 = .984).

       FCC 23-23 completely fails to explain why Allingtown, CT is not considered a

 qualified DMA for licensing under the LPPA, or what the underlying rules are for

 determining the composition of DMA areas, or how Allingtown or any LPTV licensee

 in a Section 307(b) community might seek to qualify for protection under the LPPA, or

 what circumstances might exist in a Section 307(b) community of license which would

 warrant a waiver,7 or whether and how the Commission should regulate Nielsen Media

 Research’s decision making regarding DMA composition. Schechter Poultry Corp. v.

 U.S., 295 U.S. 495, 537-38 (1935) (Congress cannot delegate unfettered legislative

 power and private parties cannot exercise any legislative power). Nor does FCC 23-23

 discuss any national public interest benefits which accrue where the Commission, not



       7
          For instance, if the LPTV station’s Section 307(b) community of license is
 covered by the Grade B signal of at least one full-power TV station, it would seem that
 the purpose of the LPPA would be served by grant of a waiver to allow an increase in
 the number of permanently licensed voices in the market. In cases where the LPTV
 provides the only TV signal available in the Section 307(b) community of license, if
 there are any such cases, there is a lesser national interest in the identity of who
 projects that voice and waiver might reasonably be deemed unavailable.

                                           5


                                                                             000050
                               RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                      Case No. 24-1004--FCC 23-112
USCA Case #24-1004        Document #2037054            Filed: 01/23/2024     Page 93 of 131



 Congress, proposes that only just over 1% of the TV households should receive the

 benefits of the LPPA.

        FCC 23-23 does not explain why Congress would spend its valuable time, and

 use its scarce political capital, to pass national legislation which protects a scant 1.16%

 of TV households. With all due respect, the Commission’s unconstitutional approach

 to the LPPA is nonsensical on its face. The LPPA is “Low Power Protection Act,” not

 the “Large Power Protection Act,” but FCC 23-23 reads as if Congress intended to

 protect full-power TV from competition across substantially all of the United States.8

 For ease of administration, the Commission could reclassify all LPTV stations as

 protected Class A stations if their Section 307(b) community of license has fewer than

 95,000 TV households, subject to downgrade upon the written request of the LPTV

 licensee submitted at any time.

      3. FCC 23-23: Fails To Use Section 307(b) Communities Of License

        Section 307(b) of the Communications Act of 1934 provides that

        In considering applications for licenses, and modifications and renewals thereof,
        when and insofar as there is demand for the same, the Commission shall make
        such distribution of licenses, frequencies, hours of operation, and of power
        among the several States and communities as to provide a fair, efficient, and
        equitable distribution of radio service to each of the same.

 47 U.S.C. § 307(b)



        8
            Section 2(b) of the LPPA provides that the purpose of the LPPA

        is to provide low power TV stations with a limited window of opportunity to
        apply for the opportunity to be accorded primary status as Class A television
        licensees. (Emphasis added).

                                             6


                                                                               000051
                                 RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                        Case No. 24-1004--FCC 23-112
USCA Case #24-1004         Document #2037054         Filed: 01/23/2024    Page 94 of 131



       For the purpose of interpreting the LPPA, FCC 23-23 proposes to change LPTV

 Station W24EZ-D’s community of license from Allingtown, CT, a community with

 approximately 15,000 people, to a very large regional “community” specified by Nielsen

 as DMA 34 which has “963,950 TV Homes”9 and a population of more than 2.3 million

 people.10     By changing W24EZ-D’s community of license in this manner the

 Commission improperly reassigns Station W24EZ-D to a market with over the 95,000

 TV household cap specified in the LPPA.

       LPTV signal reach is much less than that of full power TV stations. It is

 irrational to select very large DMAs as the community of license under the LPPA when

 even full power TV stations are not required to demonstrate service to large DMA

 areas to obtain their licenses and assert must carry/retransmission consent rights. The

 Commission’s choice here clearly intends to limit LPTV’s ability to compete with full

 power TV stations. The Commission’s nationwide protection of full-power TV stations

 in this manner violates the plain language and express purpose of the LPPA which, on

 its face, protects LPTV stations such as W24EZ-D which are licensed to serve small

 communities. FCC 23-23 offers no reasonable justification for withdrawing the LPPA’s

 protection from Station W24EZ-D for the purpose of protecting full-power TV stations.

       Since the 1930s Section 307(b) has served as the standard to allocate licenses

 to discrete communities. Broadcast licenses are not issued to serve regional areas


       9
        https://www.mediamarketmap.com/hartford-new-haven-designated-market-
 media-map/
       10
             https://www.nexstar.tv/stations/wtnh/

                                            7


                                                                               000052
                                 RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                        Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024     Page 95 of 131



 created by private entities, such as the DMAs created by Nielsen Media Research.

 There is nothing in the LPPA which indicates that Congress intended to alter the

 longstanding Section 307(b) community of license allocation system. For example,

 W24EZ-D is licensed to serve the community of Allingtown, CT which has a population

 of approximately 15,000 people. W24EZ-D is not licensed to the Hartford and New

 Haven DMA 34. It is significant that Station W24EZ-D is the only television broadcast

 station, and the only broadcast license of any type, which is licensed to serve

 Allingtown, CT, but Allingtown is also served by the Grade B (and better) signals of

 multiple full-power TV broadcasters.11

       FCC 23-23 fails to explain the change to existing policy where Part 74 licensees

 asserting must carry rights must now look to much larger DMAs, the composition of

 which is beyond the Commission’s control, rather than to their much smaller § 307(b)

 “communities of license” to which they are “primary” service providers pursuant to

 Section 2(b) of the LPPA. See 47 C.F.R. § 76.55(d)(5) (assertion of must carry rights

 is based upon the broadcast licensee’s § 307(b) “community of license”).12 Moreover,

 RCC’s LPTV Station W24EZ-D does not come close to covering substantially all of the



       11
            In the Commission’s comparative system of awarding licenses the “first
 license” to a community is a very significant enhancement.
       12
           For more than thirty years the Section 307(b) community of license has been
 the critical determinant of must carry rights under 47 C.F.R. §§ 76.55(c),(d), 58 FR
 17350 (April 2, 1993), but FCC 23-23 changes course without a word of justification or
 explanation. Class A stations have been authorized to assert must carry and
 retransmission consent rights from the moment Congress authorized them in 1999,
 years after the FCC adopted the § 76.55(c)(1) must carry services exclusion list in 1993.

                                            8


                                                                              000053
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 96 of 131



 Hartford & New Haven DMA 34 market area. There is no support for a 47 U.S.C.

 § 307(b) “community of license” finding regarding DMA 34 and FCC 23-23 makes no

 effort to support that finding. Accordingly, the Commission’s community reassignment

 for W24EZ-D is irrational as a matter of law. Motor Vehicle Mfrs. Ass’n v. State Farm

 Mut. Auto. Ins. Co., 463 U.S. 29, 57 (1983) (“an agency changing its course must supply

 a reasoned analysis”); Petroleum Communications, Inc. v. FCC, 22 F.3d 1164, 1172

 (CADC 1994) (reversal is appropriate when agency fails to provide a reasoned

 explanation and when the record is contrary to the agency's conclusion). Not only does

 LPPA Section 2(a)(2)(B) explicitly authorize the FCC to abandon DMA markets as a

 licensing tool, it is respectfully submitted that the Commission is required to do so as

 a matter of regulatory, statutory, and constitutional law.

     4. FCC 23-23: Misreads The LPPA’s 95,000 TV Household Limitation

       Section 2(c)(2)(B)(iii) of the LPPA provides that

       The Commission may approve an application submitted under
       subparagraph (A) if the low power TV station submitting the application
       *** as of the date of enactment of this Act, operates in a Designated
       Market Area with not more than 95,000 television households.

       The subject matter of the cited statutory section is plainly “ the low power TV

 station submitting the application” which operates in a Section 307(b) licensed market

 area “with not more than 95,000 television households.”13 All LPTV stations, and all


       13
          The population of Allingtown, CT is approximately 15,000 persons; the
 population of West Haven, CT is approximately 55,000 persons. Even if every person
 the W24EZ-D’s community of license, including minors, owned/rented a TV household
 within W24EZ-D’s community of license, W24EZ-D would qualify for protected status
 under the LPPA.

                                            9


                                                                              000054
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004         Document #2037054           Filed: 01/23/2024    Page 97 of 131



 broadcast stations, are licensed to communities pursuant to 47 C.F.R. § 307(b). Section

 307(b) does not refer to DMAs and broadcast licenses are not allocated based upon

 DMAs. Nevertheless, FCC 23-23 completely fails to discuss the applicability of Section

 307(b) to this broadcast licensing proceeding.

       The “Designated Market Areas” definition at Section (2)(a)(2) of the LPPA does

 not contain any limitation regarding size and on its face plainly includes all DMAs

 regardless of the number of TV households.14           The subject matter of Section

 2(c)(2)(B)(iii) of the LPPA is “the low power TV station submitting the application”

 seeking LPPA protection and the numerical limitation found in that section refers to

 the number of TV households within the LPTV’s Section 307(b) community of license.15

 There is no other reasonable reading of Sections (2)(a)(2) and 2(c)(2)(B)(iii) of the LPPA



       14
            Section (2)(a)(2) provides that

       the term ‘‘Designated Market Area’’ means—(A) a Designated Market
       Area determined by Nielsen Media Research or any successor entity; or
       (B) a Designated Market Area under a system of dividing television
       broadcast station licensees into local markets using a system that the
       Commission determines is equivalent to the system established by
       Nielsen Media Research***
       15
           Given the broadcast licensing structure of the Communications Act, it is
 irrational for Congress to establish any numerical TV household limitation for a LPTV
 seeking protection under the LPPA. There is not any rational purpose served by
 limiting the LPPA’s protection merely because a LPTV station is licensed to a Section
 307(b) community which has more than some randomly selection number of TV
 households. All LPTV stations provide service to the public, provide competitive
 service to full-power TV stations, and have an interest in protecting investments in
 equipment, programming, and audience building. Yet LPTV stations located in the
 most lucrative markets are subject to displacement by full-power TV licensing actions
 and Commission sponsored broadcast spectrum auctions.

                                              10


                                                                               000055
                                 RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                        Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 98 of 131



 and Section 307(b)’s broadcast license allocation requirement. FCC 23-23 does not

 make any attempt to reconcile these statutory requirements.

       Notwithstanding plainly stated broadcast licensing directives found at Section

 307(b) and in the LPPA which must be read as a whole, FCC 23-23 interprets the

 “95,000” limit found at Section 2(c)(2)(B)(iii) of the LPPA as a disconnected appendage

 of the “Designated Market Area” definition found at Section (2)(a)(2). There is nothing

 in the LPPA which compels the Commission to disadvantage LPTV stations in this

 manner.    In fact, Congress intended the exact opposite result and directed the

 Commission to protect LPTV; the Commission’s choice is plainly at odds with the

 notion of protecting LPTV stations. By interpreting the LPPA as it does, FCC 23-23

 reaches an absurd and irrational conclusion: that the purpose of the Low Power

 Protection Act is to protect full-power TV stations covering 98% of the TV households

 from competition at the expense of LPTV stations.

              5. FCC 23-23: Harms LPTV Licensees In Four Ways

       There are at least four adverse consequences to LPTV stations which flow from

 the Commission’s proposed illegal and unconstitutional community of license

 reassignment rule.16 First, the Commission’s effort to protect full-service TV stations

 from low power TV stations is the exact opposite of what Congress directed in the

 LPPA. The Congress directed the Commission to protect LPTV stations. Congress did


       16
          Whether or not the FCC physically alters LPTV licenses to reflect their new
 communities of license is irrelevant because the practical effect of the FCC’s proposed
 action would do that very thing. The Commission’s illegal proposal cannot be saved by
 a ministerial “failure to act” fig leaf.

                                           11


                                                                             000056
                               RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                      Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024     Page 99 of 131



 not direct the Commission to develop a regulatory environment which sacrifices LPTV

 stations to protect full-service TV stations through the adoption of rules modeled after

 as if Congress had enacted a unicorn entitled the Large Power Protection Act.

       Second, the Commission’s proposed rule is contrived in such a manner that it

 will most likely lead to more LPTV stations failing, including W24EZ-D. As explained

 in Section B.4 above, the Commission has created a market size requirement which is

 contrary to the 95,000 TV household limit plainly stated in the LPPA and denies Class

 A TV service to 98% of the television households.

       Third, the Commission’s illegal community of license reassignment proposal will

 result in LPTV stations being displaced over time by at least two predictable, future

 licensing actions. LPTV stations which are left unprotected under the Commission’s

 Orwellian effort to “protect” LPTV stations will cause the displacement of LPTV

 stations by full-service stations which increase their coverage area. Alternatively, as

 discussed more fully in Section D below, it seems likely that the Commission will

 eventually take the footprints of unprotected LPTV stations in metropolitan areas,

 reclassify those LPTV footprints as “initial” licenses for the spectrum auction purposes,

 and reassign those LPTV licenses via auction to generate U.S. Treasury revenue.17

       Whether displaced by action of existing licensees or by reassignment of LPTV

 licenses as “initial” licenses via auction, the Commission’s failure to extend LPTV


       17
          RCC, and many other similarly situated LPTV licensees, are being placed in
 positions where they will suffer 5th Amendment Due process violations through
 Commission LPTV license seizure and devaluation of their broadcast-related
 investments to generate non-tax revenue via spectrum auction.

                                            12


                                                                              000057
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 100 of 131



 protection to W24EZ-D will cause RCC to suffer another failed LPTV endeavor.18 Such

 failure will not result from an inability to operate profitably, but will result from

 arbitrary third-party licensing actions which are completely beyond the LPTV

 licensees’ control. This bleak future outlook works to reduce current investments in

 TV equipment, programming, and audience building in the LPTV industry and does

 not serve the public interest.

       Fourth, viewed from a macro-licensing level, the Commission’s proposal to leave

 LPTV stations unprotected will reduce competition to full-service TV stations and

 increase media concentration. The Commission’s failure over the past 40+ years to

 protect a diversity of voices in the marketplace is remarkable. For instance, the

 Commission’s loosening of what were longstanding ownership restrictions has directly

 resulted in huge concentrations of broadcast licenses and wealth in a few hands. Basic

 economic theory instructs that the goal of marketplace competitors is to beat the other

 competitors, take their customers and business and profits, and put the competitor out

 of business. The basic goal of the government as a regulator of broadcast licenses and

 wire communications is to control the marketplace’s tendency to destroy competitors

 and competition to ensure a diversity of voices in the marketplace of ideas.

       The Commission’s decades long failure to protect the diversity of marketplace

 voices is plainly bearing bitter fruit: hundreds of millions of people across the country

 have become involuntary subjects of limited and poisonously polarizing information


       18
           The Commission’s licensing rules has caused RCC, and its predecessor in
 interest Paging Associates, Inc., to lose two LPTV licenses: W28AJ and W65DZ.

                                            13


                                                                                000058
                                  RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                         Case No. 24-1004--FCC 23-112
USCA Case #24-1004        Document #2037054           Filed: 01/23/2024   Page 101 of 131



 bubbles. Notwithstanding Congress’s plain directive in the LPPA to change course,

 FCC 23-23 continues to protect full-power TV stations from LPTV competition,

 delivering still more regulatory failure. Reducing competition and increasing media

 concentration is contrary to the LPPA’s expressly stated LPTV protection purpose.

 C. Instruct CATV Systems That Class A Licensees Have Must Carry Rights

       In 2000, pursuant to a statute that Congress passed in 1999, the Commission

 the adopted rules to “protect” LPTV stations by allowing qualified LPTV stations to be

 upgraded and reclassified as “Class A” protected stations. FCC 23-23 ¶ 4 & n.11.19

 However, despite creating a new class of protected TV stations, the Commission did not

 substantially revisit the must carry rules adopted shortly after passage of the Cable

 Television Consumer Protection and Competition Act of 1992. P.L. 102-385, 106 Stat.

 1460 (October 5, 1992). Class A stations have been authorized to assert must carry

 and retransmission consent rights from the moment Congress authorized them in

 1999, years after the FCC adopted the § 76.55(c) must carry exclusion list in 1993.20


       19
          Class A Order, 15 FCC Rcd 6355 (2000); Community Broadcasters Protection
 Act of 1999, Pub. L. No. 106-113, 113 Stat. Appendix I at pp. 1501A-594 - 1501A-598
 (1999), codified at 47 U.S.C. § 336(f).
       20
            47 C.F.R. §76.55(c) provides, in pertinent part:

 Local commercial television station. A local commercial television station is any full
 power television broadcast station, other than a qualified NCE television station as
 defined in paragraph (a) of this section, licensed and operating on a channel regularly
 assigned to its community by the Commission that, with respect to a particular cable
 system, is within the same television market, as defined below in paragraph (e) of this
 section, as the cable system, except that the term local commercial television station
 does not include: (1) Low power television stations, television translator stations, and
 passive repeaters with [sic] operate pursuant to part 74 of this chapter. ***

                                            14


                                                                               000059
                                 RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                        Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 102 of 131



       Over the ensuing 30 years since the passage of the Cable Act of 1992, there have

 been monumental technological advances in cable television transmission technology.

 As a general matter, cable TV systems, especially those in urban areas, do not operate

 under whatever limited channel constraints which might have existed in 1992.

       RCC’s predecessor Paging Associates, Inc. (commonly owned) successfully

 upgraded W28AJ to Class A protected status. However, RCC was unsuccessful in its

 efforts to secure must carry rights on CATV systems. Those CATV systems asserted

 that, pursuant to 47 C.F.R. § 76.55(d)(5), low power TV stations within the Top 160

 Metropolitan Statistical Areas could not assert must carry/retransmission consent

 rights. The adverse economic consequences of that incorrect rule interpretation by

 cable systems eventually forced W28AJ to downgrade from Class A back to unprotected

 LPTV status.

       It is respectfully submitted that the Commission must clarify that Class A

 stations are not properly classified as “low power stations” whose carriage is limited

 by 47 C.F.R. 76.55(d). Rather, Class A TV stations are properly classified as “local

 commercial television stations” pursuant to 47 C.F.R. § 76.55(c) and are entitled to

 assert must carry rights pursuant to that rule section. The upgrade to Class A

 licensing status removes that license from LPTV status and Class A licenses are

 properly considered “primary” stations pursuant to Section 2(b) of the LPPA “local

 commercial television stations” pursuant to 47 C.F.R. § 76.55(c)(1) (Class A licenses are

 not included in the listing of license types explicitly excluded from the definition of



                                            15


                                                                              000060
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024     Page 103 of 131



 “local commercial television stations”).21 This finding is required by the fact that, for

 the second time, Congress has directed the Commission to protect Class A TV stations

 and, as disclosed in the history of Station W28AJ discussed in Section A above, must

 carry/retransmission rights are essential to viability and protection of Class A stations.

            D. The LPPA Prohibits Auction Of LPTV Licensed Spectrum

       The LPPA requires that the Commission protect LPTV licensees and protect

 their investments in equipment, programming, and audience building, and ensure the

 permanence of their LPTV licenses. Accordingly, the Commission must commit by rule

 that it will not use its broadcast licensing rules for broadcast spectrum mining for the

 purpose of selling broadcast spectrum at auction to raise funds for the U.S. Treasury.

       In 2000, over the objection of licensees in the Part 22 paging industry, the

 Commission established the precedent that the Commission can force existing licensees

 to go to auction to protect their existing investment in licensed spectrum.           See

 Benkelman Tel. Co. v. FCC, 220 F.3d 601, 605 (2000) (the Commission can relicense

 spectrum via auction merely by classifying the new license as “initial” and awarding

 it “under a new licensing scheme . . . involving a different set of rights and obligations

 for the licensee”). RCC and its sister company Paging Associates, Inc. were victims of

 the Commission’s 2000-era paging spectrum auction.




       21
           In other words, a Class A TV station is not a “low power television station”
 (LPTV) which “operate[] pursuant to Part 74.” A Class A television station is a
 different class of station compared to a LPTV station.

                                            16


                                                                              000061
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024     Page 104 of 131



       In Benkelman the Commission obtained an appellate ruling that a statutory

 prohibition against auctioning spectrum for station modifications, 47 U.S.C. § 309(j),

 did not preclude the Commission from classifying “the incumbent licensees’

 applications for modification under the new geographic system as applications for

 ‘initial’ licenses under such a ‘new licensing scheme.’” Benkelman, 220 F.3d at 605.

 RCC respectfully submits that the LPPA prohibits the Commission from displacing any

 LPTV licensee, regardless of whether the license contains a Class A designation, for

 the purpose of selling that LPTV spectrum at auction.22

       The auction authority Congress provided to the Commission has effectively

 established the Commission as a spectrum competitor whose goal is to raise money for

 the U.S. Treasury. This conflict of interest places the public at a disadvantage

 regarding its property rights in spectrum, equipment, and other investments,

 notwithstanding the fact that the conflict is a statutorily authorized one.

       Accordingly, given the Commission’s case winning sophistry in Benkelman, given

 the misdirection underlying the Commission’s misinterpretation of the LPPA as the

 Large Power Protection Act, and to protect LPTV licensees and their broadcast-related

 investments on a going forward basis, the Commission must provide rule notice

 explaining whether the Commission will use, intends to use, or might consider using,


       22
           Class A TV licenses are not properly referred to as “LPTV” licenses. The
 upgrade to Class A licensing status removes that license from LPTV status and the
 license is properly considered a “local commercial television station” pursuant to 47
 C.F.R. § 76.55(c)(1) (Class A licenses are omitted from the listing of licenses which are
 not considered “local commercial television stations”) and a “primary” station pursuant
 to Section 2(b) of the LPPA.

                                            17


                                                                              000062
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004      Document #2037054            Filed: 01/23/2024    Page 105 of 131



 LPTV licensees as involuntary spectrum miners for the purpose of locating spectrum

 which the Commission will use at future broadcast spectrum auctions. The LPPA

 prohibits the Commission from disrupting protected LPTV operations by seizing

 licensed spectrum and selling that spectrum at auction and the Commission must

 disclose its intention as a matter of notice and 5th Amendment Due Process.

         E. Licensing Based Upon Nielsen’s DMAs Is Unconstitutional

       FCC 23-23 renders the LPPA unconstitutional, as applied, by interpreting the

 LPPA in a manner which protects full-power TV stations because it adopts an

 unconstitutional industrial code, Nielsen Media Research’s DMA markets to license

 protected Class A TV broadcast stations. Schechter Poultry Corp. v. U.S., 295 U.S. 495,

 537-38 (1935) (Congress cannot delegate unfettered legislative power and private

 parties cannot exercise any legislative power). Congress did not order the Commission

 to cede its Section 307(b) licensing authority to a private company which creates

 artificial economic regions designed to serve its own profit motive. The Commission

 could substantially avoid this constitutional infirmity by adopting RCC’s interpretation

 of the 95,000 TV household limitation discussed above. The Commission is not

 required to limit Class A licensing, and the reach of the LPPA’s protection, based upon

 Nielsen Media Research’s privately created DMA market sizes as proposed in FCC 23-

 23. Should it be determined that the Commission is required to regulate in this

 manner, then this portion of the LPPA is unconstitutional on its face. Schechter.

       The Commission chose to interpret the 95,000 TV household limitation as

 describing the size of the improperly legislated Nielsen DMA markets, rather than

                                           18


                                                                              000063
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004      Document #2037054           Filed: 01/23/2024   Page 106 of 131



 viewing the 95,000 TV household limitation as describing the size of the Class A

 applicant’s Section 307(b) community of license. Accordingly, the Commission has

 selected a statutory interpretation of the LPPA which renders the LPPA

 unconstitutional, as applied, when another interpretation which does not rely upon

 those arbitrary DMA market classifications developed by a private actor promoting its

 own pecuniary interest, is plainly available. Moreover, RCC’s synthesis of Section

 307(b) and the plain text of the LPPA, an analysis that FCC 23-23 completely failed to

 undertake, compels a statutory interpretation which completely avoids the Schechter-

 related constitutional infirmity proposed in FCC 23-23.



       WHEREFORE, in view of the information presented herein, the Commission

 should upgrade LPTV stations such as W24EZ-D to Class A status and clarify that

 Class A stations are entitled to assert must carry/retransmission rights.

                                               Respectfully submitted,
                                               RADIO COMMUNICATIONS CORP.


                                               ______________________________
                                               Timothy E. Welch
                                               Hill & Welch
                                               1116 Heartfields Drive
                                               Silver Spring, MD 20904
                                               (202) 321-1448
 May 4, 2023                                   welchlaw@earthlink.net
                                               Attorney for Applicant




                                          19


                                                                             000064
                               RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                      Case No. 24-1004--FCC 23-112
USCA Case #24-1004    Document #2037054        Filed: 01/23/2024   Page 107 of 131



                                 Before the
                     Federal Communications Commission
                            Washington, D.C. 20554



 In the Matter of                          )
                                           )           MB Docket No. 23-126
 Implementation of the                     )           FCC 23-23
 Low Power Protection Act                  )
                                           )




    REPLY COMMENTS OF RADIO COMMUNICATIONS CORPORATION
     LPTV STATION W24EZ-D FORMERLY CLASS A STATION W28AJ




                     Radio Communications Corporation
                           Timothy E. Welch, Esq.
                                Hill and Welch
                            1116 Heartfields Drive
                           Silver Spring, MD 20904
                                (202) 321-1448
                          welchlaw@earthlink.net




                                                                          000065
                            RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                   Case No. 24-1004--FCC 23-112
USCA Case #24-1004                 Document #2037054                         Filed: 01/23/2024              Page 108 of 131



                                                 Table of Contents

 Table of Contents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . i

 Summary . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ii

 Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

 A. Various Comments Must Be Discounted On Interested Party Grounds . . . . . . . 1

 B. MSAs And DMAs Cannot Be Used To License Broadcast Stations . . . . . . . . . . . 3

 C. Using The LPPA To Regulate Local Economic Activity Is Unconstitutional . . . 6

 D. Class A Must Carry Right . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

 E. The LPPA Freezes Full-Power Displacement Applications . . . . . . . . . . . . . . . . . 8

 F. NAB Proposes Unconstitutional Program Content Regulation . . . . . . . . . . . . . 10




                                                                i
                                                                                            000066
                                              RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                     Case No. 24-1004--FCC 23-112
USCA Case #24-1004      Document #2037054           Filed: 01/23/2024    Page 109 of 131



                                      Summary

       The Commission must be mindful of the interested party requirement. Many

 comments are substantially similar and, in substantial part, contain the exact same

 text. Those comments obviously originated from the same source, but that source is

 not disclosed in any of the comments. The NAB’s comments must also be discounted

 on interested party grounds, but for another reason.            The NAB asserts a

 representational interest, but the NAB fails to disclose the identity of any member and

 the NAB fails to disclose that it represents any LPTV licensee who is interested in the

 restrictive approach taken in the NAB’s comments.

       The repetitive comments seek to use MSAs rather than the Commission’s

 proposed DMAs as the markets for licensing Class A stations. However, the MSA

 proposal suffers from the same defects as the Commission’s DMA proposal. For

 instance, broadcast licensing is based upon Section 307(b) of the Act, no broadcast

 license is issued based upon a DMA or an MSA.           Moreover, the MSA proposal

 eliminates substantially all of the TV households and population in the United States

 and, therefore, promotes an unconstitutional regulation of local commerce.

       The ultimate goal of the LPPA is the protection of LPTV licensees. Accordingly,

 the Class A stations must be accorded “must carry” status. Moreover, the LPPA

 effectively freezes full-power TV stations from filing displacement applications until

 the Class A licensing process has been completed. Finally, the Commission should

 reject the NAB’s request to impose content regulation upon Class A licensees. Content

 regulation is not required under the LPPA and is unconstitutional in any event.



                                           ii
                                                                             000067
                               RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                      Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024   Page 110 of 131



                                       Introduction

       Radio Communications Corporation (RCC), Licensee of LPTV Station W24EZ-D,

 by its attorney, hereby submits reply comments in the captioned rulemaking

 proceeding as an interested party/Licensee directly affected by the Commission’s

 proposed implementation of the Low Power Protection Act (LPPA).1 In support

 whereof, the following is respectfully submitted:

  A. Various Comments Must Be Discounted On Interested Party Grounds

       Many generic, repetitive comments promoting an MSA-based Class A licensing

 process were filed during the initial comment phase of this proceeding.2        Those

 repetitive comments were, on their face, filed by different entities, but the comments

 obviously originated from the same source.          The unknown coordinating party

 inundated the Commission, and the public, with multiple comments to make it appear

 that its one voice is many voices.3

       None of those MSA promoting comments discloses the commonality of interest

 which would explain the similarity of the comments which were submitted. Nor do

 those comments provide any information regarding the person or persons directing the

 filing of those common comments. None of the MSA promoting commenters held itself


       1
           Low Power Protection Act (LPPA), Pub. L. 117-344, 136 Stat. 6193 (2023).
       2
         Each repetitive comment uses identical language. For instance, the filers of
 those repetitive comments uses the unique phrase “A. The FCC Should Adopt MSAs
 for Determination of Qualifying DMAs” on page 1. See e.g., Comments of Data Wave,
 LLC, Comments of M&C Broadcasting Corporation, Comments of KFLA-LD.
       3
          It is unclear why anyone would think that filing repetitive comments is better
 than filing a single set of comments. Commission decisions, and appellate review, do
 not turn on the throw weight of a comment pile or the number of “me toos” in that pile.

                                            1
                                                                              000068
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024     Page 111 of 131



 out as an attorney representing the undisclosed interested party and none disclosed

 the “name and mailing address” of the undisclosed party. See 47 C.F.R. § 1.415(a) (only

 “interested persons” may file comments in rulemaking proceedings); 47 C.F.R.

 § 1.419(e) (“Parties not represented by an attorney that file comments and replies and

 other documents in electronic form shall provide their name and mailing address”).

 Because the Commission cannot discern who is behind the filing of those multiple

 substantially similar comments, a substantial party in interest question arises.

 Because those comments mislead the Commission regarding the identity of the

 undisclosed party in interest promoting the comments, the Commission must discount

 those comments in their entirety.

       The Commission must also discount the Comments of The National Association

 of Broadcasters (NAB). The NAB does not explain that the proposed rules will regulate

 the NAB’s conduct in any way or otherwise explain that the NAB will be affected by

 the proposed rules. The only justification that the NAB provides for filing comments

 in this proceeding is that it

       is the nonprofit trade association that advocates on behalf of free local radio and
       television stations and broadcast networks before Congress, the Federal
       Communications Commission and other federal agencies, and the courts.

 NAB Comments at 1 n.1.

       To qualify as an association representing the interests of other parties which are

 attempting to deny or limit the rights or interests of another, an association must

 “allege that one or more of its members has standing.” In the Matter of Consent to

 Transfer Control of Certain Subsidiaries of TEGNA Inc., 2023 FCC LEXIS 553, DA 23-



                                            2
                                                                               000069
                                 RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                        Case No. 24-1004--FCC 23-112
USCA Case #24-1004      Document #2037054            Filed: 01/23/2024    Page 112 of 131



 149, n.46 (MB released February 24, 2023). Because the NAB failed to identify any

 specific broadcaster it represents, the NAB failed to establish associational standing

 authorized to seek denial of RCC’s and other LPTV licensees’ assertion of rights as

 primary Class A broadcast stations under the LPPA or to seek denial of other rights

 such as must carry.

        NAB does not claim to represent any LPTV licensees and the NAB has utterly

 failed to establish any interest in this proceeding which seeks to protect LPTV stations

 under the LPPA.4 Even if NAB did represent LPTV licensees, NAB’s Comments work

 against, conflict with, and are contrary to, those LPTV interests because the NAB

 “urges the Commission to limit” the application of the LPPA for the purpose of

 protecting full-power stations. NAB’s Comments do not protect LPTV interests, the

 NAB’s Comments promote full-power TV interests over the LPPA protected LPTV

 interests. NAB Comments at 4. The NAB’s use of this rulemaking proceeding as a tool

 to harm LPTV licensees is plainly beyond the scope of the instant rulemaking

 proceeding which seeks to protect LPTV licensees.

      B. MSAs And DMAs Cannot Be Used To License Broadcast Stations

        Some repetitive comments suggest that the Commission use MSAs rather rather

 than the Commission proposed DMAs as the markets used to determine Class A

 eligibility.   See e.g., Comments of Data Wave, LLC at 1-3; Comments of M&C

 Broadcasting Corporation at 1-3; Comments of KFLA-LD at 1-3 (“A. The FCC Should




        4
          RCC explained in its Comments at 1 that it is a LPTV licensee “directly
 affected by the Commission’s proposed implementation of the” LPPA.

                                            3
                                                                              000070
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004      Document #2037054           Filed: 01/23/2024   Page 113 of 131



 Adopt MSAs for Determination of Qualifying DMAs”). There are several problems with

 the MSA proposal.

       First, for purposes of licensing primary station Class A status under the LPPA,

 a licensee’s market area is its Section 307(b) community of license, not some “market”

 area defined by a private company serving its own profit motive. RCC Comments at

 6-11; Report and Order, In the Matter of The Suburban Community Policy, the Berwick

 Doctrine, and the De Facto Reallocation Policy, 93 F.C.C.2d 436, 438-39 (1983) (the

 “applicant request[s] the desired community and provid[es] engineering exhibits to

 show the absence of harmful interference to existing stations”).5 The Commission and

 all commenters, except RCC, fail to address the Section 307(b) community of license

 requirement which serves as the lynchpin for allocating broadcast licenses across the

 nation. See Report and Order, 93 F.C.C.2d at 438 (“the legislative intent behind the

 original Section 9 of the Radio Act is still controlling today; namely, to effect an

 equitable geographical distribution of stations across the entire nation” pursuant to

 Section 307(b)).   The purpose of the Communications Act and the LPPA is the

 promotion of broadcast outlets, not the elimination of them.

       Second, the term “Metropolitan Statistical Area” can mean several things and

 no comment specifies which MSA definition should to be used. There are the 160

 MSAs which are referenced at 47 C.F.R. § 76.55(d)(5). RCC Comments at 2 n.4, 15.

       5
          A community for licensing purposes under Section 307(b) is not a political
 subdivision defined by a State or an economic area defined by a third party private
 entity or the Federal government. A Section 307(b) community is a grouping of
 households which has a demand for service that the broadcaster has chosen to serve.
 DMAs and MSAs are large areas composed of numerous communities and these areas
 created by non-licensee third parties have no part in broadcast licensing.

                                           4
                                                                             000071
                               RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                      Case No. 24-1004--FCC 23-112
USCA Case #24-1004      Document #2037054          Filed: 01/23/2024    Page 114 of 131



 There are the 306 MSAs which the FCC used in cellular licensing in the 1980s-1990s.6

 There are the 384 MSAs utilized by the U.S. Census Bureau.7

       Third, no matter which of the proposed MSA definitions is intended, the MSA

 proposal suffers from the same defect as the Commission’s proposal to use DMAs to

 define the area in which a LPTV is allowed to seek primary station status: MSAs

 represent huge populations and areas and are composed of multiple communities and

 adoption of an MSA market area would exclude a very substantial number of the TV

 households/population from receiving the benefits available under the LPPA. RCC

 Comments at 3-6.

       Using the U.S. Census Bureau’s easily accessible 2020 population data for the

 384 MSAs as an example:8 There is a total of 274,790,957 persons living in these 384

 MSAs.9 Only 18 of these 384 MSAs (5%) has a population of 95,000 or fewer persons.

 The total population of these “qualifying” 18 MSAs is 1,236,345 persons = 1,236,345 /

 274,790,957 = 0.4% of the total 384 MSA population. Accordingly, the commenters

 promoting an MSA approach would exclude 99.6% of the MSA population from the

 benefits of the LPPA. This is an even worse result, though marginally so, than the


       6
           See the Commission’s “CMA (Or MSA & RSA)” market info.
       7
          2020 U.S. Census 384 MSA Populations – Metropolitan Statistical Area; and
 for Puerto Rico (CBSA-MET-EST2021-POP) accessed June 5, 2023. The data utilized
 in this Comment excludes population data relating to Puerto Rico.
       8
          The U.S. Census Bureau’s 384 MSAs tend to be somewhat smaller than
 Nielsen’s 210 DMAs. RCC Comments at 5 (discussing the DMA information).
       9
          More than 50 million people live outside MSAs. The MSA promoting
 commenters do not define or discuss the population that lives outside MSAs and it
 seems to be a massive omission with Commenters licensing plan.

                                          5
                                                                             000072
                               RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                      Case No. 24-1004--FCC 23-112
USCA Case #24-1004      Document #2037054          Filed: 01/23/2024    Page 115 of 131



 Commission’s proposal to exclude 98.4% of TV households from the benefits of the

 LPPA.10 RCC Comments at 5, 11, 12.

            C. Using The LPPA To Regulate Local Economic Activity Is
                               Unconstitutional

       Like the Commission’s DMA proposal, the commenters’ MSA proposal converts

 a nationwide LPPA statute into something which does not a address a nationwide

 issue, but instead addresses a smattering of rural, local areas. Accordingly, the

 commenters’ MSA proposal suffers from the same defect as the Commission’s DMA

 proposal: the approach does not address the LPPA in a nation-wide manner.

        The Commerce Clause authorizes Congress to regulate commerce “among” the

 states, i.e., interstate commerce. U.S. Const. Art. 1 Sec. 8 Cl. 3. Congress is not

 authorized to regulate local economic activity unless Congress makes a finding that

 regulation of that local economic activity has a “substantial” effect upon interstate

 commerce. United States v. Lopez 514 U.S. 549 (1995) (invalidating the Gun-Free

 School Zones Act of 1990 for lack of a substantial effect upon interstate commerce).

       LPTV is licensed as a local service and Commenters’ and the Commission’s

 proposed exclusion of substantially all of the United States from the benefits of the

 LPPA renders the LPPA non-national in purpose and unconstitutional as applied.



       10
            The MSA promoting commenters discuss populations rather than TV
 households. The ratio of TV households to population is not a 1 to 1 proposition and
 there are fewer TV households than people in a given area. RCC Comments at 9 n.13.
 Viewed from this perspective, the MSA promoting commenters’ proposal seems
 unnecessarily restrictive. RCC’s Section 307(b) community of license has 15,000
 persons and a smaller number of TV households. Id. RCC does not object to the use
 of population as a proxy for TV households, but an adjustment factor is required. The
 2.60 “persons per household” average found by the U.S. Census Bureau is appropriate.

                                           6
                                                                             000073
                               RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                      Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 116 of 131



 RCC Comments at ii, 5-6. Neither the LPPA, nor the NPR at issue instantly, nor the

 commenters supporting MSA markets, makes any showing that an aggregation of

 economic effects of limited, sparsely populated, remote rural areas substantially

 affects interstate commerce. Therefore, an aggregation of those rural economic areas

 cannot be said to substantially affect interstate commerce. Wickard v. Filburn, 317

 U.S. 111, 127-28 (1942) (allowing Congressional regulation of local economic activity

 upon a Congressional finding that an aggregation of local activity substantially affects

 interstate commerce); Lopez, 514 U.S. at 557.11

       Congress made no finding that restricting Class A licensing to a small

 population in rural areas has a substantial effect upon interstate commerce.

 Therefore, the Commission and commenters plainly misinterpret the LPPA by limiting

 the LPPA’s benefits to those sparsely populated rural areas. Lopez, 514 U.S. at 563

 (where no substantial effect on interstate commerce is obvious, Congressional findings

 are critical). The Commission lacks authority to make this basic finding which

 Congress did not make, especially where it is the Commission’s own limited reading

 of the LPPA, and not the text of the LPPA itself, which excludes substantially all of the

 United States from the benefits of the LPPA. The Commission cannot give the LPPA

 a non-national reading, but then in its next breath, proclaim that non-national

 statutory interpretation as somehow incorporating a national interpretation. Chevron,

       11
            The Commission’s authority to regulate the technical issue of radio
 interference is addressed at the LPTV licensing stage. The constitutional principle at
 issue here is the lack of Federal authority to regulate local economic matters where
 Congress made no finding that limiting Class A licensing to a low population rural
 areas substantially impacts interstate commerce. Nothing in the Communications Act
 or the LPPA authorizes the Commission to regulate local economies.

                                            7
                                                                              000074
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004      Document #2037054           Filed: 01/23/2024   Page 117 of 131



 U.S.A., Inc. v. NRDC, Inc., 467 U.S. 837 (1984) (no agency deference where the

 agency’s interpretation is not permitted by the statute).

                           D. Class A Must Carry Right

       Dockins Comments at 3 states that under FCC 23-23 “Class A is not entitled to

 must carriage under the Commission’s rule” and argues that the Commission must

 authorize Class A must carry within the pertinent DMA. RCC agrees. No currently

 existing rule which restricts Class A stations from asserting must carry. Under

 existing rule 47 C.F.R. §§ 76.55(c),(d) Class A stations are authorized to assert must

 carry based upon their Section 307(b) community of license. FCC 23-23 seeks to

 change the existing rule by prohibiting Class A must carry in DMAs with more than

 95,000 TV households without explaining how that change protects LPTV stations

 under the LPPA and without describing any public interest benefits which would flow

 from imposing a must carry limitation upon primary Class A stations. RCC Comments

 at 8, 14-16.

         E. The LPPA Freezes Full-Power Displacement Applications

       The NAB’s Comments read as if the LPPA were the “Large Power Protection

 Act” rather than the “Low Power Protection Act”. See e.g., NAB Comments at 4 (“One

 reason why the LPPA restricts eligibility to LPTV stations LPTV stations in television

 markets with fewer than 95,000 television households is to minimize the likelihood of

 inadvertent impacts in spectrum-constrained large markets”). The assertion that

 spectrum scarcity requires limitation of LPPA rights in large markets is nonsensical.

 LPTV stations must satisfy interference rules before they are licensed under Section



                                           8
                                                                             000075
                               RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                      Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054           Filed: 01/23/2024    Page 118 of 131



 307(b);12 “spectrum-constraints” are addressed prior to LPTV licensing. The NAB’s

 effort to use the LPPA to freeze the application of LPPA rights, merely because full-

 power stations might want to expand coverage in the future, is speculative and

 unauthorized by the LPPA which was enacted to protect the very LPTV stations which

 the NAB seeks to harm.

       The LPPA cannot be read as granting full-power TV stations a last chance

 opportunity to displace LPTV stations during the time that the LPPA is being

 implemented. Such a reading ignores and contradicts the express, primary purpose

 of the LPPA to preserve the existence of LPTV stations: the LPPA is the “Low Power

 Protection Act,” it is not the “Last Prod to Pad Act”.

       Rather than freezing LPTV stations as suggested by the NAB, the LPPA can

 only be read as freezing, as of the time the LPPA was enacted, the ability of full-power

 TV stations to file applications to displace LPTV stations interested in asserting LPPA

 rights. The LPPA’s necessarily implied full-power modification filing freeze remains

 effective until after final resolution of the instant rulemaking proceeding and the

 associated LPTV license upgrade proceedings.         See RCC Comments at 12 (“the

 Commission’s illegal community of license reassignment proposal will result in LPTV

 stations being displaced over time by at least two predictable, future licensing

 actions”) (emphasis added). Nothing in the LPPA grants, or even suggests, that full-


       12
          The licensing of LPTV stations to communities under Section 307(b) mirrors
 AM licensing. LPTV stations “are allocated on a demand basis, with an applicant
 requesting the desired community and providing engineering exhibits to show the
 absence of harmful interference to existing stations.” Report and Order, 93 F.C.C.2d
 at 438-39.

                                            9
                                                                              000076
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024    Page 119 of 131



 power stations have any current authorization to impede RCC’s and other LPTV

 licensees’ ability to claim primary station classification and protection under the LPPA.

       F. NAB Proposes Unconstitutional Program Content Regulation

       The NAB Comments at 5 seeks to require Class A stations to list “locally

 produced” programming and to keep a log “detailing hours of operation”.             The

 Commission no longer requires broadcasters to maintain program lists and

 undersigned counsel does not recall that there was ever any requirement to “detail

 hours of operation.” Class A Stations are “subject to the same license terms and

 renewal standards as a license for a full power television broadcast station, except as

 otherwise expressly provided in this subsection” (emphasis added) and no such

 requirements are expressly provided in Section 2(c)(3)(A) of the LPPA. NAB has not

 presented any substantial reason for saddling primary Class A stations with these

 unusual compliance requirements which are not applicable to full power TV stations

 and which are plainly excluded by the LPPA’s explicit text.

       NAB’s proposal that Class A stations provide a periodic “list of locally produced

 programs” utterly fails to explain how program content monitoring passes muster

 under the First Amendment.13 “RCC’s LPTV Station W24EZ-D ‘originates’ program-

 ming as defined at 47 C.F.R. § 74.701(h) because it controls ‘the program source, as it




       13
          Like full-power stations, Class A stations are required to place in their public
 files quarterly issue/programming lists, briefly describing issues of interest to the
 community of license and the programming which addressed those issues. 47 CFR
 73.3526(e)(11)(i). This regulation does not impose any content regulation or program
 production requirements.

                                            10
                                                                              000077
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004      Document #2037054            Filed: 01/23/2024    Page 120 of 131



 reaches the transmitter site. FCC 23-23, n.44.’” RCC Comments at 2 n.3.14 The

 Commission’s rules currently specify a proper content-neutral approach to

 programming content under the First Amendment and the LPPA does not specify any

 change to that approach. While NAB seeks to impose a content-based programming

 approach upon Class A qualification, NAB fails to address the fact that neither the

 LPPA nor FCC 23-23 proposes any alteration to Section 74.701(h).15

       The NAB’s theory of Class A programming content qualification means that

 programming created by a licensee pointing a camera at a bird feeder outside the

 backdoor of its studio for three hours a week is qualified programming for purposes of

 obtaining Class A status, while other programming that the licensee might obtain over

 the Internet using its First Amendment content and editorial rights, such as state or

 national political coverage or news programming, is disqualifying.16 The Commission


       14
           47 C.F.R. § 74.701(h) allows for licensee editorial discretion in program
 selection by defining “local origination” as

       Program origination if the parameters of the program source signal, as it
       reaches the transmitter site, are under the control of the low power TV station
       licensee. Transmission of TV program signals generated at the transmitter site
       constitutes local origination.

 Control over program selection is a core First Amendment right of broadcasters.
       15
           “Locally produced programming” must be interpreted as “local origination”
 programming where the Class A station controls “the program source, as it reaches the
 transmitter site. FCC 23-23, n.44.” 47 C.F.R. § 74.701(h); RCC Comments at 2 n.3.
 This is especially true where the LPTV broadcaster exercises its editorial right and
 modifies the signal before broadcasting it. Other interpretations intrude upon Class
 A licensee’s protected First Amendment content and editorial rights.
       16
          Congress has determined that the Internet offers “an extraordinary advance
 in the availability of educational and informational resources” which allows for “a true
 diversity of political discourse, unique opportunities for cultural development, and

                                           11
                                                                              000078
                                RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                       Case No. 24-1004--FCC 23-112
USCA Case #24-1004       Document #2037054            Filed: 01/23/2024     Page 121 of 131



 must reject the NAB’s promotion of content-based regulation because it plainly

 contravenes basic First Amendment principles and Congress’s explicitly stated goal of

 fostering diverse voices through use of the Internet.17

        Morever, the manner in which a licensee exercises its constitutionally protected

 programming discretion is not a concern properly asserted by NAB because it has no

 cognizable interest in licensee programming decisions. All that is required under the

 explicit text of the LPPA is the Class A’s certification that it has originated an average

 of three hours of programming per week from its Class A station. See FCC 23-23

 ¶ 21.18 The NAB’s effort to restrict programming choices, while completely failing to

 address the First Amendment and Section 74.701(h), borders on, if not crosses the line

 into, frivolity.19

        The purpose of the LPPA is to protect LPTV stations, to provide competition to

 full-power TV stations, and to increase the diversity of voices in the broadcast market.


 myriad avenues for intellectual activity.” 47 U.S.C. § 230(a)(1),(3).
        17
          The anti-First Amendment approach that the NAB takes in this proceeding
 is an odd choice for an organization which claims to “advocate on behalf of free local
 radio and television stations and broadcast networks.” NAB Comments at 1 n.1.
        18
          RCC supports Comments of Block Communications, Inc. at 3 and agrees that
 a Class A applicant should be allowed to support its certification with any available
 documentation, including documentation generated by the LPTV licensee itself, such
 as computer generated logs.
        19
            For clarification, undersigned counsel occasionally watches “bird feeder”
 videos with his cats. Given the massive availability of cat programming on the
 Internet, undersigned counsel is not the only one to do so. The First Amendment
 indeed protects a licensee’s choice to air “bird feeder” videos and to do so even if the
 audience were composed entirely of cats. See Exhibit A, (Mean) Mr. Mustard The Cat
 Watching A Bird Feeder Program. The legal point being made is that program
 selection is licensee’s choice, not to NAB’s or the government’s.

                                            12
                                                                               000079
                                 RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                        Case No. 24-1004--FCC 23-112
USCA Case #24-1004      Document #2037054           Filed: 01/23/2024   Page 122 of 131



 NAB’s proposal to burden LPTV stations with unnecessary and unconstitutional

 regulatory compliance requirements works against these purposes, yields no public

 interest benefits, and should be rejected as an obvious, and weak, attempt to protect

 its unspecified, full-power broadcasting clients from competition.

                                               Respectfully submitted,
                                               RADIO COMMUNICATIONS CORP.


                                               ______________________________
                                               Timothy E. Welch
                                               Hill & Welch
                                               1116 Heartfields Drive
                                               Silver Spring, MD 20904
                                               (202) 321-1448
 June 13, 2023                                 welchlaw@earthlink.net
                                               Attorney for Radio Communications Corp.




                                          13
                                                                             000080
                               RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                      Case No. 24-1004--FCC 23-112
USCA Case #24-1004   Document #2037054       Filed: 01/23/2024   Page 123 of 131



                               Exhibit A
       (Mean) Mr. Mustard The Cat Watching A Bird Feeder Program




                                                                        000081
                          RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                 Case No. 24-1004--FCC 23-112
         USCA Case #24-1004                              Document #2037054
This content is from the eCFR and is authoritative but unofficial.                                Filed: 01/23/2024                Page 124 of 131

   Displaying title 47, up to date as of 1/05/2024. Title 47 was last amended 1/05/2024.

     Title 47 —Telecommunication
     Chapter I —Federal Communications Commission
     Subchapter C —Broadcast Radio Services
     Part 76 —Multichannel Video and Cable Television Service
     Subpart D —Carriage of Television Broadcast Signals


     § 76.55 Definitions applicable to the must-carry rules.
     For purposes of the must-carry rules set forth in this subpart, the following definitions apply:

           (a) Qualified noncommercial educational (NCE) television station. A qualified NCE television station is any television broadcast station which

                 (1)

                        (i)   Under the rules and regulations of the Commission in effect on March 29, 1990, is licensed by the Commission as an NCE
                              television broadcast station and which is owned and operated by a public agency, nonprofit foundation, corporation, or
                              association; and

                        (ii) Has as its licensee an entity which is eligible to receive a community service grant, or any successor grant thereto, from the
                              Corporation for Public Broadcasting, or any successor organization thereto, on the basis of the formula set forth in section
                              396(k)(6)(B) of the Communications Act of 1934, as amended; or

                 (2) Is owned and operated by a municipality and transmits noncommercial programs for educational programs for educational
                       purposes, as defined in § 73.621 of this chapter, for at least 50 percent of its broadcast week.

                 (3) This definition includes:

                        (i)   The translator of any NCE television station with five watts or higher power serving the franchise area,

                        (ii) A full-service station or translator if such station or translator is licensed to a channel reserved for NCE use pursuant to §
                              73.606 of this chapter, or any successor regulations thereto, and

                       (iii) Such stations and translators operating on channels not so reserved but otherwise qualified as NCE stations.


                              Note to paragraph (a): For the purposes of § 76.55(a), “serving the franchise area” will be based on the predicted
                              protected contour of the NCE translator.

           (b) Qualified local noncommercial educational (NCE) television station. A qualified local NCE television station is a qualified NCE television
                 station:

                 (1) That is licensed to a community whose reference point, as defined in § 76.53 is within 80.45 km (50 miles) of the principal headend,
                       as defined in § 76.5(pp), of the cable system; or

                 (2) Whose Grade B service contour encompasses the principal headend, as defined in § 76.5(pp), of the cable system.

                 (3) Notwithstanding the provisions of this section, a cable operator shall not be required to add the signal of a qualified local
                       noncommercial educational television station not already carried under the provision of § 76.56(a)(5), where such signal would be
                       considered a distant signal for copyright purposes unless such station agrees to indemnify the cable operator for any increased
                       copyright liability resulting from carriage of such signal on the cable system.

           (c) Local commercial television station. A local commercial television station is any full power television broadcast station, other than a
               qualified NCE television station as defined in paragraph (a) of this section, licensed and operating on a channel regularly assigned to its
               community by the Commission that, with respect to a particular cable system, is within the same television market, as defined below in
               paragraph (e) of this section, as the cable system, except that the term local commercial television station does not include:

                 (1) Low power television stations, television translator stations, and passive repeaters with operate pursuant to part 74 of this chapter.

                 (2) A television broadcast station that would be considered a distant signal under the capable compulsory copyright license, 17 U.S.C.
                       111, if such station does not agree to indemnify the cable operator for any increased copyright liability resulting from carriage on
                       the cable system; or

                 (3) A television broadcast station that does not deliver to the principal headend, as defined in § 76.5(pp), of a cable system a signal
                       level of −45dBm for analog UHF signals, −49dBm for analog VHF signals, or −61dBm for digital signals at the input terminals of the
                       signal processing equipment, i.e., the input to the first active component of the signal processing equipment relevant to the signal at
                       issue, if such station does not agree to be responsible for the costs of delivering to the cable system a signal of good quality or a
                       baseband video signal.                                                                                                000082
                                                                     RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                                            Case No. 24-1004--FCC 23-112
USCA    Case
 (d) Qualified low #24-1004           Document
                   power station. A qualified low power #2037054                    Filed:station
                                                        station is any television broadcast 01/23/2024            Page
                                                                                                  conforming to the       125
                                                                                                                    low power    of 131
                                                                                                                              television rules
      contained in part 74 of this chapter, only if:

      (1) Such station broadcasts for at least the minimum number of hours of operation required by the Commission for full power
           television broadcast stations under part 73 of this chapter;

      (2) Such station meets all obligations and requirements applicable to full power television broadcast stations under part 73 of this
           chapter, with respect to the broadcast of nonentertainment programming; programming and rates involving political candidates,
           election issues, controversial issues of public importance, editorials, and personal attacks; programming for children; and equal
           employment opportunity; and the Commission determines that the provision of such programming by such station would address
           local news and informational needs which are not being adequately served by full power television broadcast stations because of
           the geographic distance of such full power stations from the low power station's community of license;

      (3) Such station complies with interference regulations consistent with its secondary status pursuant to part 74 of this chapter;

      (4) Such station is located no more than 56.32 km (35 miles) from the cable system's principal headend, as defined in § 76.5(pp), and
           delivers to that headend an over-the-air signal of good quality;

      (5) The community of license of such station and the franchise area of the cable system are both located outside of the largest 160
           Metropolitan Statistical Areas, ranked by population, as determined by the Office of Management and Budget on June 30, 1990, and
           the population of such community of license on such date did not exceed 35,000; and

      (6) There is no full power television broadcast station licensed to any community within the county or other equivalent political
           subdivision (of a State) served by the cable system.


            Note to paragraph (d): For the purposes of this section, for over-the-air broadcast, a good quality signal shall mean a signal
            level of either −45 dBm for analog VHF signals, −49 dBm for analog UHF signals, or −61 dBm for digital signals (at all
            channels) at the input terminals of the signal processing equipment.

 (e) Television market.

      (1) Until January 1, 2000, a commercial broadcast television station's market, unless amended pursuant to § 76.59, shall be defined as
           its Area of Dominant Influence (ADI) as determined by Arbitron and published in the Arbitron 1991–1992 Television ADI Market
           Guide, as noted below, except that for areas outside the contiguous 48 states, the market of a station shall be defined using
           Nielsen's Designated Market Area (DMA), where applicable, as published in the Nielsen 1991–92 DMA Market and Demographic
           Rank Report, and that Puerto Rico, the U.S. Virgin Islands, and Guam will each be considered a single market.

      (2) A commercial broadcast station's market, unless amended pursuant to § 76.59, shall be defined as its Designated Market Area
           (DMA) as determined by Nielsen Media Research and published in its Nielsen Local TV Station Information Report or any successor
           publications.

            (i)   The applicable DMA list for the 2023 election pursuant to § 76.64(f) will be the DMA assignments specified in the Nielsen
                  October 2021 Local TV Station Information Report, and so forth using the publications for the October two years prior to each
                  triennial election pursuant to § 76.64(f).

           (ii) The applicable DMA list for the 2002 election pursuant to § 76.64(f) will be the DMA assignments specified in the 2000–2001
                  list, and so forth for each triennial election pursuant to § 76.64(f).

      (3) In addition, the county in which a station's community of license is located will be considered within its market.

      (4) A cable system's television market(s) shall be the one or more ADI markets in which the communities it serves are located until
           January 1, 2000, and the one or more DMA markets in which the communities it serves are located thereafter.

      (5) In the absence of any mandatory carriage complaint or market modification petition, cable operators in communities that shift from
           one market to another, due to the change in 1999–2000 from ADI to DMA, will be permitted to treat their systems as either in the
           new DMA market, or with respect to the specific stations carried prior to the market change from ADI to DMA, as in both the old ADI
           market and the new DMA market.

      (6) If the change from the ADI market definition to the DMA market definition in 1999–2000 results in the filing of a mandatory carriage
           complaint, any affected party may respond to that complaint by filing a market modification request pursuant to § 76.59, and these
           two actions may be jointly decided by the Commission.


            Note to paragraph (e): For the 1996 must-carry/retransimission consent election, the ADI assignments specified in the
            1991–1992 Television ADI Market Guide, available from the Arbitron Ratings Co., 9705 Patuxent Woods Drive, Columbia, MD,
            will apply. For the 1999 election, which becomes effective on January 1, 2000, DMA assignments specified in the 1997–98
            DMA Market and Demographic Rank Report, available from Nielsen Media Research, 299 Park Avenue, New York, NY, shall be
            used. The applicable DMA list for the 2002 election will be the 2000–2001 list, etc.

 (f) Network. For purposes of the must-carry rules, a commercial television network is an entity that offers programming on a regular basis
      for 15 or more hours per week to at least 25 affiliates in 10 or more states.                  000083
                                                       RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                              Case No. 24-1004--FCC 23-112
[58 USCA
    FR 17359, Case      #24-1004
              Apr. 2, 1993,                Document
                            as amended at 58 FR 44951, Aug.#2037054
                                                             25, 1993; 59 FR 62344, Dec.Filed:
                                                                                          5, 1994;01/23/2024            Page
                                                                                                  61 FR 29313, June 10, 1996;    126
                                                                                                                              64 FR    of Aug.
                                                                                                                                    42617, 1315,
1999; 68 FR 17312, Apr. 9, 2003; 73 FR 5685, Jan. 30, 2008; 83 FR 7626, Feb. 22, 2018; 87 FR 74988, Dec. 7, 2022]




                                                                                                   000084
                                                     RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                            Case No. 24-1004--FCC 23-112
          USCA Case #24-1004                           Document #2037054
This content is from the eCFR and is authoritative but unofficial.                            Filed: 01/23/2024                Page 127 of 131

   Displaying title 47, up to date as of 1/17/2024. Title 47 was last amended 1/17/2024.

     Title 47 —Telecommunication
     Chapter I —Federal Communications Commission
     Subchapter C —Broadcast Radio Services
     Part 74 —Experimental Radio, Auxiliary, Special Broadcast and Other Program Distributional Services
     Subpart G —Low Power TV and TV Translator Stations

      EDITORIAL NOTE ON PART 74

          Editorial Note: Nomenclature changes to part 74 appear at 64 FR 4055, Jan. 27, 1999.


     § 74.701 Definitions.
           (a) Television broadcast translator station. A station in the broadcast service operated for the purpose of retransmitting the programs
                 and signals of a television broadcast station, without significantly altering any characteristic of the original signal other than its
                 frequency and amplitude, for the purpose of providing television reception to the general public.

           (b) Primary station. The television station which provides the programs and signals being retransmitted by a television broadcast
                 translator station.

           (c) Analog to Digital Replacement Translator (DRT). A television translator licensed to a full power television station that allows it to
                 restore service to any loss areas that may have occurred as a result of its transition from analog to digital.

           (d) Digital to Digital Replacement Translator (DTDRT). A television translator licensed to a full power television station that allows it to
                 restore service to any loss areas that may have occurred as a result of the station being assigned a new channel pursuant to the
                 Incentive Auction and repacking process.

           (e) [Reserved]

           (f) Low power TV station. A station authorized under the provisions of this subpart that may retransmit the programs and signals of a
                 TV broadcast station and that may originate programming in any amount greater than 30 seconds per hour and/or operates a
                 subscription service. (See § 73.641 of part 73 of this chapter.)

           (g) [Reserved]

           (h) Local origination. Program origination if the parameters of the program source signal, as it reaches the transmitter site, are under
                 the control of the low power TV station licensee. Transmission of TV program signals generated at the transmitter site constitutes
                 local origination. Local origination also includes transmission of programs reaching the transmitter site via TV STL stations, but
                 does not include transmission of signals obtained from either terrestrial or satellite microwave feeds or low power TV stations.

           (i)   [Reserved]

           (j)   Television broadcast translator station (“TV translator station”). A station operated for the purpose of retransmitting the programs
                 and signals of a television broadcast station, without significantly altering any characteristic of the original signal other than its
                 frequency, for the purpose of providing television reception to the general public.

           (k) Low power TV station (“LPTV station”). A station authorized under the provisions of this subpart that may retransmit the programs
                 and signals of a television broadcast station, may originate programming in any amount greater than 30 seconds per hour for the
                 purpose of providing television reception to the general public and, subject to a minimum video program service requirement, may
                 offer services of an ancillary or supplementary nature, including subscription-based services. (See § 74.790.)

           (l)   Digital program origination. For purposes of this part, digital program origination shall be any transmissions other than the
                 simultaneous retransmission of the programs and signals of a TV or DTV broadcast station or transmissions related to service
                 offerings of an ancillary or supplementary nature. Origination shall include locally generated television program signals and
                 program signals obtained via video recordings (tapes and discs), microwave, common carrier circuits, or other sources.

           (m) Existing low power television or television translator station. When used in this subpart, the terms existing low power television and
                 existing television translator station refer to a low power television station or television translator station that is either licensed or
                 has a valid construction permit.




                                                                                                                   000085
                                                                     RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                                            Case No. 24-1004--FCC 23-112
    USCA
[28 FR 13722, Case     #24-1004
              Dec. 14, 1963, as amended atDocument       #2037054
                                            43 FR 1951, Jan. 13, 1978; 47 FR 21497,Filed:
                                                                                   May 18, 01/23/2024            Page
                                                                                            1982; 48 FR 21486, May        128
                                                                                                                   12, 1983; 52 of 131
                                                                                                                                FR 7422,
Mar. 11, 1987; 52 FR 31403, Aug. 20, 1987; 62 FR 26720, May 14, 1997; 69 FR 69331, Nov. 29, 2004; 87 FR 58202, Sept. 23, 2022]




                                                                                                 000086
                                                   RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                          Case No. 24-1004--FCC 23-112
USCA Case #24-1004              Document #2037054                     Filed: 01/23/2024            Page 129 of 131




                                                                                                  DA 24-26
                                                                                  Released: January 10, 2024

    MEDIA BUREAU ANNOUNCES EFFECTIVE DATE OF CERTAIN LOW POWER
                      PROTECTION ACT RULES

                                              MB Docket No. 23-126

          On December 12, 2023, the Commission released a Report and Order (Order) that adopted rules
 to implement the Low Power Protection Act (LPPA).1 The LPPA provides qualifying low power
 television (LPTV) stations with a limited window of opportunity to apply for primary spectrum use status
 as Class A television stations.2

         On January 10, 2024, the Federal Register published a summary of the final rules adopted in the
 Order.3 Accordingly, the rules adopted in the Order will take effect on February 9, 2024, except for
 sections 73.6030(c) and 73.6030(d) which contain new or modified information collection requirements
 that require review by OMB.4 At the conclusion of the OMB review process, the Media Bureau will
 announce the effective date of that information collection in a document published in the Federal
 Register. The Media Bureau will thereafter issue a Public Notice that establishes the one-year application
 filing window once the revised application form (FCC Form 2100) is available for use by applicants.5

       For additional information, contact Kim Matthews, Policy Division, Media Bureau at
 Kim.Matthews@fcc.gov or (202) 418-2154.

                                                      -- FCC --




 1 Low Power Protection Act, Pub. L. 117-344, 136 Stat. 6193 (2023); Implementation of the Low Power Protection

 Act, MB Docket No. 23-126, Report and Order, FCC 23-112 (rel. Dec. 12, 2023) (Order) available at
 https://docs.fcc.gov/public/attachments/FCC-23-112A1.pdf.
 2 See id.

 3 See Federal Communications Commission, 47 CFR Part 73, Low Power Protection Act, Final Rule, 89 FR 1466

 (Jan. 10, 2024).
 4 See Order at para. 61 & Appx. B (Final Rules), 47 CFR §§ 73.6030(c) (Application Requirements), 73.6030(d)

 (Licensing Requirements). The information collection requirements contained in the rules that require OMB
 approval are subject to the Paperwork Reduction Act of 1995 (PRA). Pub. L. No. 104-13, 109 Stat. 163 (1995)
 (codified in Chapter 35 of title 44 U.S.C.).
 5 See Order at para. 62 (delegating authority to the Media Bureau for the purpose of amending FCC Form 2100 as

 necessary to implement the licensing process adopted in the Order and to establish the one-year application filing
 window once the revised form is available for use by applicants).


                                                                                        000087
                                          RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                 Case No. 24-1004--FCC 23-112
USCA Case #24-1004               Document #2037054                        Filed: 01/23/2024            Page 130 of 131
    Page 129          TITLE 47—TELEGRAPHS, TELEPHONES, AND RADIOTELEGRAPHS                                      § 307

    the regulator of the private sector. Nothing in this            and in order to avoid needless expense to ap-
    Order reassigns any function vested by law in the Fed-          plicants for such renewals, the Commission
    eral Communications Commission.                                 shall not require any such applicant to file
      6–304. This Order shall be effective March 26, 1978.
                                                                    any information which previously has been
    § 306. Foreign ships; application of section 301                furnished to the Commission or which is not
                                                                    directly material to the considerations that
      Section 301 of this title shall not apply to any              affect the granting or denial of such applica-
    person sending radio communications or signals                  tion, but the Commission may require any new
    on a foreign ship while the same is within the                  or additional facts it deems necessary to make
    jurisdiction of the United States, but such com-                its findings.
    munications or signals shall be transmitted only                (3) Continuation pending decision
    in accordance with such regulations designed to
    prevent interference as may be promulgated                        Pending any administrative or judicial hear-
    under the authority of this chapter.                            ing and final decision on such an application
                                                                    and the disposition of any petition for rehear-
    (June 19, 1934, ch. 652, title III, § 306, 48 Stat.             ing pursuant to section 405 or section 402 of
    1083.)                                                          this title, the Commission shall continue such
                      REFERENCES IN TEXT                            license in effect.
       This chapter, referred to in text, was in the original    (d) Renewals
    ‘‘this Act’’, meaning act June 19, 1934, ch. 652, 48 Stat.      No renewal of an existing station license in
    1064, known as the Communications Act of 1934, which         the broadcast or the common carrier services
    is classified principally to this chapter. For complete
                                                                 shall be granted more than thirty days prior to
    classification of this Act to the Code, see section 609 of
    this title and Tables.                                       the expiration of the original license.
                                                                 (e) Operation of certain radio stations without
    § 307. Licenses                                                   individual licenses
    (a) Grant                                                       (1) Notwithstanding any license requirement
      The Commission, if public convenience, inter-              established in this chapter, if the Commission
    est, or necessity will be served thereby, subject            determines that such authorization serves the
    to the limitations of this chapter, shall grant to           public interest, convenience, and necessity, the
    any applicant therefor a station license provided            Commission may by rule authorize the oper-
    for by this chapter.                                         ation of radio stations without individual li-
                                                                 censes in the following radio services: (A) the
    (b) Allocation of facilities                                 citizens band radio service; (B) the radio control
      In considering applications for licenses, and              service; (C) the aviation radio service for air-
    modifications and renewals thereof, when and                 craft stations operated on domestic flights when
    insofar as there is demand for the same, the                 such aircraft are not otherwise required to carry
    Commission shall make such distribution of li-               a radio station; and (D) the maritime radio serv-
    censes, frequencies, hours of operation, and of              ice for ship stations navigated on domestic voy-
    power among the several States and commu-                    ages when such ships are not otherwise required
    nities as to provide a fair, efficient, and equi-            to carry a radio station.
    table distribution of radio service to each of the              (2) Any radio station operator who is author-
    same.                                                        ized by the Commission to operate without an
    (c) Terms of licenses                                        individual license shall comply with all other
                                                                 provisions of this chapter and with rules pre-
      (1) Initial and renewal licenses                           scribed by the Commission under this chapter.
        Each license granted for the operation of a                 (3) For purposes of this subsection, the terms
      broadcasting station shall be for a term of not            ‘‘citizens band radio service’’, ‘‘radio control
      to exceed 8 years. Upon application therefor, a            service’’, ‘‘aircraft station’’ and ‘‘ship station’’
      renewal of such license may be granted from                shall have the meanings given them by the Com-
      time to time for a term of not to exceed 8                 mission by rule.
      years from the date of expiration of the pre-              (f) Areas in Alaska without access to over the air
      ceding license, if the Commission finds that                    broadcasts
      public interest, convenience, and necessity
      would be served thereby. Consistent with the                  Notwithstanding any other provision of law,
      foregoing provisions of this subsection, the               (1) any holder of a broadcast license may broad-
      Commission may by rule prescribe the period                cast to an area of Alaska that otherwise does
      or periods for which licenses shall be granted             not have access to over the air broadcasts via
      and renewed for particular classes of stations,            translator, microwave, or other alternative sig-
      but the Commission may not adopt or follow                 nal delivery even if another holder of a broad-
      any rule which would preclude it, in any case              cast license begins broadcasting to such area, (2)
      involving a station of a particular class, from            any holder of a broadcast license who has broad-
      granting or renewing a license for a shorter               cast to an area of Alaska that did not have ac-
      period than that prescribed for stations of                cess to over the air broadcasts via translator,
      such class if, in its judgment, the public inter-          microwave, or other alternative signal delivery
      est, convenience, or necessity would be served             may continue providing such service even if an-
      by such action.                                            other holder of a broadcast license begins broad-
                                                                 casting to such area, and shall not be fined or
      (2) Materials in application                               subject to any other penalty, forfeiture, or rev-
        In order to expedite action on applications              ocation related to providing such service includ-
      for renewal of broadcasting station licenses               ing any fine, penalty, forfeiture, or revocation




                                                                                          000088
                                            RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                   Case No. 24-1004--FCC 23-112
USCA Case #24-1004                 Document #2037054                          Filed: 01/23/2024               Page 131 of 131
    § 308            TITLE 47—TELEGRAPHS, TELEPHONES, AND RADIOTELEGRAPHS                                          Page 130

    for continuing to operate notwithstanding or-                   casting station license, and five years for any other
    ders to the contrary.                                           class of license, with comparable provisions for re-
                                                                    newal, for provisions authorizing term of three years
    (June 19, 1934, ch. 652, title III, § 307, 48 Stat. 1083;       for a broadcasting station license, and five years for
    June 5, 1936, ch. 511, § 2, 49 Stat. 1475; July 16,             any other class of station license, with comparable pro-
    1952, ch. 879, § 5, 66 Stat. 714; Pub. L. 86–752, § 3,          visions for renewal.
    Sept. 13, 1960, 74 Stat. 889; Pub. L. 87–439, Apr. 27,             1962—Subsec. (e). Pub. L. 87–439 inserted ‘‘in the
    1962, 76 Stat. 58; Pub. L. 97–35, title XII, § 1241(a),         broadcast or the common carrier services’’ before
                                                                    ‘‘shall be granted’’.
    Aug. 13, 1981, 95 Stat. 736; Pub. L. 97–259, title I,
                                                                       1960—Subsec. (d). Pub. L. 86–752 inserted last sentence
    §§ 112, 113(a), Sept. 13, 1982, 96 Stat. 1093; Pub. L.          dealing with the Commission’s authority to grant li-
    104–104, title II, § 203, title IV, § 403(i), Feb. 8,           censes for periods shorter than 3 years.
    1996, 110 Stat. 112, 131; Pub. L. 108–447, div. J,                 1952—Subsec. (d). Act July 16, 1952, provided that
    title IX [title II, § 213(1), (2)], Dec. 8, 2004, 118           upon the expiration of any license, any renewal applied
    Stat. 3431.)                                                    for may be granted ‘‘if the Commission finds that pub-
                                                                    lic interest, convenience, and necessity would be served
                      REFERENCES IN TEXT                            thereby’’, and provided that pending a hearing and final
      This chapter, referred to in subsecs. (a) and (e), was        decision on an application for renewal and the disposi-
    in the original ‘‘this Act’’, meaning act June 19, 1934,        tion of any petition for a rehearing the Commission
    ch. 652, 48 Stat. 1064, known as the Communications Act         shall continue the license in effect.
    of 1934, which is classified principally to this chapter.          1936—Subsec. (b). Act June 5, 1936, amended subsec.
    For complete classification of this Act to the Code, see        (b) generally.
    section 609 of this title and Tables.                                    EFFECTIVE DATE OF 1981 AMENDMENT
                           AMENDMENTS                                 Section 1241(b) of Pub. L. 97–35 provided that: ‘‘The
       2004—Subsec. (c)(3). Pub. L. 108–447, § 213(1), sub-         amendments made in subsection (a) [amending this sec-
    stituted ‘‘any administrative or judicial hearing’’ for         tion] shall apply to television and radio broadcasting
    ‘‘any hearing’’ and inserted ‘‘or section 402’’ after ‘‘sec-    licenses granted or renewed by the Federal Commu-
    tion 405’’.                                                     nications Commission after the date of the enactment
       Subsec. (f). Pub. L. 108–447, § 213(2), added subsec. (f).   of this Act [Aug. 13, 1981].’’
       1996—Subsec. (c). Pub. L. 104–104, § 203, inserted head-
    ing and amended text generally, restructuring existing
                                                                    § 308. Requirements for license
    provisions into pars. (1) to (3) and substituting provi-        (a) Writing; exceptions
    sions providing 8 year term for licenses of broadcasting
    stations for provisions providing 5 year term for li-
                                                                      The Commission may grant construction per-
    censes of television broadcasting stations, 7 year term         mits and station licenses, or modifications or re-
    for licenses of radio broadcasting stations, and 10 year        newals thereof, only upon written application
    term for other broadcasting stations.                           therefor received by it: Provided, That (1) in
       Subsec. (e). Pub. L. 104–104, § 403(i), amended subsec.      cases of emergency found by the Commission in-
    (e) generally. Prior to amendment, subsec. (e) read as          volving danger to life or property or due to dam-
    follows:                                                        age to equipment, or (2) during a national emer-
       ‘‘(1) Notwithstanding any licensing requirement es-          gency proclaimed by the President or declared
    tablished in this chapter, the Commission may by rule
    authorize the operation of radio stations without indi-
                                                                    by the Congress and during the continuance of
    vidual licenses in the radio control service and the citi-      any war in which the United States is engaged
    zens band radio service if the Commission determines            and when such action is necessary for the na-
    that such authorization serves the public interest, con-        tional defense or security or otherwise in fur-
    venience, and necessity.                                        therance of the war effort, or (3) in cases of
       ‘‘(2) Any radio station operator who is authorized by        emergency where the Commission finds, in the
    the Commission under paragraph (1) to operate without           nonbroadcast services, that it would not be fea-
    an individual license shall comply with all other provi-        sible to secure renewal applications from exist-
    sions of this chapter and with rules prescribed by the
    Commission under this chapter.
                                                                    ing licensees or otherwise to follow normal li-
       ‘‘(3) For purposes of this subsection, the terms ‘radio      censing procedure, the Commission may grant
    control service’ and ‘citizens band radio service’ shall        construction permits and station licenses, or
    have the meanings given them by the Commission by               modifications or renewals thereof, during the
    rule.’’                                                         emergency so found by the Commission or dur-
       1982—Subsec. (c). Pub. L. 97–259, § 112, redesignated        ing the continuance of any such national emer-
    subsec. (d) as (c), substituted ‘‘ten years’’ for ‘‘five        gency or war, in such manner and upon such
    years’’ after ‘‘station) shall be for a longer term than’’      terms and conditions as the Commission shall
    and ‘‘term of not to exceed’’, and inserted provision
    that the term of any license for the operation of any
                                                                    by regulation prescribe, and without the filing
    auxiliary broadcast station or equipment which can be           of a formal application, but no authorization so
    used only in conjunction with a primary radio, tele-            granted shall continue in effect beyond the pe-
    vision, or translator station shall be concurrent with          riod of the emergency or war requiring it: Pro-
    the term of the license for such primary radio, tele-           vided further, That the Commission may issue by
    vision, or translator station. Former subsec. (c), which        cable, telegraph, or radio a permit for the oper-
    required the Commission to study proposal that Con-             ation of a station on a vessel of the United
    gress allocate fixed percentages of radio broadcasting          States at sea, effective in lieu of a license until
    facilities to nonprofit activities and report recom-
    mendations, with reasons, to Congress not later than
                                                                    said vessel shall return to a port of the con-
    Feb. 1, 1935, was struck out.                                   tinental United States.
       Subsec. (d). Pub. L. 97–259, § 112(a), redesignated sub-     (b) Conditions
    sec. (e) as (d). Former subsec. (d) redesignated (c).
                                                                      All applications for station licenses, or modi-
       Subsec. (e). Pub. L. 97–259, §§ 112(a), 113(a), added sub-
    sec. (e) and redesignated former subsec. (e) as (d).            fications or renewals thereof, shall set forth
       1981—Subsec. (d). Pub. L. 97–35 substituted provisions       such facts as the Commission by regulation may
    authorizing term of five years for a television broad-          prescribe as to the citizenship, character, and fi-
    casting station license, seven years for a radio broad-         nancial, technical, and other qualifications of




                                                                                            000089
                                              RCC's Emerg. Mot. for Stay, Exp. Rev., Summ. Reversal
                                                                     Case No. 24-1004--FCC 23-112
